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 1   KRISTIN K. MAYES
     Attorney General of Arizona
 2   (Firm State Bar No. 14000)
     Laura Dilweg (AZ Bar No. 036066)
 3
     Dylan Jones (AZ Bar No. 034185)
 4   Joseph Hubble (AZ No. 037113)
     Office of the Arizona Attorney General
 5   2005 North Central Avenue
 6   Phoenix, AZ 85004
     Phone: (602) 542-3725
 7   Fax: (602) 542-4377
 8   consumer@azag.gov
     Lead Counsel for Plaintiffs
 9   (See signature pages for complete list
10   of parties represented. LRCiv 7.1)

11
12                        UNITED STATES DISTRICT COURT
                                 DISTRICT OF ARIZONA
13
14
     State of Arizona, ex rel. Kristin K. Mayes,     CASE NO.:
15
     Attorney General; State of Alabama ex rel.
16   Attorney General Steve Marshall; State of
     Arkansas, ex rel. Tim Griffin; People of the
17   State of California ex rel. Rob Bonta, Attorney
18   General of California; State of Colorado, ex
     rel. Philip J. Weiser, Attorney General; State
19   of Connecticut; State of Delaware ex rel.
20   Kathleen Jennings, Attorney General of the
     State of Delaware; District of Columbia;
21   Office of the Attorney General, State of         COMPLAINT AND DEMAND
22   Florida, Department of Legal Affairs; State of       FOR JURY TRIAL
     Georgia, ex rel. Christopher M. Carr, Attorney
23   General of the State of Georgia; State of
24   Hawaii; State of Idaho, through Attorney
     General Raúl R. Labrador; People of the State
25   of Illinois; State of Indiana; State of Iowa ex
     rel. Brenna Bird, Attorney General of Iowa;
26
     State of Kansas; Commonwealth of Kentucky;
27   State of Louisiana; State of Maine; Maryland
     Office of the Attorney General;
28
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 1   Commonwealth of Massachusetts; People of
     the State of Michigan; State of Minnesota, by
 2   its Attorney General, Keith Ellison; State of
     Mississippi ex rel. Attorney General Lynn
 3
     Fitch; State of Missouri, ex. rel. Andrew
 4   Bailey, Attorney General; State of Montana;
     State of Nebraska, ex rel. Michael T. Hilgers,
 5   Attorney General; State of Nevada; State of
 6   New Hampshire; State of New Jersey; State of
     New Mexico, ex rel. Raúl Torrez, Attorney
 7   General; People of the State of New York, by
 8   Letitia James, Attorney General of the State of
     New York; State of North Carolina, ex rel.
 9   Attorney General Joshua H. Stein; State of
10   North Dakota, ex rel. Drew H. Wrigley,
     Attorney General; State of Ohio ex rel.
11   Attorney General Dave Yost; State of
12   Oklahoma ex rel. Attorney General Gentner
     Drummond; State of Oregon, ex rel. Ellen F.
13   Rosenblum, Attorney General for the State of
14   Oregon; Commonwealth of Pennsylvania, by
     Attorney General Michelle A. Henry; State of
15   Rhode Island; State of South Carolina ex. rel.
     Attorney General Alan Wilson; State of
16
     Tennessee; State of Texas; Utah Division of
17   Consumer Protection; State of Vermont;
     Commonwealth of Virginia, ex rel. Jason S.
18   Miyares, Attorney General; State of
19   Washington; State of West Virginia ex rel.
     Patrick Morrisey, Attorney General; State of
20   Wisconsin; and State of Wyoming,
21
           Plaintiffs,
22
23         v.

24   Michael D. Lansky, L.L.C., dba Avid
25   Telecom, an Arizona limited liability
     company;
26
27   Michael D. Lansky, individually as a Member/
     Manager/Chief Executive Officer of Michael
28   D. Lansky, L.L.C., dba Avid Telecom; and


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 1
      Stacey S. Reeves, individually as a
 2    Manager/Vice President of Michael D.
      Lansky, L.L.C., dba Avid Telecom,
 3
 4          Defendants.
 5
 6
 7          Plaintiffs, the State of Arizona, ex rel. Kristin K. Mayes, Attorney General; State
 8   of Indiana; State of North Carolina, ex rel. Attorney General Joshua H. Stein; State of Ohio
 9   ex rel. Attorney General Dave Yost; State of Alabama ex rel. Attorney General Steve
10   Marshall; State of Arkansas, ex rel. Tim Griffin; People of the State of California ex rel.
11   Rob Bonta, Attorney General of California; State of Colorado, ex rel. Philip J. Weiser,
12   Attorney General; State of Connecticut; State of Delaware ex rel. Kathleen Jennings,
13   Attorney General of the State of Delaware; District of Columbia; Office of the Attorney
14   General, State of Florida, Department of Legal Affairs; State of Georgia, ex rel.
15   Christopher M. Carr, Attorney General of the State of Georgia; State of Hawaii; State of
16   Idaho, through Attorney General Raúl R. Labrador; People of the State of Illinois; State of
17   Iowa ex rel. Brenna Bird, Attorney General of Iowa; State of Kansas; Commonwealth of
18   Kentucky; State of Louisiana; State of Maine; Maryland Office of the Attorney General;
19   Commonwealth of Massachusetts, by and through Attorney General Andrea Joy Campbell;
20   People of the State of Michigan; State of Minnesota, by its Attorney General, Keith Ellison;
21   State of Mississippi ex rel. Attorney General Lynn Fitch; State of Missouri, ex. rel. Andrew
22   Bailey, Attorney General; State of Montana; State of Nebraska, ex rel. Michael T. Hilgers,
23   Attorney General; State of Nevada; State of New Hampshire; State of New Jersey; State of
24   New Mexico, ex rel. Raúl Torrez, Attorney General; People of the State of New York, by
25   Letitia James, Attorney General of the State of New York; State of North Dakota, ex rel.
26   Drew H. Wrigley, Attorney General; State of Oklahoma ex rel. Attorney General Gentner
27   Drummond; State of Oregon, ex rel. Ellen F. Rosenblum, Attorney General for the State
28   of Oregon; Commonwealth of Pennsylvania, by Attorney General Michelle A. Henry; State


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 1   of Rhode Island; State of South Carolina ex. rel. Attorney General Alan Wilson; State of
 2   Tennessee; State of Texas; Utah Division of Consumer Protection1; State of Vermont;
 3   Commonwealth of Virginia, ex rel. Jason S. Miyares, Attorney General; State of
 4   Washington; State of West Virginia ex rel. Patrick Morrisey, Attorney General; State of
 5   Wisconsin; and State of Wyoming (“Plaintiffs”), file this Complaint on behalf of their
 6   respective jurisdictions against Michael D. Lansky, L.L.C., dba Avid Telecom, Michael
 7   D. Lansky, individually and as Chief Executive Officer, and Stacey Reeves,
 8   individually and as Vice President of Operations and Sales, (collectively “Avid
 9   Defendants”). This action is filed pursuant to the Telemarketing and Consumer Fraud and
10   Abuse Prevention Act (“Telemarketing Act”), 15 U.S.C. § 6101 et seq.; the Telemarketing
11   Sales Rule (“TSR”), 16 C.F.R. § 310 et seq.; the Telephone Consumer Protection Act
12   (“TCPA”), 47 U.S.C. § 227 et seq.; and certain state laws that protect consumers against
13   unfair and deceptive trade practices, including unfair, deceptive, abusive and illegal
14   telemarketing practices. Plaintiffs seek temporary and permanent injunctive relief, the
15   imposition of civil penalties, restitution, statutory damages, an award of attorneys’ fees and
16   costs, and other legal, statutory, or equitable relief this Honorable Court deems proper, and
17   allege the following:
18
19                                JURISDICTION AND VENUE
20           1.     This Court has subject matter jurisdiction over this action pursuant to 28
21   U.S.C. §§ 1331, 1337(a), 1355; the Telemarketing Act, 15 U.S.C. § 6103(a); and the
22   TCPA, 47 U.S.C. §§ 227(e)(6) and (g)(2). The Telemarketing Act is the enabling statute
23   for the TSR.
24           2.     This Court has pendent jurisdiction over the state law claims pursuant to 28
25   U.S.C. § 1367.
26
     1
      With respect to Utah, references to the “Attorney General” refer to the Utah Attorney
27
     General’s Office acting as counsel for the Division of Consumer Protection of the Utah
28   Department of Commerce.


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 1             3.   Venue is proper in this District under 28 U.S.C. §§ 1391(b)(2), 1395(a), 47
 2   U.S.C. §§ 227(e)(6)(E), 227(g)(4), and 15 U.S.C. § 6103(e). Avid Telecom is
 3   headquartered within this District and a substantial part of the events or omissions giving
 4   rise to the claims alleged in this Complaint occurred in this District.
 5             4.   Plaintiffs notified the Federal Trade Commission (“FTC”) of this civil
 6   action prior to instituting such action, as required by 15 U.S.C. § 6103(b).
 7             5.   Plaintiffs notified the Federal Communications Commission (“FCC”) of this
 8   civil action prior to instituting such action, as required by 47 U.S.C. §§ 227(e)(6)(B) and
 9   (g)(3).
10
11                                         PLAINTIFFS
12             6.   The Attorneys General of the Plaintiffs are the chief legal officers for
13   their respective states and commonwealths. Plaintiffs bring this action in the public
14   interest pursuant to the consumer protection, business regulation, and/or
15   telemarketing authority conferred on them by their respective state statutes and/or
16   pursuant to the doctrine of parens patriae and/or common law authority.
17             7.   Pursuant to the Telemarketing Act, 15 U.S.C. §§ 6103(a) and (f)(2),
18   the Attorneys General and other authorized officers of the Plaintiffs’ respective
19   jurisdictions are authorized to initiate federal district court proceedings to enjoin
20   telemarketing activities that violate the TSR, to enforce compliance with the TSR, and
21   in each such case, to obtain damages, restitution, and other compensation on behalf
22   of residents, or to obtain such further and other relief as the court may deem
23   appropriate.
24             8.   Plaintiffs are authorized to enforce the TCPA and the regulations prescribed
25   under it by 47 U.S.C. § 227(e)(6)(A), which authorizes Plaintiffs to impose civil penalties
26   for violations of the TCPA or its regulations, and by 47 U.S.C. § 227(g)(1), which
27   authorizes Plaintiffs to enjoin Defendants’ routing of illegal calls, and to be awarded
28


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 1   damages for each violation, with increased awards for willful or knowing violations of such
 2   regulations.
 3          9.      Below is a breakdown of each Plaintiff’s statutory authority for those
 4   Plaintiffs bringing state claims:
 5            STATE                             STATUTORY AUTHORITY
       California                Cal. Bus. & Prof. Code §§ 17203, 17204, 17206, 17536, and
 6
                                 17593.
 7     Florida                   Chapter 501, Part II, Florida Statutes (“FDUTPA”)
       Indiana                   Ind. Code § 4-6-3-2; Ind. Code 24-4.7; and Ind. Code 24-5-
 8
                                 14.
 9     Maryland                  Md. Code Ann., Com. Law, § 14-3201, et seq.
10     Nevada                    NRS 228.500-228.590, NRS 228.620, NRS 597.814, NRS
                                 597.818, NRS 598.0916, NRS 598.0918, NRS 598.0923,
11                               NRS 598.0963, NRS 598.0973, NRS 598.0975 and NRS
                                 598.0903 to 598.0999.
12
       New York                  New York General Business Law §§ 399-p and 399-z, and
13                               New York Executive Law § 63(12).
       North Carolina            N.C. Gen. Stat. §§ 75-1.1, et seq.; N.C. Gen. Stat. §§ 75-
14
                                 100, et seq.
15     North Dakota              North Dakota Century Code (“N.D.C.C.”) § 51-15-01 et
                                 seq. and N.D.C.C. § 51-28-01 et seq.
16
       Rhode Island              R.I. Gen. Laws § 6-13.1-1, et seq.; R.I. Gen. Laws § 5-61-1,
17                               et seq.
       Washington                Washington Consumer Protection Act, chapter 19.86 of the
18
                                 Revised Code of Washington (RCW).
19     Wisconsin                 Wis. Stat. §§ 165.25(1m), 165(4)(ar), 100.20(6), 100.26, and
                                 100.263.
20
21
22                                       DEFENDANTS
23          10.     Defendant Michael D. Lansky, L.L.C., doing business as Avid Telecom
24   (hereinafter “Avid” or “Avid Telecom”), is an Arizona limited liability company formed
25   on November 1, 2000, with its principal place of business at 2830 N. Swan Rd. #160,
26   Tucson, AZ 85712.
27
28


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 1           11.   At times, Avid Telecom has held itself out as Avid Telecom, LLC, including
 2   in the FCC’s Robocall Mitigation Database.2
 3           12.   At all relevant times to this Complaint, Avid Telecom was engaged in
 4   trade or commerce within the scope of the statutes enforced by Plaintiffs and transacted
 5   business by routing telephone calls to each of Plaintiffs’ jurisdictions.
 6           13.   Defendant Michael Lansky (“Lansky”) is an individual residing in Tucson,
 7   Arizona. According to filings in the Arizona Secretary of State business database, Lansky
 8   is a Member and Manager of Avid Telecom. Lansky holds himself out as CEO of Avid
 9   Telecom in business filings and on the FCC’s 499 Filer Database website.3 Lansky has also
10   held himself out as the President of Avid Telecom. Lansky has formulated, directed,
11   controlled, had the authority to control, or participated in the acts or practices of Avid
12   Telecom as set forth in this Complaint.
13           14.   Defendant Stacey S. Reeves (“Reeves”) is an individual residing in Oviedo,
14   Florida. Reeves holds herself out as the Vice President of Operations and Sales for Avid
15   Telecom in filings with the FCC’s Robocall Mitigation Database. Reeves began her
16   position as Vice President of Avid Telecom in October of 2020. Reeves has formulated,
17   directed, controlled, had the authority to control, or participated in the acts or practices of
18   Avid Telecom as set forth in this Complaint.
19           15.   Defendants Lansky and Reeves transacted business in this District through
20   Avid Telecom and in their individual capacities.
21
     2
22     The FCC requires all voice service providers to file certifications in the publicly
     accessible Robocall Mitigation Database regarding their effort to fight illegal robocalls on
23   their respective networks.           See FCC, Robocall Mitigation Database,
24   https://www.fcc.gov/robocall-mitigation-database (last visited May 18, 2023).
     3
25    The FCC maintains a publicly accessible database of all the entities that register to provide
     voice services in the United States and to contribute to the federal Universal Service Fund.
26   The Federal Communications Commission’s form for voice service providers to file
     regarding their Universal Service Fund contributions is entitled “Form 499.” Avid
27
     Telecom’s          499         information         can          be        found          here:
28   https://apps.fcc.gov/cgb/form499/499detail.cfm?FilerNum=828064.


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 1           16.    Defendant Avid Telecom identifies itself as an interconnected Voice over
 2   Internet Protocol (“VoIP”) service provider, registered with the FCC’s Form 499 Filer
 3   Database as Filer ID No. 828064.
 4           17.    According to the Avid Telecom’s 499 filings, it does business in all U.S.
 5   states and territories.
 6           18.    As an interconnected VoIP service provider, Avid Telecom uses broadband
 7   internet technology to route its customers’ calls into, and throughout, the U.S. telephone
 8   network.
 9
10                                       INTRODUCTION
11           19.    Every day, millions of American consumers receive a barrage of unwanted
12   robocalls that are harassing, annoying, threatening, and malicious. Some consumers are
13   told that their “Social Security Number has been used for some kind of fraudulent activity
14   in the South Border of Texas.”4 Sometimes, the message states the “SSA department is
15   filing a lawsuit against you. An arrest warrant has been released on your name.”5 Other
16   calls purport to be from Amazon, luring the call recipient into a scam.6 These calls are all
17   scams designed to scare and harm consumers. Other robocalls may not be scams but are
18   harassing, abusive, and illegal, nonetheless.7
19
20
21
22
     4
      Avid Telecom transmitted a robocall with this message on November 04, 2021.
23
     https://portal2.tracebacks.org/api/public/attachments/550668.
24   5
        Avid Telecom transmitted a robocall with this message on April 16, 2020.
25   https://portal2.tracebacks.org/api/public/attachments/1539.
     6
26      Avid Telecom transmitted a robocall with this message on July 09, 2022.
     https://portal2.tracebacks.org/api/public/attachments/951297.
27   7
       Avid Telecom transmitted a robocall with this message on December 12, 2022.
28   https://portal2.tracebacks.org/api/public/attachments/1161599.


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 1            20.   Illegal robocalls are the most common contact method for scammers, and
 2   consumers reported losing over $692 million to them in 2021 alone.8
 3
 4                  OVERVIEW OF DEFENDANTS’ BUSINESS PRACTICES
 5                                    AND WRONGDOING
 6            21.   Defendants Avid Telecom, Lansky, and Reeves are in the business of
 7   providing VoIP services, facilitating or initiating robocalls, and/or helping others make
 8   robocalls.
 9            22.   Avid Telecom received more than 329 Traceback9 notifications from the
10   USTelecom-led Industry Traceback Group (“ITG”). These notifications put Defendants
11   on notice that Avid Telecom was transmitting illegal robocalls.
12            23.   Despite receiving these 329 notifications, and despite receiving additional
13   letters and correspondence from the ITG about needing to improve Avid Telecom’s traffic
14   screening procedures, week after week Defendants chose profit over running a business
15   that conforms to state and federal law. Defendants could have chosen to implement
16   effective and meaningful procedures to prevent—or even significantly mitigate—the
17   perpetration of illegal behavior onto and across Avid Telecom’s network but chose not to
18   do so.
19            24.   Even if Defendants had not been specifically informed at least 329 times by
20   the ITG that Avid Telecom was carrying illegal robocall traffic, they knew or should have
21   known that Avid Telecom was assisting and facilitating telemarketers or sellers
22
23   8
        FTC Consumer Sentinel Network Data Book 2021, at 12 (February 2022),
24   https://www.ftc.gov/system/files/ftc_gov/pdf/CSN%20Annual%20Data%20Book%2020
     21%20Final%20PDF.pdf.
25   9
       A “Traceback” is recognized by the voice communications industry as the method used
26   by the ITG to trace the “call path” of a call, which identifies every provider that helped
     route the call across the telephone network, beginning with the call recipient and ending
27
     with the caller or the last provider closed to the caller that responds to the Traceback
28   request.


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 1   transmitting illegal robocalls based on its call detail records, which are business records
 2   that are automatically generated by every telecom provider when a call is originated or
 3   transmitted and are kept in order to bill for the service of originating or transmitting each
 4   call across the provider’s network.
 5          25.    In short, Defendants were on notice, both through Tracebacks and complaints
 6   from their downstream providers, that Avid Telecom’s network was being used by
 7   telemarketers or sellers to send illegal robocalls.
 8          26.    Avid Telecom and Lansky have been on notice about this illegal call traffic
 9   for many years.
10          27.    Defendants knew or consciously avoided knowing that telemarketers or
11   sellers were transmitting robocalls across Avid Telecom’s network and using Avid
12   Telecom’s services to send call traffic that violated federal and state laws.
13          28.    Defendants provided substantial assistance to robocallers and facilitated the
14   transmission and eventual delivery of millions of prerecorded telephone calls to residents
15   in the Plaintiffs’ respective jurisdictions.
16          29.    Defendants and their customers made or initiated calls to both residential and
17   cellular telephone lines using artificial or prerecorded voices to deliver messages without
18   the prior express consent of the called parties.
19          30.    Some of Defendants’ customers were telemarketers and/or sellers.
20          31.    For many calls where Defendants’ customers were not the caller, the caller
21   was a telemarketer and/or seller.
22          32.    Defendants’ customers’ robocall campaigns advertise various goods and
23   services including healthcare products and automobile extended warranties.
24          33.    Defendants facilitated the transmission of robocall campaigns in which the
25   telemarketer and/or seller:
26                 a.      Misrepresented material aspects of goods or services, in violation of
27                         16 C.F.R. § 310.3(a)(2)(iii);
28


                                                    10
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 1                   b.    Misrepresented the seller’s or telemarketer’s affiliation with
 2                         corporations or government entities, in violation of 16 C.F.R. §
 3                         310.3(a)(2)(vii);
 4                   c.    Made false or misleading statements to induce any person to pay for
 5                         goods or services, in violation of 16 C.F.R. § 310.3(a)(4);
 6                   d.    Failed to transmit or cause to be transmitted the real telephone number
 7                         and the name of the telemarketer to caller identification services used
 8                         by call recipients, in violation of 16 C.F.R. § 310.4(a)(8);
 9                   e.    Initiated or caused the initiation of outbound calls to telephone
10                         numbers on the National Do Not Call Registry, in violation of 16
11                         C.F.R. § 310.4(b)(1)(iii)(B);
12                   f.    Initiated or caused the initiation of outbound telephone calls that
13                         delivered prerecorded messages, in violation of 16 C.F.R. §
14                         310.4(b)(1)(v); and/or
15                   g.    Failed to disclose the identity of the seller of the goods or services
16                         truthfully, promptly, and in a clear and conspicuous manner to the
17                         person receiving the call, in violation of 16 C.F.R. § 310.4(d)(1).
18          34.      Avid Telecom provided services customized to the needs of robocalling
19   customers by enabling them to place a high volume of calls in quick succession, billing
20   only for the duration of completed calls—typically in as little as 6-second increments—
21   and ignoring clear indicia of illegal call traffic.
22          35.      Defendants provided their customers with Direct Inward Dialing numbers
23   (“DIDs”), which would appear to the persons receiving the calls as the calling numbers or
24   “Caller IDs.”
25
26
27
28


                                                    11
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 1          36.    This service was likely provided to circumvent the procedural guardrails of
 2   the caller authentication framework of STIR/SHAKEN10 that would otherwise mark a
 3   randomly generated or used calling number as “unverified” and cause such calls to be
 4   blocked from being delivered to the called party at a network level by a downstream
 5   provider.
 6          37.    Defendants have quick11 and inexpensive12 access to millions of DIDs that
 7   they sell or lease to their customers.
 8          38.    Defendants sold DIDs in bulk and were capable of providing DIDs for
 9   telephone numbers from every area code in the United States.
10          39.    The practice of “spoofing” is used deceptively by scammers to manipulate
11   the caller ID system, so it appears that their calls are from legitimate phone numbers.
12          40.    Defendants used DIDs for “neighbor” spoofing and/or “snowshoe” spoofing.
13   Neighbor spoofing is the practice of using caller ID numbers with the same area code and
14   same or similar three-digit exchange as the call recipient to increase the odds of the call
15   recipient answering the call due to the belief that the call is originating from the local area.
16   Snowshoe spoofing is the practice of using massive quantities of unique numbers for caller
17   ID on a short-term or rotating basis to evade behavioral analytics detection, or to bypass or
18   hinder call blocking or call labeling analytics based on the origination numbers. Numbers
19   used for snowshoeing are often numbers that cannot receive incoming calls.
20
     10
21      STIR/SHAKEN is a framework of FCC-mandated processes and procedures that enables
     phone companies to verify that the Caller ID information transmitted to the call recipient
22   matches the caller’s real phone number, and is intended to stop or significantly mitigate
23   illegal and fraudulent Caller ID spoofing. See FCC, Caller ID Authentication Tools,
     https://www.fcc.gov/TRACEDAct (last visited May 18, 2023).
24   11
       In a January 28, 2022, email to Call48, Reeves wrote: “Please understand, the very thing
25   that sets Avid apart from its competitors for DID business is the fact that we can fill orders
26   within 2-3 days as opposed to 5- 7.”
     12
        In a January 2022 bill, Avid Telecom was paying $0.01 per DID to Call48 for 865,683
27
     DIDs. On February 1, 2022, Avid Telecom provided a list of over 400,000 DIDs to return
28   to Call48.


                                                   12
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 1          41.     Defendants claimed to provide and/or sell data in the form of call recipient
 2   phone numbers to their customers to use as “leads” in their customers’ telemarketing
 3   campaigns.
 4          42.     Defendants advertised they provide consulting services concerning how to
 5   effectively conduct robocalling operations. In one case, they provided a known robocaller
 6   with, at least, informal consulting.
 7          43.     Defendants actively participated in the initiation of, or assisted and facilitated
 8   in the initiation of, illegal robocalls.
 9          44.     Defendants assisted and facilitated telephone calls that used neighbor
10   spoofing.
11          45.     Defendants knew or consciously avoided knowing they were routing illegal
12   robocall traffic.
13          46.     Defendants provided substantial support and assisted sellers and
14   telemarketers engaged in illegal robocalling in many ways, including but not limited to:
15                  a.      making and/or routing their customers’ and robocallers’ illegal calls
16                          to consumers in the Plaintiffs’ respective jurisdictions;
17                  b.      taking express steps to obscure the ownership of at least one of their
18                          customers from ITG and other third parties after the principal owner
19                          became the subject of federal and state law enforcement actions and
20                          formed another named entity to continue to conduct business under
21                          another entity name;
22                  c.      providing some customers with DID rotation support, so that the
23                          customer could      circumvent and undermine consumer, law
24                          enforcement, and industry efforts to block and mitigate illegal calls;
25                  d.      providing customers with the telephone numbers (DIDs or Caller IDs)
26                          used to make illegal calls to consumers in the Plaintiffs’ respective
27                          jurisdictions;
28


                                                    13
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 1                 e.     providing customers with leads and/or data used by their customers to
 2                        make illegal calls to consumers in the Plaintiffs’ respective
 3                        jurisdictions; and
 4                 f.     providing customers with expertise on how to most effectively and
 5                        profitably run their illegal robocalling and telemarketing schemes.
 6          47.    Without the support, assistance, facilitation, and participation of Defendants,
 7   the billions of illegal robocalls sent by, to, and through their network would not have
 8   reached millions of consumers across the United States.
 9
10                        Defendants’ VoIP Provider Business Practices
11          48.    Avid Telecom is a VoIP business that makes and transmits telephone calls
12   for profit.
13          49.    Avid Telecom provides services to retail customers who are the originating
14   callers that place robocall and telemarketing calls, as well as wholesale customers who are
15   other voice service providers that route and transmit robocall and telemarketing calls.
16          50.    Defendants’ position in the call paths can vary from call to call and depends
17   upon the operative contracts with other entities in the voice communications ecosystem.
18          51.    When serving as an “originating” VoIP provider, Avid Telecom is the first
19   provider to make or initiate call traffic on behalf of its own retail customer.
20          52.    Then, Avid Telecom routes the call to another provider, which routes the call
21   to another provider on the voice communications network13 and so on, until the call is
22   routed to a provider that delivers or terminates the call to the intended call recipient.
23          53.    Calls transit from provider to provider, and each stop is designated as a “hop”
24   moving “downstream” to the call recipient. All the providers downstream of the “gateway”
25
26   13
        The public switched telephone network refers to the aggregate of landline and mobile
     telephone infrastructure that can be accessed by the public at large. This does not include
27
     private communications networks which are only accessible by select individuals such as
28   intercom systems.


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 1   or “point of entry” on the U.S. voice communications network, except the last provider,
 2   are collectively referred to as “intermediate providers.”
 3          54.    The last voice service provider that delivers the call to its customer, who is
 4   the call recipient, is identified as the “terminating” provider.
 5          55.    Depending on the private contractual—whether formal or informal—
 6   agreements with each of its customers, Avid Telecom is either an originating provider or
 7   intermediate provider, which is a call-by-call classification or categorization.
 8          56.    There are two filings in the FCC’s Robocall Mitigation Database that are
 9   related to Lansky, Reeves, and Avid Telecom. One is a complete filing for “Avid Telecom
10   LLC,” which is an entity that does not exist. The other is an incomplete filing for “Michael
11   D. Lansky LLC,” which is an existing corporate entity.
12          57.    According to Avid Telecom’s FCC Form 499 Database registration14, Avid
13   Telecom provides VoIP services in all of the Plaintiffs’ respective jurisdictions.
14          58.    Avid Telecom structures some of its contracts and billing to appeal to
15   upstream providers that transmit robocalls.
16          59.    Avid Telecom’s downstream providers often provide Avid Telecom with
17   separate call routes for dialer traffic and conversational traffic.15
18          60.    VoIP providers like Avid Telecom cater to callers using robocalling
19   technology that allows for the transmission of high call volumes in short durations. A
20   robocaller can make multiple calls in a single second. These calls may be prerecorded or
21
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23   14
             FCC       Form      499     Filer     Database,    Detailed      Information,
24   https://apps.fcc.gov/cgb/form499/499detail.cfm?FilerNum=828064 (last visited May 18,
     2023).
25   15
       Dialer traffic is a high-volume number of calls per second with shorter duration times.
26   Generally, dialer traffic is associated with a software or technology initiating as many calls
     as possible. Dialer traffic tends to have consistent patterns based on the type of call the
27
     calling party is making. Conversational traffic is traditional human-to-human call traffic.
28   Conversational traffic tends to be longer duration with fewer calls per second.


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 1   artificially-voiced messages, or they can allow a computer to confirm a call recipient
 2   answers before connecting the call to a live operator.
 3          61.    For example, one of Avid Telecom’s downstream providers, All Access
 4   Telecom, provided Avid Telecom with an unrestricted route for dialer traffic. This allowed
 5   Avid Telecom to send an unlimited number of below-six-second calls.
 6          62.    VoIP technology is particularly attractive to scammers that place illegal
 7   robocalls because it allows them to efficiently place millions or billions of calls as they
 8   troll for vulnerable consumers who will fall victim to their financial or identity theft scams.
 9          63.    Avid Telecom catered its business to the needs of robocallers by offering
10   special “dialer” rates for short duration calls.
11          64.    For example, in a February 6, 2020, email to voice service provider ANI
12   Networks, Lansky pitched Avid Telecom’s business like this:
13                 No worries.. it’s been a very busy last few weeks and now certain
14                 parts of the industry are in a panic mode.. I think I may have some
                   solutions for you all.. maybe make a messy situation more sane, that
15                 is if you are doing some of the short duration (CC16) traffic today
16
                   If you are getting this traffic and blocking It or stopping it.. we can
17                 probably term it for you over our networks with quality termination
                   and stats. If you are sending it carriers today.. we might be able to
18
                   provide a better route with the same or better costs. We are not the
19                 least expensive guys out there doing this.. we don’t want to be. We
                   are in very good standing with the US Telecom Association and the
20
                   FTC. And those are extremely good things…
21
                   if you have following this much, such well known names are not in
22                 such good standing.
23
                   I can probably get more into the details once I have a better
24                 understanding of how you handle short duration traffic today.
25
26
27   16
        In this context, “CC” is typically an abbreviation for “call center” indicating the call
28   traffic he is offering to facilitate is short duration outbound calls from telemarketers.


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 1                           Avid Telecom’s Website and Marketing
 2          65.    Before November 1, 2022, Avid Telecom’s website homepage advertised
 3   that “Avid Telecom is a complete call center solution.” Sometime after November 1, 2022,
 4   Avid Telecom made changes to its website. Prior to November 1, 2022, Avid Telecom’s
 5   website advertised:
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17          66.    Avid Telecom held itself out publicly as a provider of dialing software, which
18   “includes a Predictive Dialer, Voice Broadcasting, List Management and Agent
19   Management.”17 Voice broadcasting is an industry term for robocalling which is the ability
20   to simultaneously initiate mass quantities of calls that deliver prerecorded or artificial
21   voiced messages. Prior to November 1, 2022, Avid Telecom’s website advertised:
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     17
       A predictive dialer refers to a type of automated dialer that places phone calls even before
27
     the agents become available. Predictive dialers are often used by robocallers to increase
28   efficiency.


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12          67.    Avid Telecom held itself out publicly as a provider of Direct Inward Dialing
13   (“DID”) phone numbers, of which “Numbers can be ordered one-off or in bulk. Increase
14   your sales with local callbacks for every state you dial . . . [Avid Telecom] can offer you
15   fresh numbers on a regular rotation or port in your existing inventory.” Prior to November
16   1, 2022, Avid Telecom’s website advertised:
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 1          68.    The regular rotation of DID phone numbers is often indicative of callers that
 2   do not want to be identified. Legitimate businesses typically want their customers to be
 3   able to call them back with a DID phone number that does not change or rotate.
 4          69.    Avid Telecom held itself out publicly as a service that “will help you
 5   complete more calls and improve sales with no dead air or FAS.18 We offer flexible,
 6   volume-based pricing and a free credit to test our network.” Prior to November 1, 2022,
 7   Avid Telecom’s website advertised:
 8
 9
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20          70.    Avid Telecom held itself out publicly as a provider of call data, advertising:
21   “Avid Telecom combines a multitude of data sources to provide high quality and high
22   connectivity contact leads for your call center. Data can be targeted by state, average talk
23   time, likelihood of voicemail and likelihood of answering. Free samples are available. Take
24   a test drive today!” Prior to November 1, 2022, Avid Telecom’s website advertised:
25
26
27   18
       False Answer Supervision (“FAS”) is a type of VoIP fraud, where a caller is billed for a
28   call duration that is longer than the actual connection time.


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12          71.    Further, Avid Telecom held itself out publicly to offer its employees

13   expertise, stating: “Avid Telecom has over 30-years experience in wholesale and call center

14   telephony. We can help guide you through routing, data management, DID management,

15   taxation and industry compliance.” Prior to November 1, 2022, Avid Telecom’s website

16   advertised:

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 1         72.     Avid Telecom’s website and marketing made it clear that it was courting
 2   robocallers and other VoIP providers that send voluminous robocall traffic.
 3
 4           ROBOCALL MITIGATION, METRICS, AND ANALYSIS TOOLS
 5         73.     In the last several years, both law enforcement and voice communications
 6   industry members have been working to develop resources, rules, and processes that have
 7   become essential to identifying and mitigating the sources of illegal robocall and
 8   telemarketing campaigns and those who enable them to route this traffic across the U.S.
 9   voice communications network. Included among these resources, rules, and processes are
10   Call Detail Records, Mitigation Metrics and Analyses, Traceback Notices, and other
11   complaints.
12                                     Call Detail Records
13         74.     Every attempted or completed call that reaches a VoIP provider’s network
14   automatically generates a record, known as a “call detail record” or “CDR,” which
15   generally includes the following information:
16                 a.    The date and time of the call attempt;
17                 b.    The duration of the call (calls that fail to connect are generally denoted
18                       by a zero-second duration);
19                 c.    The intended call recipient’s telephone number;
20                 d.    The originating or calling number from which the call was placed
21                       (which may be a real number or may be spoofed);
22                 e.    An identifier such as a name or account number for the upstream
23                       provider that sent the call attempt to the VoIP provider’s network; and
24                 f.    An identifier for the downstream provider to which the VoIP provider
25                       attempts to route the call.
26         75.     Since VoIP providers use these CDRs for billing purposes, they are
27   incentivized to ensure that the CDRs are complete and accurate.
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 1          76.       CDRs are maintained for some amount of time by every provider in order to,
 2   at a minimum, accurately bill an upstream provider for accepting and routing its call traffic.
 3          77.       Illegal robocalls create distinctive and identifiable patterns in CDRs. These
 4   calls are universally unexpected and unwanted, so most recipients hang up the phone
 5   immediately. Therefore, these calls typically connect for a very short duration, if at all.
 6   CDRs for illegal robocalls will often feature a high percentage of calls that are only a few
 7   seconds long. When examined in the aggregate, CDRs tend to show a very short average
 8   call duration.
 9          78.       Conversely, CDRs showing legitimate, consented-to robocalls or routine
10   conversational call traffic typically have a much lower short call percentage, and a much
11   longer average call duration.
12          79.       Also, improper or questionable Caller ID spoofing—where a calling number
13   is used relatively infrequently in relation to the total number of calls that are made with
14   that number—is often apparent in CDRs and is indicative of illegal robocalls. Robocallers
15   deceptively use spoofing to hide their identity, to circumvent call blocking and labeling
16   tools, and to make it more likely that consumers will answer their calls.
17          80.       Illegal robocallers frequently use caller ID spoofing to impersonate trusted
18   organizations such as law enforcement, government agencies, and large corporations.
19   These organizations’ phone numbers are publicly available, and when these numbers
20   appear in CDRs for calls that originate abroad, these robocalls are irrefutably illegal.
21          81.       Patterns of neighbor spoofing or impersonating trusted numbers are easy to
22   detect when present in CDRs and indicate that the upstream provider is sending illegal calls
23   across the downstream provider’s network.
24          82.       Another identifier of illegal robocalls captured by CDRs is the presence of
25   high numbers of unique calling phone numbers initiating calls. This technique of using a
26   calling number only a handful of times to avoid detection by call blocking analytics is
27   called “snowshoeing” or using “disposable” phone numbers.
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 1            83.    As described above, illegal robocallers and telemarketers use the
 2   “snowshoeing” method of spoofing—using a calling number only once or a handful of
 3   times to avoid detection—to prevent large providers and legitimate companies from
 4   identifying and blocking the phone numbers the bad actors are using to perpetrate scam
 5   calls.
 6            84.    Legitimate telemarketers and people who make calls for ordinary business or
 7   personal purposes use the same phone number or a certain limited block of numbers for
 8   each placed call. For this reason, CDRs for legitimate traffic reflect that the total number
 9   of calls is significantly greater than the total number of unique calling phone numbers used.
10   However, CDRs for illegal call traffic reflect close to a 1-1 ratio for the total number of
11   calls to the total number of unique phone numbers.
12            85.    The presence of high rates of calls to phone numbers on the National Do Not
13   Call Registry (“National DNC Registry”)19 is another way to distinguish illegal robocalls
14   and telemarketing calls from legitimate calls. Substantial volumes of illegal calls are placed
15   to phone numbers on the National DNC Registry because problematic robocallers are
16   unlikely to respect legal prohibitions on calling numbers on the National DNC Registry.
17
18            Patterns of Illegal Calls Identified in Avid Telecom’s Call Detail Records
19            86.    A preliminary review of CDRs from some of Avid Telecom’s downstream
20   providers shows that, between December 31, 2018, and January 31, 2023, Avid Telecom
21   made and/or attempted to make more than 24.5 billion calls. Among the approximately 21
22   billion calls made to valid U.S. phone numbers, about 93% of those calls had a call duration
23   of less than 15 seconds.
24            87.    This significantly high percentage of calls of “short duration” calls that lasted
25   only 15 seconds or less, coupled with the use of high volumes of different Caller IDs or
26
27   19
       FTC, National Do Not Call Registry, https://www.donotcall.gov/ (last visited May 18,
28   2023).


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 1   DIDS to place the calls, which Caller IDs significantly matched the call recipient’s area
 2   code, are commonplace patterns of illegal call traffic.
 3          88.    A preliminary review of Avid Telecom’s call traffic shows that Avid
 4   Telecom regularly routed high volumes of calls consistent with patterns of illegal call
 5   traffic to phone numbers across the United States. For instance:
 6                 a.     Between January 1, 2019, and November 3, 2022, Avid Telecom
 7                        routed to its downstream customer All Access Telecom more than
 8                        4.52 billion calls—an average of over 3.2 million calls per day
 9                        transmitted to this provider alone—that were placed to over 685.7
10                        million phone numbers across the country. More than 474.8 million
11                        different Caller ID or DID numbers were used to place those calls,
12                        over 72% of which were used to make just one telephone call. Among
13                        these calling numbers, over 58% matched the call recipient’s area
14                        code, with a small percentage of that matching both the area code and
15                        local exchange.    Of the 27% of these 4.52 billion calls that were
16                        actually answered, the average call duration was only 16 seconds.
17                 b.     Between June 18, 2021, and January 31, 2023, Avid Telecom routed
18                        to its downstream customer Bandwidth more than 587.8 million
19                        calls—an average of over 991,000 calls per day transmitted to this
20                        provider alone—that were placed to over 121 million phone numbers
21                        across the country. More than 55.5 million different Caller ID or DID
22                        numbers were used to place those calls, over 71% of which were used
23                        to make just one telephone call. Among these calling numbers, over
24                        70% matched the call recipient’s area code, with a small percentage
25                        of that matching both the area code and local exchange. Only 26% of
26                        the total calls sent were answered, and more than 124.4 million of
27                        those calls were only between 6 and 15 seconds.
28


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 1              c.   Between February 2, 2022, and January 30, 2023, Avid Telecom
 2                   routed to its downstream customer Carrier Connect more than 513.6
 3                   million calls—an average of over 1.4 million calls per day transmitted
 4                   to this provider alone—that were placed to over 106.2 million phone
 5                   numbers across the country. More than 78.9 million different Caller
 6                   ID or DID numbers were used to place those calls, over 80% of which
 7                   were used to make just one or two telephone calls. Among these
 8                   calling numbers, more than 30% matched the call recipient’s area
 9                   code, with a small percentage of that matching both the area code and
10                   local exchange. Of the only 16% of these 513.6 million calls that were
11                   answered, the average call duration was 19 seconds.
12              d.   Between December 31, 2018, and November 10, 2022, Avid Telecom
13                   routed to its downstream customer Inteliquent more than 2.96 billion
14                   calls—an average of over 2.1 million calls per day transmitted to this
15                   provider alone—that were placed to over 508.5 million phone
16                   numbers across the country. More than 273.3 million different Caller
17                   ID or DID numbers were used to place those calls, over 80% of which
18                   were used to make just one telephone call. Among these calling
19                   numbers, more than 64% matched the call recipient’s area code, with
20                   a small percentage of that matching both the area code and local
21                   exchange. Of the approximately 50% of these 2.96 billion calls that
22                   were answered, the average call duration was only 18 seconds.
23              e.   Between February 2, 2022, and January 23, 2023, Avid Telecom
24                   routed to its downstream customer Secure Voice more than 2.94
25                   billion calls—an average of over 8.3 million calls per day transmitted
26                   to this provider alone—that were placed to over 289 million phone
27                   numbers across the country. More than 194 million different Caller
28                   ID or DID numbers were used to place those calls, over 71% of which


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 1                   were used to make just one telephone call. Among these calling
 2                   numbers, more than 69% matched the call recipient’s area code, with
 3                   a small percentage of that matching both the area code and local
 4                   exchange. Of the approximately 52% of these 2.94 billion calls that
 5                   were answered, the average call lasted only 5 seconds.
 6              f.   Between March 12, 2020, and October 31, 2020, Avid Telecom
 7                   routed to its downstream customer VoIP Innovations more than 856
 8                   million calls—an average of over 3.67 million calls per day
 9                   transmitted to this provider alone—that were placed to over 243
10                   million phone numbers across the country. More than 56.1 million
11                   different Caller ID or DID numbers were used to place those calls,
12                   over 84% of which were used to make just one telephone call. Among
13                   these calling numbers, more than 51% matched the call recipient’s
14                   area code, with a small percentage of that matching both the area code
15                   and local exchange. Of the 31% of these 856 million calls that were
16                   answered, the average call duration was 14 seconds.
17              g.   More than 7.5 billion of the almost 21 billion calls sent and/or
18                   transmitted to U.S.-based telephone numbers by Avid Telecom since
19                   2019 that were reviewed by Plaintiffs were calls made to telephone
20                   numbers registered on the National DNC Registry at the time of this
21                   filing. A majority of these phone numbers were on the National DNC
22                   Registry at the time the calls were sent and/or transmitted by Avid
23                   Telecom.
24              h.   An initial review also shows that, since 2019, Avid Telecom sent
25                   and/or transmitted more than 1 million calls to consumers in the
26                   Plaintiffs’ respective jurisdictions that were illegal and/or violative of
27                   federal and state law.
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 1              i.    These unlawful calls sent by Avid included Social Security
 2                    Administration scams, Medicare scams, auto warranty scams,
 3                    Amazon scams, DirecTV scams, and credit card interest rate reduction
 4                    scams.
 5
 6        89.   For example, since 2019:

 7              a.    Avid Telecom routed more than 25,983 calls containing unlawful
 8                    content to phone numbers with Alabama area codes.
 9              b.    Avid Telecom routed more than 28,790 calls containing unlawful
10                    content to phone numbers with Arizona area codes.
11              c.    Avid Telecom routed more than 12,811 calls containing unlawful
12                    content to phone numbers with Arkansas area codes.
13              d.    Avid Telecom routed more than 80,989 calls containing unlawful
14                    content to phone numbers with California area codes.
15              e.    Avid Telecom routed more than 19,861 calls containing unlawful
16                    content to phone numbers with Colorado area codes.
17              f.    Avid Telecom routed more than 13,825 calls containing unlawful
18                    content to phone numbers with Connecticut area codes.
19              g.    Avid Telecom routed more than 3,601 calls containing unlawful
20                    content to phone numbers with Delaware area codes.
21              h.    Avid Telecom routed more than 1,004 calls containing unlawful
22                    content to phone numbers with District of Columbia area codes.
23              i.    Avid Telecom routed more than 94,167 calls containing unlawful
24                    content to phone numbers with Florida area codes.
25              j.    Avid Telecom routed more than 56,779 calls containing unlawful
26                    content to phone numbers with Georgia area codes.
27              k.    Avid Telecom routed more than 1,975 calls containing unlawful
28                    content to phone numbers with Hawaii area codes.


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 1              l.   Avid Telecom routed more than 5,920 calls containing unlawful
 2                   content to phone numbers with Idaho area codes.
 3              m.   Avid Telecom routed more than 46,737 calls containing unlawful
 4                   content to phone numbers with Illinois area codes.
 5              n.   Avid Telecom routed more than 3,225 calls containing unlawful
 6                   content to phone numbers with Indiana area codes.
 7              o.   Avid Telecom routed more than 8,197 calls containing unlawful
 8                   content to phone numbers with Iowa area codes.
 9              p.   Avid Telecom routed more than 7,509 calls containing unlawful
10                   content to phone numbers with Kansas area codes.
11              q.   Avid Telecom routed more than 12,819 calls containing unlawful
12                   content to phone numbers with Kentucky area codes.
13              r.   Avid Telecom routed more than 13,780 calls containing unlawful
14                   content to phone numbers with Louisiana area codes.
15              s.   Avid Telecom routed more than 3,208 calls containing unlawful
16                   content to phone numbers with Maine area codes.
17              t.   Avid Telecom routed more than 27,097 calls containing unlawful
18                   content to phone numbers with Maryland area codes.
19              u.   Avid Telecom routed more than 6,894 calls containing unlawful
20                   content to phone numbers with Massachusetts area codes.
21              v.   Avid Telecom routed more than 16,861 calls containing unlawful
22                   content to phone numbers with Michigan area codes.
23              w.   Avid Telecom routed more than 14,935 calls containing unlawful
24                   content to phone numbers with Minnesota area codes.
25              x.   Avid Telecom routed more than 7,611 calls containing unlawful
26                   content to phone numbers with Mississippi area codes.
27              y.   Avid Telecom routed more than 2,734 calls containing unlawful
28                   content to phone numbers with Missouri area codes.


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 1              z.    Avid Telecom routed more than 3,539 calls containing unlawful
 2                    content to phone numbers with Montana area codes.
 3              aa.   Avid Telecom routed more than 1,119 calls containing unlawful
 4                    content to phone numbers with Nebraska area codes.
 5              bb.   Avid Telecom routed more than 13,990 calls containing unlawful
 6                    content to phone numbers with Nevada area codes.
 7              cc.   Avid Telecom routed more than 4,666 calls containing unlawful
 8                    content to phone numbers with New Hampshire area codes.
 9              dd.   Avid Telecom routed more than 33,514 calls containing unlawful
10                    content to phone numbers with New Jersey area codes.
11              ee.   Avid Telecom routed more than 6,034 calls containing unlawful
12                    content to phone numbers with New Mexico area codes.
13              ff.   Avid Telecom routed more than 79,558 calls containing unlawful
14                    content to phone numbers with New York area codes.
15              gg.   Avid Telecom routed more than 46,375 calls containing unlawful
16                    content to phone numbers with North Carolina area codes.
17              hh.   Avid Telecom routed more than 275 calls containing unlawful content
18                    to phone numbers with North Dakota area codes.
19              ii.   Avid Telecom routed more than 36,890 calls containing unlawful
20                    content to phone numbers with Ohio area codes.
21              jj.   Avid Telecom routed more than 11,828 calls containing unlawful
22                    content to phone numbers with Oklahoma area codes.
23              kk.   Avid Telecom routed more than 11,450 calls containing unlawful
24                    content to phone numbers with Oregon area codes.
25              ll.   Avid Telecom routed more than 48,933 calls containing unlawful
26                    content to phone numbers with Pennsylvania area codes.
27              mm. Avid Telecom routed more than 3,031 calls containing unlawful
28                    content to phone numbers with Rhode Island area codes.


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 1                  nn.   Avid Telecom routed more than 11,339 calls containing unlawful
 2                        content to phone numbers with South Carolina area codes.
 3                  oo.   Avid Telecom routed more than 36,455 calls containing unlawful
 4                        content to phone numbers with Tennessee area codes.
 5                  pp.   Avid Telecom routed more than 82,140 calls containing unlawful
 6                        content to phone numbers with Texas area codes.
 7                  qq.   Avid Telecom routed more than 10,078 calls containing unlawful
 8                        content to phone numbers with Utah area codes.
 9                  rr.   Avid Telecom routed more than 1,895 calls containing unlawful
10                        content to phone numbers with Vermont area codes.
11                  ss.   Avid Telecom routed more than 33,764 calls containing unlawful
12                        content to phone numbers with Virginia area codes.
13                  tt.   Avid Telecom routed more than 2,737 calls containing unlawful
14                        content to phone numbers with Washington State area codes.
15                  uu.   Avid Telecom routed more than 3,983 calls containing unlawful
16                        content to phone numbers with West Virginia area codes.
17                  vv.   Avid Telecom routed more than 11,692 calls containing unlawful
18                        content to phone numbers with Wisconsin area codes.
19                  ww.   Avid Telecom routed more than 2,255 calls containing unlawful
20                        content to phone numbers with Wyoming area codes.
21
22          90.     The following are transcripts of a small sample of the many unlawful

23   campaigns that Avid Telecom routed to consumers in the Plaintiffs’ respective

24   jurisdictions. 20

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26   20
        These call transcripts were identified through YouMail which publishes robocall call
     transcripts and reports through a publicly available no-cost website. YouMail is a private
27
     company that offers call protection and call answering services to consumers and robocall
28   intelligence and mitigation solutions to providers and enterprises.


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 1              a.    Social Security Disability Eligibility Scam:21

 2                    Hello, this is Audrey and I'm a social security disability advisor
                      on a recorded line and you can press one to be removed. Now,
 3
                      I show here that you recently inquired about your eligibility for
 4                    social security disability benefits. Can you hear me okay? Is
                      help people qualify for up to $2600 a month in Social Security
 5                    disability. I'm with benefit advisors and my call back is 866-
 6                    201-3779.
 7              b.    Medicare Rewards Scam:22
 8
                      Hi, there. This is Ethan on a recorded line calling from
 9                    Medicare rewards. Can you hear me okay? Hi, I am with
10                    Medicare rewards regarding Medicare insurance and my
                      callback number is 866-951-2946.
11
12              c.    Auto Warranty “Final Courtesy” Extension Scam:23

13                    Hi, this is Amy and I'm giving you a call from the Dealer
14                    Service Center. We recently noticed your car's extended
                      warranty was going to expire and wanted to give you one final
15                    courtesy call before your warranty expires and your coverage
                      is voided. This would make you financially responsible for all
16
                      service repairs. Press one now if you wish to extend or
17                    reinstate your car's warranty. Once again, press one now or
                      press two to be placed on the do not call list or call our 800
18                    number at 833-304-1447 UST 456.
19
20
21
22   21
       YouMail, Inc.,
23   https://media.youmail.com/mcs/glb/audio/s3diZGlyXzhndmRmYTp0b21jYXQ5NDI3Oj
     E1OTI1MTE1MjAxMTdoiECp4v.gen.mp3 (last visited May 18, 2023).
24   22
       YouMail, Inc.,
25   https://media.youmail.com/mcs/glb/audio/s6diZGlyX3B3bGRmYTp0b21jYXQ1MTc3Oj
26   E2MzQwNTk2MDMyNDFH1qhdu2.gen.mp3 (last visited May 18, 2023).
     23
       YouMail, Inc.,
27
     https://media.youmail.com/mcs/glb/audio/s3diZGlyX3Q2ZmRmYTp0b21jYXQ5OTcyO
28   jE2MTQzNjM5OTI1MzU0wIBqxo.gen.mp3 (last visited May 18, 2023).


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 1                d.     Employment Request Scam:24

 2                       Hi this is Chloe. I'm in our company's employment and staffing
                         department on a recorded line and I show here that you
 3
                         inquired about a job in one of our websites. Can you hear me
 4                       okay? So, I'm with EduMatcher and you can press one to be
                         removed, and I show here that we have multiple jobs available
 5                       in your area. Uhm, so what kind of job are you looking for?
 6                       Again, I'm with EduMatcher and in case we get disconnected,
                         my call back number is 888-441-0868.
 7
 8                e.     Amazon Account Debit Scam:25
 9                       Dear customer. Thank you for your purchase on Amazon
10                       shopping. This call is to inform you that your purchase for
                         Apple Mac Book Pro will be delivered shortly and amount of
11                       $1,539 will be debited from your account for this purchase. If
12                       you authorize these charges, no action required, and if you did
                         not authorize this charge press one to speak to Amazon
13                       customer support.
14
                  f.     DirecTV Discount Scam:26
15
                         Hi, I'm calling you from AT&T DirectTV. This call is to let you
16
                         know that your account has been qualified for a 50% off. In
17                       order to avail the discounts, kindly call us back on the number
                         you see on your Caller ID. Thank you and have a great day.
18
19
           91.    Plaintiffs have determined that Defendants made and routed calls into and
20
     across the United States that used illegally spoofed phone numbers to deliberately disguise
21
22   24
       YouMail, Inc.,
23   https://media.youmail.com/mcs/glb/audio/s3diZGlyX3R2OWRmYTp0b21jYXQ2MTY5
     OjE1ODkzOTEzNjk5NTdJNKpA8i.gen.mp3 (last visited May 18, 2023).
24   25
       YouMail, Inc.,
25   https://media.youmail.com/mcs/glb/audio/s3diZGlyX2RiOWRmYTp0b21jYXQ0MzA4
26   OjE1OTk3NDYxMTE4MTB2bSysOC.gen.mp3 (last visited May 18, 2023).
     26
       YouMail, Inc.,
27
     https://media.youmail.com/mcs/glb/audio/s3diZGlyX3dtemRmYTp0b21jYXQyODQzOj
28   E2MDI4NzE3NDQxOTRFtgH74U.gen.mp3 (last visited May 18, 2023).


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 1   calls as legitimate call traffic from local, state, and federal government agencies within the
 2   United States.
 3          92.    Since 2019, Defendants also sent and/or transmitted more than 8.4 million
 4   calls across Avid Telecom’s network that used spoofed Caller ID numbers which
 5   misrepresented the callers’ affiliations with federal law enforcement agencies, state law
 6   enforcement agencies, and private sector entities.
 7          93.       These illegally spoofed calling numbers in Avid Telecom’s call traffic,
 8   identified as “Do Not Originate” numbers, were associated with the following federal and
 9   state law enforcement agencies:
10                 a.      Social Security Administration;
11                 b.      Internal Revenue Service;
12                 c.      Federal Bureau of Investigations;
13                 d.      U.S. Treasury Inspector General for Tax Administration;
14                 e.      U.S. Department of Health and Human Services;
15                 f.      U.S. Immigration and Customs Enforcement;
16                 g.      U.S. Department of Homeland Security;
17                 h.      U.S. Secret Service
18                 i.      U.S. Bureau of Alcohol, Tobacco, Firearms, and Explosives;
19                 j.      Cybersecurity and Infrastructure Security Agency of the U.S.
20                         Department of Homeland Security;
21                 k.      Office for Civil Rights and Civil Liberties of the U.S. Department of
22                         Homeland Security;
23                 l.      U.S. Customs and Border Protection;
24                 m.      Federal Communications Commission;
25                 n.      Federal Trade Commission;
26                 o.      U.S. Postal Service;
27                 p.      United States District Court of the Southern District of New York;
28                 q.      New Jersey Court System;


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 1                r.     Los Angeles Police Department Headquarters;
 2                s.     New York Police Department;
 3                t.     Virginia State Police Department;
 4                u.     Phoenix Police Department Headquarters (Arizona);
 5                v.     Raleigh Police Department (North Carolina); and
 6                w.     Boulder Police Department (Colorado).
 7
 8         94.    These illegally spoofed calling numbers in Avid Telecom’s call traffic,
 9   identified as “Do Not Originate” numbers, were also associated with established private
10   sector entities including Comcast, USAA, Wells Fargo, Apple, Amazon, Experian,
11   American Express, Citi, Bank of America, Mastercard, Visa, Chase, Discover Bank,
12   Microsoft, UPS, FedEx, Best Buy, Walmart, Target, Venmo, First National Bank, Fifth
13   Third Bank, Charles Schwab Corp, Boost Mobile, Verizon, AT&T, Quicken Loans,
14   Coinbase, CenturyLink, eBay, E*TRADE, Groupon, and Merrill Lynch.
15         95.    Industry resources are available to voice service providers from various
16   sources to implement blocking from numbers.
17         96.    Since 2019, Avid Telecom sent and/or routed more than 21.5 billion calls
18   that were made using more than 1.3 billion Caller ID or DID numbers. Of those, more than
19   604.5 million calls were made using more than 155.4 million invalid Caller ID numbers,
20   which means the calling number used to make the call was one that used a combination of
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 1   numbers that are not currently assigned and/or recognized as valid by the North American
 2   Numbering Plan Administrator (“NANPA”).27
 3
 4                 OVERVIEW OF AVID TELECOM’S TRACEBACKS AND
 5                 OTHER THIRD-PARTY NOTICES OF WRONGDOING
 6          97.    In Avid Telecom’s capacity as a provider of interconnected VoIP, it received
 7   Traceback requests from, and communicated with, ITG.
 8          98.    Established in 2015, the ITG is a private collaborative industry group28—
 9   composed of providers across wireline, wireless, VOIP, and cable services—that traces and
10   identifies the sources of illegal robocalls.
11
            99.    The ITG’s traceback operations are managed by a team of employees and
12
     contractors who work daily with industry and government partners to identify sources of
13
     illegal robocalling campaigns.
14
15          100.   Every day, the ITG traces back numerous robocalls, which are representative

16   examples of the most prolific, ongoing, identified and suspected illegal robocall campaigns

17   in the United States, equaling millions of illegal calls targeting U.S. consumers. The ITG

18
     27
        The NANPA is the entity responsible for the neutral administration of the North
19   American Numbering Plan (“NANP”) numbering resources, as designated by the FCC.
20   The NANPA’s responsibilities are defined by the FCC. NANP numbers are ten-digit
     numbers consisting of a three-digit Numbering Plan Area (“NPA”) code, commonly called
21   an area code, followed by a seven-digit local number. The format is usually represented
22   as NPA-NXX-XXXX, where N is any digit from 2 through 9 and X is any digit from 0
     through            9.          See          NANPA,            About            NANPA,
23   https://www.nationalnanpa.com/about_us/index.html.
24   28
        In December 2019, Congress enacted the Pallone-Thune Telephone Robocall Abuse
25   Criminal Enforcement and Deterrence Act (hereinafter “the TRACED Act”) to combat the
     scourge of unlawful robocalls. See Pub. L. No. 116-105, § 13(d), 133 Stat. 3274 (2019).
26   Following its enactment, the FCC designated the ITG as the official private-led traceback
     consortium charged with leading the voice communications industry’s efforts to trace the
27
     origin of suspected illegal robocalls through various communications networks through
28   tracebacks. See 47 C.F.R. § 64.1203.


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 1   provides notice to providers that are implicated in the call path for suspected and known
 2   illegal call traffic. The ITG also shares information from those traceback investigations
 3   with federal and state enforcement agencies, which information supports law enforcement
 4   actions.29
 5
 6
 7
 8                     The remainder of this page is intentionally left blank.

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27   29
         Industry Traceback Group, Working with the Industry Traceback Group,
28   https://tracebacks.org/for-government/.


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 1        101.   Below are examples of two notices ITG sent Avid Telecom:
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21
           102.   The ITG traces back the most prolific or damaging ongoing identified or
22
     suspected illegal robocall campaigns in the United States. This “Traceback” process starts
23
     when the ITG sends a notice to the “terminating provider,” the voice service provider who
24
     delivered the call that is the subject of the Traceback to the call recipient. The notice
25
     contains a recording or description of the identified or suspected illegal robocall and
26
     requests that the terminating provider respond and identify the company which transmitted
27
     the call to that provider. The ITG then sends a notification to the company that sent the
28


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 1   terminating provider the call, and the process repeats until the ITG determines the source
 2   of the call or reaches a company that refuses to respond to the Traceback notification.
 3           103.    Defendants were aware of the ITG Traceback process.
 4
             104.    Other third parties notified Defendants of illegal calls, including calls made
 5
     in violation of statutes and regulations concerning the National DNC Registry and state Do
 6
     Not Call Lists.
 7
 8           105.    The ITG notified Avid Telecom at least 329 times since January 6, 2020,

 9   about identified or suspected illegal calls that transited Avid Telecom’s network.

10           106.    The ITG estimates that each traced call is representative of a large volume of
11   similar illegal calls,30 meaning Avid Telecom has caused vast numbers of scam robocalls
12   to reach US consumers, despite multiple notifications of this identified and suspected
13   illegal call traffic.
14
             107.    Of these 329 representative calls traced back by the ITG, 160 calls were made
15
     to phone numbers on the National DNC Registry.
16
             108.    Based on its Tracebacks, Avid Telecom knew that it routed identified scam
17
     calls, including government imposter, Amazon imposter, Apple imposter, and utility
18
     scams. Avid Telecom also routed many auto warranty, health insurance, and student loan
19
     robocalls.
20
21           109.    The following are some of Avid Telecom’s upstream voice service provider

22   customers and/or retail customers that have routed identified illegal robocalls to Avid

23   Telecom that were the subject of Tracebacks:

24
     30
25      USTelecom, Industry Traceback Group Policies and Procedures, at 5 (revised April
     2022) (ITG Policies & Procedures) (defining “campaign” as “[a] group of calls with
26   identical or nearly identical messaging as determined by the content and calling patterns of
     the caller,” where “[a] single Campaign often represents hundreds of thousands or millions
27
     of calls”), available at https://tracebacks.org/wp-content/uploads/2022/04/ITG-Policies-
28   and-Procedures-Updated-Apr-2022.pdf.


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 1                         Customer                Approx. # of Tracebacks
 2           Airespring                                      4
 3           AllClear Connect                                7
 4           Autelecom LLC                                   21
 5           BestiumPro                                      2
 6           Connexum LLC                                    9
 7           DID Central                                     8
 8           Digital Media Solutions                         39
 9           Great Choice Telecom LLC                        22
10           Great Lakes Communication                       24
11           Icon Global Services                            8
12           JSquared / RPG / Rising Eagle                   19
13           Mobi Telecom LLC                                75
14
             Modok                                           1
15
             NGL Communications LLC                          3
16
             Red Telecom LLC                                 2
17
             StrategicIT                                     1
18
             TCA VoIP                                        1
19
             Telcast Network / Voovertel                     4
20
             Telesero / Fiducia                              7
21
             Tellza / Phonetime / Matchcom                   2
22
             Third Rock Telecom                              2
23
             TouchTone                                       2
24
             Trixcom / Vibtree Technologies, LLC             8
25
             Urth Access, LLC                                12
26
             VOIP Terminator / BL Marketing                  6
27
             Yodel Technologies / Yodel Voice                8
28


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 1          110.   Of the providers from which Avid Telecom accepted and routed identified
 2   and known illegal robocalls, the FCC has sent Robocall Cease-and-Desist Letters which
 3   are publicly available to the following Avid customers:
 4                 a.     Airespring;
 5                 b.     Great Choice Telecom;
 6                 c.     Icon Global;
 7                 d.     Mobi Telecom;
 8                 e.     Third Rock;
 9                 f.     Yodel Tech; and
10                 g.     Urth Access.
11          111.   Further, on June 9, 2020, the FCC brought an enforcement action against
12   Avid Telecom’s customer John Spiller and JSquared Telecom LLC, which ultimately
13   resulted in a record $225 million fine issued in March 2021.31
14
            112.   Also on June 9, 2020, eight states—Arkansas, Indiana, Michigan, Missouri,
15
     North Carolina, North Dakota,32 Ohio, and Texas—sued John Spiller, JSquared Telecom
16
     LLC, and several other related entities.33
17
18          113.   Defendants knew about the Cease-and-Desist Letters sent to its customers,

19   knew about the FCC’s enforcement action against John Spiller and JSquared Telecom

20
21
22   31
        See FCC Proposes Record $225 Million Fine for 1 Billion Spoofed Robocalls, FCC,
23   (June 10, 2022), https://www.fcc.gov/document/fcc-proposes-record-225-million-fine-1-
     billion-spoofed-robocalls-0; FCC Fines Telemarketer $225 Million for Spoofed Robocalls,
24   FCC (March 21, 2021), https://www.fcc.gov/document/fcc-fines-telemarketer-225-
25   million-spoofed-robocalls.
     32
26    The State of North Dakota was added as a plaintiff in the Rising Eagle case in the First
     Amended Complaint filed on August, 28, 2020.
27   33
       State of Texas et al. v. Rising Eagle Capital Group LLC et al., 4:20-cv-02021 (S.D.TX
28   2020).


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 1   LLC, and knew about the States’ lawsuit filed against its customer John Spiller and
 2   JSquared Telecom LLC, and several other related entities.
 3          114.    On April 19, 2021, the State of Vermont and StrategicIT—another of Avid
 4   Telecom’s customers—entered into an Assurance of Discontinuance because of
 5   StrategicIT’s illegal robocall traffic.34
 6
            115.    On March 18, 2022, the State of Vermont brought an action against TCA
 7
     VoIP—another of Avid Telecom’s customers—alleging that it knowingly facilitated illegal
 8
     robocalls.35
 9
10          116.    On April 26, 2022, the FTC brought a case against VoIP Terminator, Inc.—

11   another of Avid Telecom’s customers—for "assisting and facilitating the transmission of

12   millions of illegal prerecorded telemarketing robocalls, including those they knew or

13   should have known were scams, to consumers nationwide.”36

14          117.    On July 7, 2022, the FCC37 and the State of Ohio38 took simultaneous
15   enforcement actions against a massive auto warranty robocall operation run by recidivist
16
17
18
19
     34
20      The Assurance can be found here: https://ago.vermont.gov/sites/ago/files/wp-
     content/uploads/2021/04/Executed-AOD-SITP.pdf.
21   35
        State of Vermont v. Dominic Bohnett, et al., 5:22-cv-00069 (D.C.V. Mar. 18, 2022)
22   https://ago.vermont.gov/sites/ago/files/wp-content/uploads/2022/03/TCA-VOIP-
     Complaint.pdf.
23
     36
          VoIP Terminator, Inc., FTC (Apr. 26, 2022), https://www.ftc.gov/legal-
24   library/browse/cases-proceedings/1923189-voip-terminator-inc-us-v.
25   37
       FCC Takes Actions Against Auto Warranty Scam Robocall Campaign FCC (July 7,
26   2022),     https://www.fcc.gov/document/fcc-takes-actions-against-auto-warranty-scam-
     robocall-campaign.
27   38
      State of Ohio, ex rel Attorney General Yost v. Aaron Michael Jones, et al., U.S. District
28   Court S.D. OH, Case No. 2:22-CV-2700 (July 7, 2022).


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 1   robocallers, Aaron Michael Jones39 (“Jones”) and Roy M. Cox, Jr.40 (“Cox”). Jones and
 2   Cox operated through a common enterprise involving numerous individuals and business
 3   entities including but not limited to, Sumco Panama SA, Sumco Panama USA, Virtual
 4   Telecom Kft, Virtual Telecom Inc., Davis Telecom Inc., Geist Telecom LLC, Fugle
 5   Telecom LLC, Tech Direct LLC, Mobi Telecom LLC—another of Avid Telecom’s
 6   customers—and Posting Express Inc. (collectively, “Sumco” or “Sumco Enterprise”).
 7            118.   On December 23, 2022, the FCC subsequently issued a Notice of Apparent
 8   Liability against certain individuals and entities involved in the Sumco Enterprise robocall
 9   operation, proposing a $299,997,000 fine.41
10
              119.   On September 12 and 13, 2022, Avid Telecom received nine Tracebacks
11
     concerning another of its customers, Urth Access, for transmitting Student Loan robocalls.
12
     Three of the robocalls42 were made to phone numbers on the National DNC Registry.
13
14            120.   On or around September 19, 2022, almost one week after receiving the ITG

15   notices concerning Urth Access, Reeves reached out to ITG about these Tracebacks.

16            121.   A representative from ITG wrote back to Reeves:
17                   Thanks Stacey. Is your question about the tracebacks in light of the
                     originating provider claiming its customer has consent for the calls?
18
                     If so, I think there’s a few things worth flagging and that we can share.
19                   As an initial matter, we only trace (and keep tracing) these types of
                     lead generation campaigns when we have reason to believe the
20
21   39
       See, FTC v. Aaron Michael Jones, No. 8:17-cv-00058 (C.D. Cal); FTC v. Pointbreak
22   Media, LLC, No. 0:18-cv-61017 (S.D. Fla.); State of Texas v. SCM Media, Inc, No. A-09-
     cv-387 (W.D. Tex); See, FTC v. Aaron Michael Jones, No. 8:17-cv-00058 (C.D. Cal);
23
     State of Texas v. SCM Media, Inc, No. A-09-cv-387 (W.D. Tex).
24   40
          See United States v. Cox, No. 8:11-cv-01910 (C.D. Cal.).
25   41
       See FCC Proposes Nearly $300M Fine Against Auto Warranty Scam Robocaller, FCC,
26   (Dec. 23, 2022), https://www.fcc.gov/document/fcc-proposes-nearly-300m-fine-against-
     auto-warranty-scam-robocaller.
27   42
             A       recording     of     the      robocall    can          be      heard        here:
28   https://portal.tracebacks.org/api/public/attachments/1033499.


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 1              campaign is in violation of telemarketing laws. This includes
                evidence that calls into question whether there is valid consent, such
 2              as examples of the calls hitting honeypots at high volume (where no
                person could consent to the call) and data that the campaign is at such
 3
                high volume that it calls into question whether there is in fact valid
 4              consent. Indeed, Federal Trade Commission officials have made clear
                that exceptionally high volume is a reason to question valid consent
 5              to receive telephone solicitations that are part of a prerecorded
 6              telemarketing campaign.
 7              In this case, there are several additional issues with the campaign,
 8              including with the content of the call. First, the recording fails entirely
                to provide a toll free call back number as required by 47 C.F.R. §
 9              64.1200(b)(3) of the Federal Communications Commission’s rules.
10              Second, the robocall identifies the Student Loan Forgiveness Center
                as the caller. A simple internet search does not yield a website for a
11              “Student Loan Forgiveness Center.” To the extent such business
12              exists, it appears unlikely based on its lack of internet presence that it
                has the scale and scope to have valid consent to be making hundreds
13              of thousands of these calls per day. Indeed, the only information an
14              internet search yields is complaints about the unwanted calls and
                suggestions it’s a scam. See https://www.yelp.com/biz/student-loan-
15              forgiveness-center-irvine.
16
                Other information yielded in the traceback raised more red flags. (We
17              are working on ways to responsibly unleash more of this information
                to the provider ecosystem, but for now note that nothing precludes a
18              provider from requesting from its upstream provider this type of
19              information, including what the provider’s response to the ITG.)
                Most notably, while the originating provider claimed the caller had
20              consent, the purported caller was not the “Student Loan Forgiveness
21              Center” nor even in the financial sector. The caller instead was
                reportedly in the health sector, and the consent was purportedly
22              provided on a page about health insurance. The fine print buried on a
23              separate page suggests that by giving them your number, you are
                consenting to receiving telemarketing calls from over 10,000 entities,
24              including numerous that themselves are lead generators. This is not
25              consistent with the Federal Trade Commission’s requirements under
                the Telemarketing Sales Rule nor the Federal Communications
26              Commission’s requirements under the Telephone Consumer
27              Protection Act. I hope this helps if you had questions about the
                campaign and the claims of consent. To the extent it was something
28


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 1                 else regarding those tracebacks, please let us know and we can set up
                   a call to discuss.
 2
            122.   Avid Telecom continued sending Urth Access’s traffic after this notification
 3
     from ITG and received yet another Traceback regarding a student loan robocall from Urth
 4
     Access on October 26, 2022.
 5
            123.   Avid Telecom allowed Urth Access to submit payment for services using
 6
     bank accounts held in names of one or more other business entities.
 7
 8          124.   On November 10, 2022, the FCC issued a robocall cease-and-desist letter to

 9   Avid Telecom’s customer Urth Access.43

10          125.   On December 8, 2022, the FCC ordered VoIP service providers, including
11   Avid Telecom, to block student loan robocalls coming from Urth Access.44
12
            126.   In another example, Avid Telecom provided ITG with problematic evidence
13
     of consent for several of its Tracebacks.
14
            127.   In response to a July 2021 Traceback, Avid Telecom responded, “We have
15
     notified the customer and have asked that they provide response. Until we have complete
16
     understanding, we have taken steps to block the dialed number. We will update once we
17
     have their response.”
18
19          128.   On July 23, 2021, Avid Telecom wrote to the ITG: “We have had additional

20   conversations with our customer.      They are performing an internal investigation to

21   determine why these numbers were provided to them as valid numbers. We will update

22   with more detailed information as soon as we have it.”

23
24
25   43
        FCC Issues Robocall Cease-and-Desist Letter to Urth Access, FCC (Nov. 10, 2022),
26   https://www.fcc.gov/document/fcc-issues-robocall-cease-and-desist-letter-urth-access.
     44
       FCC Orders Voice Service Providers to Block Student Loan Robocalls, FCC (Dec. 8,
27
     2022), https://www.fcc.gov/document/fcc-orders-voice-service-providers-block-student-
28   loan-robocalls.


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 1          129.   In response to a December 3, 2021, Traceback for the same customer, Avid
 2   Telecom wrote to the ITG: “Based on information we have, calling party calls based only
 3   on valid permission. We have requested the ‘Opt In’ and will provide once received.
 4   Please confirm issue with recording - recording states that called party qualifies for a no
 5   cost insurance analysis.”
 6          130.   This Traceback was for a Medicare rewards related call.
 7
            131.   On December 10, 2021, Avid Telecom responded with “proof” of a
 8
     consumer’s consent or “opt-in” information that was said to be obtained from either super-
 9
     sweepstakes.com or shareyourfreebies.com.
10
11          132.   Neither of these websites are related to Medicare, health insurance, or

12   medicine.

13          133.   Further, the alleged consent for the December 3, 2021 Traceback was for an
14   out-of-service number assigned to a large voice communications provider. The owner of
15   the number would not and could not have consented to the call, as it was part of the voice
16   service provider’s robocall tracking program. No end user was assigned to the phone
17   number that could have provided consent.
18
            134.   For a similar Medicare call on December 10, 2021, Avid Telecom provided
19
     “proof” of a consumer’s consent or “opt-in” information that was said to have been given
20
     on January 24, 2019 through a website of https://www.flashrewards.co/default.aspx.
21
            135.   This website is not related to Medicare, health insurance, or medicine.
22
23          136.   Again, the alleged consent for the December 10 call was for an out-of-service

24   number assigned to a large voice service provider. The owner of the number would not

25   have consented to the call, as it was part of the voice service provider’s robocall tracking

26   program.

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 1          137.   Between September 19 and September 21, 2022, Avid Telecom provided
 2   ITG with screenshots of websites that had purportedly obtained consent from the
 3   consumers called.
 4          138.   For a call related to Social Security Disability Consultant, Reeves provided
 5   this screenshot as proof of consent:
 6
 7
 8
 9
10
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19
20          139.   A      recording     of     the      call    can      be     found      here:
21   https://portal.tracebacks.org/api/public/attachments/1041845.
22
            140.   The robocall was regarding disability benefits. It was a solicitation for
23
     products or services and had nothing to do with nursing jobs in Las Vegas, Nevada.
24
25          141.   The robocall failed to announce the name of the seller on behalf the robocall

26   was being made.

27          142.   This is a clear violation of the TSR, and Defendants were on notice that their
28   customer was violating the TSR.


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 1          143.   The website purports to be for nursing jobs in Las Vegas, Nevada and not
 2   calls about disability benefits, and was not legitimate or actual proof of consent from a
 3   consumer to receive the call that was the subject of the Traceback.
 4          144.   Further, the grant of consent is to thousands of potential calling entities,
 5   which could and should have alerted Defendants their customer lacked proper consent to
 6   make these robocalls.
 7
            145.   For another call regarding Social Security Disability Consultant, Reeves
 8
     provided this screenshot as proof of consent:
 9
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23          146.   A     recording      of     the     call     can        be   found     here:

24   https://portal.tracebacks.org/api/public/attachments/1041847.

25          147.   The robocall was regarding disability benefits. It was a solicitation for
26   products or services.
27
28


                                                 48
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 1         148.   The robocall failed to announce the name of the seller on behalf the robocall
 2   was being made.
 3         149.   This is a clear violation of the TSR, and Defendants were on notice that their
 4   customer was violating the TSR.
 5
           150.   This consent form purports to give thousands of different people or entities
 6
     consent to call the consumer, which should have alerted Defendants their customer lacked
 7
     proper consent to make these robocalls.
 8
 9         151.   For an auto warranty call, Reeves provided this screenshot:

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 1          152.   A     recording     of     the        robocall   can   be     found     here:
 2   https://portal.tracebacks.org/api/public/attachments/1043172.
 3          153.   The robocall was regarding auto warranties. It was a solicitation for products
 4   or services and had nothing to do with nursing jobs in Nevada.
 5          154.   The robocall failed to announce the name of the seller on behalf the robocall
 6   was being made.
 7          155.   This is a clear violation of the TSR, and Defendants were on notice that their
 8   customer was violating the TSR.
 9          156.   The website purports to be for nursing jobs in Nevada and not information
10   about auto warranties or auto warranty calls, and was not legitimate or actual proof of
11   consent from a consumer to receive the call that was the subject of the Traceback
12          157.   Further, the grant of consent is to thousands of potential calling entities,
13   which should have alerted Defendants their customer lacked proper consent to make these
14   robocalls.
15
16
17                     The remainder of this page is intentionally left blank.
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 1         158.   For another auto warranty call, Reeves provided this screenshot:
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22
           159.   A     recording     of     the        robocall   can   be     found     here:
23
     https://portal.tracebacks.org/api/public/attachments/1043174.
24
           160.   The robocall was regarding auto warranties. It was a solicitation for products
25
     or services and had nothing to do with free sample products.
26
           161.    The robocall failed to announce the name of the seller on behalf the robocall
27
     was being made.
28


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 1          162.   This is a clear violation of the TSR, and Defendants were on notice that their
 2   customer was violating the TSR.
 3          163.   The website purports to be for trying free products and not information about
 4   auto warranties or auto warranty calls and was not legitimate or actual proof of consent
 5   from a consumer to receive the call that was the subject of the Traceback.
 6          164.   Further, the grant of consent is to thousands of potential calling entities,
 7   which should have alerted Defendants their customer lacked proper consent to make these
 8   robocalls.
 9          165.   For another auto warranty call, Reeves provided this screenshot:
10
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26          166.   A     recording     of     the        robocall   can   be      found    here:
27   https://portal.tracebacks.org/api/public/attachments/1043262.
28


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 1          167.   The robocall was regarding auto warranties. It was a solicitation for products
 2   or services and had nothing to do with mortgages or refinances.
 3          168.   The robocall failed to announce the name of the seller on behalf the robocall
 4   was being made.
 5          169.   This is a clear violation of the TSR, and Defendants were on notice that their
 6   customer was violating the TSR.
 7          170.   The website purports to be for refinance programs or mortgage programs and
 8   not information about auto warranties or auto warranty calls and was not legitimate or
 9   actual proof of consent from a consumer to receive the call that was the subject of the
10   Traceback.
11          171.   Further, the grant of consent is to thousands of potential calling entities,
12   which should have alerted Defendants their customer lacked proper consent to make these
13   robocalls.
14          172.   For all these robocalls, Avid Telecom knew or should have known its
15   customer did not have valid consent to make these robocalls.
16          173.   All these notices and the obvious lack of consent make clear that this call
17   traffic was part of one or more illegal robocall schemes.
18          174.   On March 10, 2023, Reeves responded to another Traceback—
19   ITG Traceback No. 12443—with evidence of alleged consent, and further stated:
20   “Although customer has valid opt-in as shown above, they have added the number to their
21   global do not call list in order to resolve this consumer complaint.”
22          175.   An ITG representative responded as follows:
23
                   Avid: This traceback is based on a referral where a consumer
24                 complained that the consumer received the call multiple times from
                   several numbers but had never opted in to it. Please also note that
25
                   email address you provided is invalid, which may indicate that the
26                 opt-in was not valid. In addition, note that the IP address is a different
                   geographic location from the consumer's address. For all of these
27
                   reasons, the ITG continues to have a reasonable basis to suspect that
28                 this call and others in the same campaign are unlawful. As a result,


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 1                the ITG will not mark this traceback as Strike Exempt and may
                  continue to trace back the same campaign.
 2
                  The ITG will, however, keep a record of this and any other
 3
                  communications, which will be made available to any law
 4                enforcement or regulatory agency that makes a lawful demand for
                  information that includes this traceback.
 5
 6
           176.   On March 10, 2023, Reeves also responded to ITG Traceback No. 12480 as
 7
     follows: “Although customer has valid opt-in for the call, the number has been added to
 8
     their global do not call list in order to fully resolve the consumer complaint. The number
 9
     has also been blocked in Avid's switch.”
10
           177.   An ITG representative responded as follows:
11
12                Avid: The traceback is based on a referral where the consumer the
                  robocall several times per day from different numbers, without ever
13                opting in. The consumer also asked to be added to the caller's do-not-
14                call list to no avail. We also are aware of numerous other complaints
                  regarding the same calling campaign with similar allegations. Further,
15                the ITG has many other examples of the same campaign, including
                  reach numbers for which the ITG has evidence that no consent was
16
                  provided.
17
                  Finally, please note that the website you provided includes hundreds
18
                  of entities in a second hyperlink, which may not be consistent with
19                regulators' expectations for consent. The website also indicates that
                  the consumer is providing consent for a loan quote, but the call is
20                regarding disability benefits.
21
                  For these reasons, the ITG continues to have a reasonable basis to
22                suspect that the call and others in the campaign are unlawful. As a
23                result, the ITG will not mark the traceback as Strike Exempt, and may
                  continue to trace back the campaign.
24
25                Please note, however, that a record of this and all other
                  communications will be maintained and will be provided to a law
26                enforcement or regulatory agency that makes a lawful demand for
27                information that includes this traceback.

28


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 1
 2            178.   Upon information and belief, Avid Telecom continues to route this

 3   customer's robocalls.

 4
           Illustrative Examples of Direct Downstream Provider Notices to Defendants
 5
                                     About Illegal Robocall Traffic
 6
 7
              179.   Further, Defendants were on notice from downstream providers that their
 8
     customers were sending identified and suspected illegal traffic, which included illegal
 9
     robocalls. The examples below are a small sample of notices sent to Defendants.
10
11
                                 Notices from Talkie Communications
12
13
              180.   On March 3, 2020, Talkie Communications (“Talkie”) notified, via email,
14
     Avid Telecom that Avid was sending “toll free pumping / spoofing” calls.
15
              181.   Avid Telecom responded to this notice: “The ORIG number was blocked,
16
     and the upstream carrier was notified.”
17
              182.   On March 11, 2020, Talkie notified, via email, Avid Telecom that Talkie had
18
     received several complaints Avid Telecom was sending a “Google business verification
19
     scam.”
20
              183.   Avid Telecom responded to this scam notice: “The ORIG number was
21
     blocked, and the upstream carrier was notified.”
22
23
                                      Notices from Red Telecom
24
25            184.   On April 15, 2020, a Red Telecom, LLC employee Skype messaged Lansky
26   that he was “sending a TON” of spoofed Social Security scam calls.
27
28


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 1          185.   On January 31, 2022, in a Skype chat, Reeves notified Red Telecom that
 2   “I’ve blocked Vermont.”
 3          186.   Upon information and belief, Defendants intentionally blocked or stopped
 4   some telephone calls being routed to the State of Vermont.
 5          187.   An analysis of Avid Telecom’s CDRs show that Avid Telecom routed a
 6   minimal amount of call traffic to Vermont’s area code of 802 from January 30, 2022 to
 7   April 24, 2022.
 8          188.   Specifically blocking robocall traffic to an area code is another indication
 9   Defendants knew their traffic was illegal and likely to draw an investigation by the
10   Vermont Attorney General.
11          189.   On March 25, 2022, in a Skype chat, Reeves notified Red Telecom, “Most
12   of my high short duration traffic will now be coming to you signed with an A.”
13          190.   On May 5, 2022, in a Skype chat, when discussing a third-party call blocking
14   feature, Reeves wrote to Red Telecom that she was turning it off for some customers.
15          191.   On July 11, 2022, in a Skype chat, Red Telecom notified Reeves of a
16   Traceback, regarding calls impersonating Amazon.
17          192.   Reeves responded: “Nice- just perfect.”
18          193.   On July 21, 2022, in a Skype chat, Red Telecom notified Reeves of the FCC
19   enforcement action against Sumco Panama.
20          194.   Reeves responded: “I just saw that.”
21          195.   On October 5, 2022, in a Skype chat, Reeves described to Red Telecom that
22   one of Avid Telecom’s customers was a “turn key solution for call centers.”
23          196.   On October 11, 2022, in a Skype chat, Reeves, regarding a third-party
24   provider’s honeypots, wrote to Red Telecom: “and now I know what his honeypot AI
25   sounds like. At least for now because I’m sure he will change it.”
26          197.   On December 9, 2022, in a Skype chat, Red Telecom inquired about Avid
27   Telecom’s lower traffic, Reeves responded: “Many insurance campaigns are over,. (sic) so
28   this may be the volume through the end of the year.”


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 1          198.   On January 3, 2023, in a Skype chat, Red Telecom followed up on why the
 2   traffic was still slow. Reeves responded: “they’ve slowed down their dialing. New
 3   campaigns won’t start until mid Jan.”
 4
 5                                       Notices from Verizon
 6
 7          199.   On December 16, 2020, Verizon sent Lansky a letter regarding the “very
 8   large volume of” robocalls Avid Telecom was routing to Verizon.
 9          200.   On December 16, 2020, Lansky responded: “I have asked that our VP of
10   Operations quickly and thoroughly review our traffic to Verizon and make adjustments as
11   necessary to remove as much of this traffic as possible, as quickly as possible. We
12   understand the problematic issues that this type of traffic produces and clearly are willing
13   to work with Verizon to do everything possible to mitigate this traffic altogether.”
14          201.   On January 20, 2021, Verizon notified Lansky that Verizon was shutting off
15   Avid Telecom’s traffic because of “unacceptable levels of illegal or unwanted robocalls.”
16          202.   Lansky responded: “We of course have not been sending you any traffic as
17   your pricing has not been winning any. We term over 10 million mins a day of voice traffic
18   with Verizon winning only a few dollars of it. We again as mentioned, can send you more
19   and better traffic if the pricing was better.”
20
21                                        Notices from Call48
22
23          203.   On September 13, 2021, Call48 notified Avid Telecom of a “high volume of

24   SPAM calls” regarding auto warranty messages.

25          204.   Reeves responded: “These calls are not considered spam. Our customer has

26   Opt-Ins for their calls, and, as you know, uses valid ANI’s.”

27
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 1           205.    On October 19, 2021, Call48 notified Reeves of auto warranty robocalls
 2   being sent to someone whose number had been listed on the National DNC Registry since
 3   2006.
 4           206.    Reeves responded: “We have blocked the destination number on Avid’s
 5   network and have requested the number be removed from the customer call list.”
 6           207.    On November 1, 2021, Call48 notified Avid Telecom of robocalls from
 7   “Senior Aid Helper” to someone who was on the National DNC Registry.
 8           208.    Reeves responded: “We have blocked the destination number . . . on Avid’s
 9   switch and have requested that our customer remove the number from their call list.”
10           209.    On November 8, 2021, Call48 notified Avid Telecom of unwanted calls to a
11   phone number on the National DNC Registry.
12           210.    Reeves responded: “We have blocked the destination number on Avid’s
13   switch and have requested that our customer remove the number from their call list.”
14           211.    Reeves further responded: “To further confirm, our customer complies with
15   TCPA guidelines. Calls are made based on Opt Ins only.”
16           212.    On January 21, 2022, Call48 notified Lansky and Reeves that: “My guys are
17   complaining that you are sending his dialer traffic down 2 of the 3 conversational trunks
18   again and they are at risk of being shut down for good. Can you do what you can to clean
19   this up and get them off my back?”
20           213.    On January 25, 2022, Call48 followed up that they were shutting down the
21   route because the stats were too bad.
22           214.    On May 18, 2022, Call48 notified Avid Telecom that an individual was
23   receiving robocalls from the “vehicle service center” despite not consenting to the calls or
24   owning a car.
25           215.    Reeves responded: “We have blocked the terminating number from Avid’s
26   network and have required that our customer remove the number from all call lists.”
27
28


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 1          216.   On June 16, 2022, Call48 notified Avid Telecom of a complaint regarding
 2   auto warranty calls going to someone who was on the National DNC Registry. The
 3   complainant asked for more information about the owner of the calling phone number.
 4          217.   Reeves responded: “The destination number has been blocked in Avid’s
 5   switch, and we have required our customer to remove the destination number from all
 6   dialing campaigns and block the number in their switch so the number is not included in
 7   future campaigns. As a note, our customer uses valid permission to dial. Also, per
 8   regulatory requirements and contractual requirements, we do not share customer
 9   information with a corresponding subpoena.”
10          218.   On August 20, 2022, Call48 notified Avid Telecom unwanted car warranty
11   calls, specifically that the caller does not honor the National DNC Registry. The alleged
12   calls were sent through Avid Telecom on August 15, 2022. Call48 followed up on this
13   notification several times.
14          219.   On August 30, 2022, Reeves eventually responded that “customer who sent
15   the call to Avid’s network has been terminated.”
16
17                                  Notices from Dorial Telecom
18
19          220.   On October 12, 2020, Dorial Telecom (“Dorial”) notified Avid Telecom and
20   Lansky of Social Security Fraud traffic. The email included recordings of the illegal
21   robocalls.
22          221.   One recording stated: “Hello, this call is from the Social Security
23   Administration. The reason for this call is to inform you that your Social Security Number
24   is suspended and there is an arrest warrant in your name. Please press one to talk to a Social
25   Security Administration officer and know more about the case.”
26          222.   A second recording stated: “This is an important notice from the Social
27   Security Administration. The reason you have received this notice from our department
28   because we have found some suspicious and fraudulent activities under your Social


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 1   Security Number and we are going to suspend the IP. So if you want to know about this
 2   and talk to our representative, please press one. I repeat, press one to connect.”
 3          223.    On October 8, 2021, Dorial notified Avid Telecom that Dorial’s downstream
 4   provider was complaining about auto warranty traffic.
 5          224.    Reeves responded: “The traffic is not fraud. Our customer had opt-ins and
 6   uses valid ANI’s for terminating traffic. We have removed you from our routing.”
 7          225.    On November 3, 2021, Dorial notified Avid Telecom that:
 8
                    You sent us 34415 disconnected number calls and these are the ones
 9                  we had in our database, there where (sic) many more. We cannot
                    assign you ports and misuse them for disconnected number calling
10
                    customers. . . .
11
                    You sent us 9406 calls with unallocated ANI’s, this is real fraud
12
                    traffic, we do not want this traffic.
13
14          226.    On June 14, 2022, Dorial notified Reeves that: “Based on the excel sheet for
15   the new/second trunk, that traffic has an SDP over 80% and an ACD of less than 10 sec. I
16   don’t know what they are doing but I don’t think that we are interested in terminating that
17   kind of traffic."
18          227.    Reeves responded: “Understood.”
19          228.    Further, on August 17, 2022, Dorial’s COO emailed Reeves asking why Avid
20   Telecom’s traffic was low.
21          229.    On August 18, 2022, Reeves responded: “the majority of our traffic is high
22   SD, low ACD traffic.”
23          230.    Dorial’s COO then asked how the traffic level was on Avid Telecom’s side.
24          231.    Reeves responded: “We saw a decline with that 2nd FCC order regarding the
25   auto warranty companies. Given the amount there was in the marketplace, I’m not surprised
26   it effected (sic) traffic.”
27          232.    The companies in the referenced FCC order were discussed above and direct
28   customers of Avid Telecom.


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 1                                 Notices from Telco Connection
 2
 3          233.   On March 31, 2022, Telco Connection notified Avid Telecom of “IRS

 4   impersonation calls/spoofing.”

 5          234.   Avid Telecom responded: “We have blocked the ANI and notified the

 6   originating carrier customers of the issue.”

 7          235.   On August 4, 2022, Telco Connection notified Avid Telecom of “IRS

 8   impersonation calls/spoofing.”

 9          236.   Avid Telecom responded: “We have blocked the ANI and notified the

10   appropriate customer.”

11
12                               Notices from All Access Telecom
13
14          237.   On April 26, 2021, All Access Telecom notified Lansky and Reeves that:

15   “Please be advised, due to the recent multiple tickets received, All Access Telecom is

16   requesting Avid Telecom to remove customers from routing that are related to the

17   AutoWarrantyExtend US Telecom tracebacks effective ASAP.” All Access Telecom

18   followed up two days later to alert Lansky and Reeves that the traffic had to be stopped.

19          238.   On April 28, 2021, Lansky responded: “I believe we have already moved it

20   this morning.”

21          239.   On August 24, 2021, All Access Telecom notified Avid Telecom of

22   “Medicare scam” traffic.

23
24                                 Notices from Peerless Network

25
            240.   On March 3, 2020, Peerless Network notified Avid Telecom that: “the
26
     following TNs Peerless assigned to your company are experiencing high levels of
27
     complaints tied to the FTC DNC and IRS complaints.”
28


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 1          241.    On May 21, 2021, Peerless Network notified Avid Telecom that Peerless had
 2   “been made aware of an issue from one our downstream vendors and we need you guys to
 3   reach out to your end use that is sending these call to stop sending the calls (Auto Warranty
 4   scam).”
 5          242.    Reeves responded: “What is exactly the issue with the traffic?”
 6          243.    To which, Peerless Network responded:
 7
                    Multiple carriers of ours have complained that the calls are for Car
 8                  Warranty scams. I have instructed the NOC to immediately block until
                    the issue can be resolved.
 9
10                  hi this is Katie and Im giving you a call from the dealer service center
                    we recently noticed your card extended warranty was going to expire
11
                    and wanted to give you one final courtesy call before your warranty
12                  expires and your coverage is voided this would make you financially
                    responsible for all Service Repairs press 1 now if you wish to extend
13                  or reinstate your cars warranty once again press one now or press 2 to
14                  be placed on a Do Not Call List you can also call 833-3041 for….
15
            244.    On May 21, 2021, Lansky then responded: “We have blocked that customers
16
     (sic) traffic to you.”
17
            245.    After May 21, 2021, Avid Telecom received 53 Tracebacks from ITG
18
     regarding Auto Warranty robocall traffic.
19
            246.    On June 7, 2021, Peerless Network provided a list of FTC complaints related
20
     to DIDs Avid Telecom was renting or owning.
21
            247.    On June 9, 2021, Peerless Network notified Avid Telecom of unwanted calls
22
     to someone on the National DNC Registry. The complainant specifically requested “I need
23
     to know who the carrier is and the business associated with these calls.”
24
            248.    Lansky responded: “As I understand, per APNI laws, rules and regulations
25
     until they have a subpoena, you nor Avid can release any records to an individual or
26
     organization.”
27
28


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 1            249.   On June 11, 2021, Reeves responded: “DIDs are being used by a publicly
 2   traded company in compliance with all regulations.”
 3
 4                                      Notices from Inteliquent
 5
 6            250.   On June 26, 2020, Inteliquent45 notified Avid Telecom of auto warranty
 7   robocalls being routed by Avid Telecom.
 8            251.   On March 3, 2021, Inteliquent notified Avid Telecom of more auto warranty
 9   robocalls.
10            252.   On March 4, 2021, Reeves responded: “Customer has Opt Ins for all calls,
11   however, we have blocked the terminating number.”
12            253.   Inteliquent then asked if the opt ins could be passed along to the complainant.
13            254.   Reeves responded: “I do not have access to the Opt In.”
14            255.   On April 14, 2021, Inteliquent notified Avid Telecom of more auto warranty
15   robocalls.
16            256.   On April 14, 2021, Reeves responded: “Avid takes these issues and the
17   vetting of our customers very seriously. We have notified our customer of the complaint
18   and have asked that they investigate. We have also taken steps to block the ANI from
19   terminating via Avid's network.”
20            257.   On May 11, 2021, Inteliquent notified Avid Telecom of more auto warranty
21   robocalls.
22            258.   On June 8, 2021, Inteliquent notified Avid Telecom of more auto warranty
23   robocalls.
24            259.   On June 9, 2021, Avid Telecom responded: “Based on information Avid has
25   received, Customer is compliant with all requests for Opt Ins and follows guidelines with
26   regard to dialing. We have, however, blocked the listed ANI's from Inteliquent's network.”
27
     45
28        In 2021, Inteliquent was acquired by Sinch.


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 1          260.     On June 15, 2021, Inteliquent notified Avid Telecom of more auto warranty
 2   robocalls.
 3          261.     On June 15, 2021, Reeves responded: “Customer is compliant with
 4   regulations.”
 5          262.     Inteliquent responded: “You should take another look at this. We are working
 6   directly with Verizon and their honeypot captures and those are numbers that could, in no
 7   way, be opted in to receive anything.”
 8          263.     On June 15, 2021, Inteliquent sent Avid Telecom a warning letter regarding
 9   Avid Telecom’s traffic. The letter stated, in part:
10
                     Inteliquent’s systems and processes have flagged your account as
11                   potentially carrying fraudulent robocalling traffic. In the past several
                     months, we have received complaints that calls originating from your
12
                     account have been used for scams and other wrongful purposes. As
13                   you know, impermissible robocalling violates the Federal
                     Communications Commission’s rules as well as other federal and
14
                     state laws.
15
                     We are sending you this notice to demand that you investigate,
16                   actively participate in any traceback or other investigation, and cease
17                   originating any traffic that may be unlawful.
18
            264.     Lansky responded: “Understood and we take these issues incredibly serious.
19
     We have notified this customer of the issues and are working with them as we do with
20
     customers to help them mitigate this from our network and to keep all traffic within the
21
     acceptable regulatory guidelines.”
22
            265.     One month later, on July 13, 2021, Inteliquent emailed Lansky and Reeves,
23
     stating: “It has been nearly a month since this initial warning was sent and we have not
24
     seen improvement[.]”
25
            266.     On July 13, 2021, Reeves responded: “I've made the final changes to remove
26
     a couple of problematic customers. We've also taken steps to notify the problematic carriers
27
     of the issues, but, again, the traffic has been removed from Inteliquent.”
28


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 1          267.    On July 22, 2021, Inteliquent notified Reeves and Lansky: “Also, we have
 2   been receiving quite a few auto-warranty scam complaints and as we've sent them out to
 3   our customers the traceback has come back as a few points they are receiving those from,
 4   but you are one of them. I've had to turn a few customers down for these and hope we
 5   don't get there with AVID, can you please share some details with me on what you are
 6   doing to get these off your network?”
 7          268.    On July 23, 2021, Reeves responded: “As to the warranty traffic, we are
 8   continually working to remove this traffic from our network. We have been able to identify
 9   most of our customers who are sending the traffic, but, as you know, it continues to pop up
10   from other sources.”
11          269.    Nevertheless, Defendants knowingly continued to route auto-warranty
12   robocall traffic.
13          270.    On September 21, 2021, Inteliquent notified Avid Telecom of auto warranty
14   robocall traffic.
15          271.    On April 11, 2022, Inteliquent sent Avid Telecom a Know-Your-Customer
16   Notice because Avid Telecom’s traffic was problematic. Further, Inteliquent notified
17   Defendants that their traffic was hitting a large number of honeypots.
18          272.    Reeves replied: “We are reviewing the stats and had already resolved the SD
19   issues on both trunks. I have now removed the low ASR traffic from the SD trunk and will
20   monitor tomorrow to ensure the guidelines are met.”
21          273.    On July 30, 2022, Inteliquent sent Avid Telecom another Know-Your-
22   Customer Notice because Avid Telecom’s traffic was problematic. Further, Inteliquent
23   notified Defendants that their traffic was hitting a large number of honeypots.
24          274.    On September 27, 2022, Inteliquent sent Avid Telecom another Know-Your-
25   Customer Notice because Avid Telecom’s traffic was problematic.
26          275.    Specifically, Inteliquent stated: “For your traffic, specific concern would be
27   the spike in Tracebacks this month. Can you please take a look and advise?”
28          276.    Inteliquent counted five Avid Telecom Tracebacks.


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 1             277.   In September of 2022, Avid Telecom received at least 23 Tracebacks. Nine
 2   of the calls that were the subject of the Tracebacks were to telephone numbers on the
 3   National DNC Registry.
 4             278.   Upon information and belief, fourteen of the calls were to honeypots that
 5   would not have been able to provide consent to the calls received.
 6             279.   Internally, on September 27, 2022, Lansky emailed Reeves: “Stupid
 7   tracebacks.”
 8             280.   On September 27, 2022, Reeves responded to Inteliquent: “We have been
 9   working with our customer to obtain the consumer permission documentation. The
10   investigation is not completed, however, the information we have received to this point is
11   valid.”
12             281.   On September 14, 2022, Inteliquent notified Avid Telecom that a call Avid
13   Telecom routed went to a honeypot.
14             282.   Reeves responded: “We have blocked the destination number and have
15   notified our customer of the issue. We are requiring that the number be removed from their
16   call list.”
17             283.   On November 7, 2022, Inteliquent notified Avid Telecom that it was
18   terminating the Master Service Agreement.
19
20
21                        The remainder of this page is intentionally left blank.
22
23
24
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 1
 2        284.   On November 7, 2022, Lansky responded with this email:

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 4
 5
 6
 7
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11
12
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14
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17
18
19        285.   On November 8, 2022, a representative from Inteliquent responded:
20
                 I received both your below email and your voicemail. As you
21               suggested, I wasn't the decision-maker here. This comes from our
                 executive team. I know, for example, that they became aware of the
22               Indiana petition, including the Skype conversations you had with a
23               third-party, where you agreed to act as a commercial reference. They
                 were troubled by that, among other things. I'll add that our KYC
24               policy and our approach to these sorts of matters are very strict. As
25               such, I am instructed to tell you that the decision stands.

26
27
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 1
 2          286.   Lansky responded with this email:

 3
 4
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 8
 9
10
11                                     Notices from Bandwidth
12
13          287.   On June 11, 2020, Bandwidth notified Avid Telecom and Lansky that

14   Bandwidth “has been notified that Avid Telecom has been identified as the sender of

15   improper or illegal robocalls in six different tracebacks . . . Bandwidth’s review of Avid’s

16   traffic profile also raises further concerns.”

17          288.   On January 20, 2021, Bandwidth notified Avid Telecom regarding spoofing

18   and possible violations of Bandwidth’s Acceptable Use Policy.

19          289.   Reeves responded: “We have blocked the originating number and have

20   notified our originating carrier customer. They are working to identify their originating

21   customer and will be blocking them.”

22          290.   On January 26, 2021, Bandwidth notified Avid Telecom regarding spoofing

23   and possible violations of Bandwidth’s Acceptable Use Policy.

24          291.   Avid Telecom responded: “We have blocked this number.”

25          292.   On April 5, 2021, Bandwidth notified Avid Telecom regarding spoofing and

26   possible violations of Bandwidth’s Acceptable Use Policy.

27          293.   Avid Telecom responded to the spoofing notice: “We apologize for the issue.

28   The ANI has been blocked, and the originating customer has been notified.”


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 1          294.    On April 24, 2021, Bandwidth notified Avid Telecom regarding spoofing
 2   and possible violations of Bandwidth’s Acceptable Use Policy.
 3          295.    Reeves responded: “We have reviewed the information and have blocked the
 4   ANI and notified our originating customer.”
 5          296.    On February 10, 2023, Bandwidth notified Avid Telecom that Bandwidth
 6   has: “identified some potentially fraudulent traffic being sent by your network to these
 7   areas.” The area was: “USA-IA (+1712775*)”.
 8          297.    On February 10, 2023, Reeves responded: “We have contacted our customer
 9   with regarding the nature of the traffic. In the meantime, we have removed the
10   conversational customer from routing via Bandwidth and have blocked the originating
11   number.”
12
13                   Notices Show Defendants’ Knowledge of Participation in
14                                    Illegal Robocalling Schemes
15
16          298.    The notices above came from Avid Telecom’s downstream providers and/or
17   ITG.
18          299.    By receiving these notices, Defendants knew their services were being used
19   to facilitate illegal robocalling.
20          300.    Despite the voluminous number of complaints and notices from multiple
21   sources, Defendants continued offering services to entities and persons sending illegal
22   robocalls.
23          301.    In several instances, despite being given evidence their clients did not have
24   the legal authority to make or initiate so many robocalls, Defendants portrayed their clients
25   as having valid consent to send robocalls.
26          302.    Defendants had ample opportunities to shut off their illegal traffic.
27          303.    In most instances, they made the business decision to continue routing illegal
28   robocalls.


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 1          304.    Further, the notices show a pattern of Defendants not taking illegal robocalls
 2   seriously. In many instances, they respond that they have either blocked the calling number
 3   or the called number. Then, they took no further action. This is a wholly inadequate
 4   response. Avid Telecom was routing millions of robocalls per day, and blocking one
 5   number, is analogous to stopping a single raindrop in a thunderstorm.
 6
                          SAMPLING OF AVID TELECOM’S CUSTOMERS
 7
 8                                     John Spiller and His Entities
 9
10          305.    On June 9, 2020, the States of Arkansas, Indiana, Michigan, Missouri, North

11   Carolina, North Dakota, Ohio, and Texas sued John Spiller (“Spiller”), Rising Eagle

12   Capital Group LLC, JSquared Telecom LLC, and other entities in State of Texas et al. v.

13   Rising Eagle Capital Group LLC et al., 4:20-cv-02021 (S.D.T.X 2020).

14          306.    John Spiller, Rising Eagle Capital Group LLC, JSquared Telecom LLC and

15   Spiller’s other entity, Great Choice Telecom LLC, were customers of Avid Telecom.

16          307.    Spiller used Avid Telecom to send his own robocalls and the robocalls of his

17   customers.

18          308.    At some points in time, Spiller was a seller or telemarketer.

19          309.    From May 2019 until March 2021, Spiller used Avid Telecom to send over

20   4 billion calls.

21          310.    In some instances, Spiller sent auto warranty robocalls to Avid Telecom. One

22   such message states:

23                  We’ve been trying to reach you concerning your cars extended
24                  warranty. You should have received something in the mail about your
                    cars extended warranty since we have not gotten a response. We are
25                  giving you a final courtesy call before we close out your file. Press
26                  two to be removed and put on our do not call list press one to speak
                    with someone about possibly extending or reinstating your cars
27                  warranty. Again, press one to speak with a warranty specialist.
28


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 1
 2          311.   In some instances, the health care robocalls Spiller sent Avid Telecom

 3   delivered a pre-recorded message. One such message states:

 4                 Hi, this is Ann. I am calling to let you know we have been granted a
 5                 limited health enrollment period for a few weeks, so you and your
                   family can get a great insurance plan at the price you can afford. And
 6                 we make it hassle free to sign up. We have pre-approvals ready in
 7                 your area including Cigna, Blue Cross, Aetna, United and many more.
                   Press 1 to get a hassle-free assessment or press 2 to be placed on our
 8                 do not call list. Thanks for your time and be healthy and blessed.
 9
10          312.   For most of his robocalls, Spiller did not have the call recipient's consent to
11   call them.
12          313.   Many of Spiller’s robocalls and the robocalls of his customers were to
13   telephone numbers on the National DNC Registry and various state Do Not Call Lists.
14          314.   Many of Spiller’s robocalling customers initiated robocalls to telephone
15   numbers on the National DNC Registry and various state Do Not Call Lists.
16          315.   In total, three different Spiller entities paid Avid Telecom at least $555,000.
17          316.   Further, Avid Telecom sold Spiller tens of thousands of DIDs.
18          317.   Avid Telecom also purchased DIDs for Rising Eagle Capital Group, which
19   was the entity Spiller used to send illegal robocalls.
20          318.   Defendants had direct knowledge that Spiller was sending illegal call traffic
21   to Avid Telecom’s network.
22          319.   Defendants have been on notice since on or around January 7, 2020, that
23   Spiller was using their services and/or network to send illegal robocalls.
24          320.   Defendants had many opportunities to shut down Spiller’s traffic and did not
25   choose to do so. Instead, Defendants accepted hundreds of thousands of dollars from Spiller
26   to further his illegal robocalling schemes.
27          321.   Defendants knew Spiller was using Avid Telecom to route illegal robocalls.
28          322.   Defendants provided substantial assistance to Spiller in this process.


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 1                 Defendants Had Knowledge of Spiller’s Robocalling Schemes and
 2                                    Substantially Assisted Him
 3
 4          323.     On or around January 7, 2020, Avid Telecom received its first Traceback

 5   related to JSquared.

 6          324.     On or around February 17, 2020, Avid received its first Traceback related to

 7   JSquared for auto warranty robocalls.

 8          325.     On or around June 19, 2020, Avid received its last Traceback related to

 9   JSquared.

10          326.     On or around August 24, 2020, Avid received its first Traceback related to

11   Great Choice Telecom, another entity owned by Spiller. The Traceback was related to auto

12   warranty robocalls.

13          327.     Avid Telecom continued to receive Tracebacks related to Great Choice

14   Telecom until on or around December 17, 2021.

15          328.     Avid Telecom received 19 Tracebacks for JSquared Telecom’s traffic.

16          329.     Avid Telecom received 22 Tracebacks for Great Choice Telecom’s traffic.

17          330.     Avid Telecom received 41 Tracebacks regarding suspected or known illegal

18   traffic sent to its network by a Spiller-owned entity.

19          331.     Defendants were on notice from the Tracebacks that Spiller was using Avid

20   Telecom to route illegal robocall traffic.

21          332.     Lansky and Reeves took steps to hide Great Choice Telecom’s true

22   ownership from ITG and other entities.

23          333.     Despite knowing that Spiller’s traffic was illegal and that he was sending

24   calls to phone numbers on the National DNC Registry and various state Do Not Call Lists,

25   Lansky and Reeves continued working with Spiller.

26          334.     Spiller regularly communicated with Lansky and Reeves via Skype. In the

27   messages, Spiller went by the handle “onlywebleads.”

28


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 1          335.   On June 10, 2020, Lansky and Spiller discussed the States’ lawsuit and the
 2   FCC action and the impact it would have on Lansky and Spiller’s relationship. In the end,
 3   Lansky agreed to continue taking Spiller’s traffic, writing:
 4                 Michael Lansky - 6/10/2020 10:51:05 AM
 5                      we are all good until something changes from the FCC etc

 6                 Michael Lansky - 6/10/2020 10:51:23 AM
                         meaning this goes from alagtions to something more serious
 7
                   (sic)
 8
                   Michael Lansky - 6/10/2020 10:51:39 AM
 9
                        until then we drive on as normal
10
11          336.   On June 17, 2020, Lansky confirmed he knew Spiller was sending Avid
12   Telecom health care and auto warranty robocall traffic.
13          337.   On June 19, 2020, Spiller and Lansky discussed the creation of Great Choice
14   Telecom. Spiller was going to use Great Choice Telecom “to run my traffic if the FCC
15   shuts off my business.” Spiller notified Lansky that Spiller would be the CEO of Great
16   Choice but that the paperwork would be in someone else’s name. Lansky responded: “let
17   me know when you are ready to tansit (sic) over to the new company.”
18          338.   In these messages, Lansky agreed to help Spiller switch his traffic to a new
19   company thus avoiding being shut down by the FCC.
20          339.   On June 25, 2020, Lansky followed up with Spiller about when Spiller was
21   going to switch the traffic to Great Choice.
22          340.   Sometime between June 25, 2020, and August 26, 2020, Lansky, Reeves,
23   and/or Avid Telecom switched Spiller’s JSquared Telecom account to Great Choice
24   Telecom and replaced Spiller’s information with that of Mikel Quinn.
25          341.   On August 26, 2020, in responding to Great Choice Telecom’s first
26   Traceback, Avid Telecom responded to the ITG with Mikel Quinn's information, and not
27   Spiller's.
28


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 1          342.     On September 30, 2020, Lansky agreed to be a credit reference for Spiller
 2   and Great Choice for Peerless Network, under Spiller’s alias Mikel Quinn. Lansky wrote:
 3   “no worries.. I will give you a good reference.”
 4          343.     Through 2020 and 2021, Avid Telecom and Great Choice received
 5   Tracebacks regarding Great Choice’s illegal robocall traffic.
 6          344.     On June 23, 2021, Reeves wrote to ITG in response to a Great Choice
 7   Traceback: “we are closing the customer route.”
 8          345.     On June 29, 2021, Reeves wrote to ITG in response to another Great Choice
 9   Traceback: “We have blocked the customer until the issue can be investigated.”
10          346.     On August 26, 2021, Avid Telecom wrote to ITG in response to another
11   Great Choice Traceback: “We are informing the customer and blocking the customer
12   pending further investiation (sic),” and “The customer had previously been permanently
13   blocked.” Id.
14          347.     From August 26, 2021 to August 27, 2021, Lansky and Spiller discussed
15   Avid Telecom shutting off Spiller’s traffic. Lansky agreed to turn Spiller’s traffic back on.
16          348.     On September 2, 2021, Lansky notified Spiller to “be careful on your traffic”
17   and that there was “very little room for error right now.”
18          349.     On October 14, 2021, Lansky agreed to be a reference for a business loan for
19   which Spiller was applying. Spiller notified Lansky that Spiller was not using his real name
20   because he was involved in a lawsuit.
21          350.     On October 27, 2021, Reeves wrote to ITG in response to another Great
22   Choice Traceback: “The customer was disconnected this morning based on previous
23   traceback received this morning.”
24          351.     On October 27, 2021, Lansky notified Spiller of “two USTA tickets with
25   horrible calls that you have not answered.” According to Lansky, these were “pure fraud”
26   calls, and that they would have to block Spiller’s traffic.
27          352.     Spiller went on to ask if he could earn Avid Telecom back as a vendor.
28


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 1
 2         353.   Lansky responded:

 3                Michael Lansky - 10/27/2021 1:21:07 PM
 4                     if another ticket hit.. and we didnt have you turned off... they
                       would tell our vendors to turn us off
 5
 6                onlywebleads - 10/27/2021 1:21:15 PM
                        Understood
 7
 8                Michael Lansky - 10/27/2021 1:21:30 PM
                       the landscape got brutal
 9
10                onlywebleads - 10/27/2021 1:21:47 PM
                        I’m going to fix my traffic
11
                  Michael Lansky - 10/27/2021 1:21:51 PM
12
                       lets just let is simmer for a bit
13
                  Michael Lansky - 10/27/2021 1:22:05 PM
14
                       like a week or so...
15
                  onlywebleads - 10/27/2021 1:22:06 PM
16                      Give me a week to fix my shit on my side I apologize
17
                  Michael Lansky - 10/27/2021 1:22:24 PM
18                     maybe start you back with some limited ports
19
20         354.   Despite these warnings, Avid Telecom continued routing Spiller’s call traffic
21   after October 27, 2021.
22         355.   On December 20, 2021, Reeves wrote to the ITG in response to another Great
23   Choice Traceback: “Customer route has been permanently closed.”
24
25        Sampling of Avid Telecom’s Notices to Spiller Regarding Illegal Robocalls
26
27         356.   While Spiller was a customer, Avid Telecom emailed Spiller about illegal or
28   suspect calls Spiller sent to Avid Telecom’s network.


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 1            357.   On September 23, 2019, Avid Telecom emailed Spiller regarding a person’s
 2   complaint: “I receive an insane amount of unsolicited phones calls from telemarketers
 3   despite being listed on the national do not call list.”46
 4            358.   On November 4, 2019, Avid Telecom emailed Spiller another complaint:
 5   “Stop all calls from Whitestone Health . . . to my phone number immediately. [Phone
 6   number] is on the DO NOT CALL REGISTRY.”
 7            359.   These calls to phone numbers on the National DNC Registry are clear
 8   violations of the TSR prohibition of unsolicited and non-consensual telemarketing calls to
 9   phone numbers on the National DNC Registry. Defendants were on notice their customer
10   was sending such calls in violation of the law.
11            360.   On February 17, 2020, Avid Telecom emailed Spiller regarding “Fraudulent
12   IRS calls.”
13            361.   On February 21, 2020, Avid Telecom emailed Spiller regarding more IRS
14   scam complaints.
15            362.   On March 4, 2020, Avid Telecom emailed Spiller regarding a “Medical
16   Insurance Scam.”
17            363.   On March 16, 2020, Avid Telecom emailed Spiller regarding a call to a
18   person on the “Do Not Call registry.”47
19            364.   On April 3, 2020, Avid Telecom emailed Spiller: “Please remove [telephone
20   number] from your calling lists as soon as possible.”
21            365.   On April 3, 2020, Lansky emailed Spiller: “This number happens to belong
22   to a senior exc of one of the largest mobile providers in the country.. they call the President
23   of our ULC who called me.. so Please remove from your lists.. (sic)”48
24
25
26   46
          The call recipient’s phone number had a Wisconsin area code.
27   47
          The call recipient’s phone number had a New York area code.
     48
28        ULC stands for Underlying Carrier.


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 1            366.   On April 8, 2020, Avid Telecom emailed Spiller regarding robocalls to a
 2   number on the National DNC Registry.
 3            367.   On April 20, 2020, Avid Telecom emailed Spiller regarding spoofed
 4   robocalls.
 5            368.   On June 15, 2020, Avid Telecom emailed Spiller regarding unsolicited calls
 6   to a phone number on the National DNC Registry.49
 7            369.   On June 26, 2020, Avid Telecom emailed Spiller regarding auto warranty
 8   robocalls.
 9            370.   Further, in a deposition, Spiller testified that Lansky, personally, helped
10   Spiller with the content of Spiller’s prerecorded messages.
11
12                           The Sumco Auto Warranty Calling Scheme
13
14            371.   Before joining Avid Telecom, Defendant Reeves worked at Modok, LLC
15   (“Modok”) from June 2017 to June 2020 as the Director of Network Operations. Modok
16   was a VoIP service provider which ceased business following an action by the Michigan
17   Attorney General’s Office for its role in facilitating illegal robocalls.50      Robocalls
18   specifically at issue in the action included “Social Security Administration scams” and
19   “suspected auto warranty scams.”
20            372.   In her position with Modok, Reeves knew the type of robocall traffic that
21   Modok facilitated which caused it to be the subject of the Michigan law enforcement action
22   and ultimately caused it to shut down in August of 2020.
23
24
25
     49
          The call recipient’s phone number had a California area code.
26   50
       Assurance of Voluntary Compliance of Modok, LLC, State of Michigan Attorney
27   General Dana Nessel, August 3, 2020.
28


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 1          373.   Sumco was a customer of Modok from January 1, 2020, through July 2020.
 2   Reeves assisted in its onboarding as a new retail (end-user) customer. Modok knew that
 3   Sumco was a high-volume call center customer delivering auto warranty robocalls.
 4          374.   In her position at Modok, Reeves knew the type of robocall traffic that Sumco
 5   initiated as she corresponded with the ITG regarding Traceback requests related to
 6   Sumco’s robocall traffic. Within four months of opening the Sumco account, Modok had
 7   received 11 Traceback requests regarding Sumco’s traffic.
 8          375.    Due to pressure Modok was receiving from the ITG to mitigate Sumco’s
 9   robocall traffic, Modok opened a new wholesale account in April of 2020 for Sumco under
10   the name, Virtual Telecom Kft. Virtual Telecom Kft (“Virtual Telecom”) was registered
11   as a 499 Filer with the FCC and was purportedly located in Budapest, Hungary. Modok
12   set up a wholesale account for Sumco so that Modok would no longer appear to be the
13   originating voice service provider for the Sumco robocall traffic. Reeves assisted with the
14   account set up for Virtual Telecom and facilitated the acquisition of over 800,000 DID
15   numbers for Sumco’s use.
16          376.   On June 17, 2020, Avid enrolled Virtual Telecom Kft as a wholesale voice
17   service provider customer.
18          377.   Virtual Telecom provided Avid with an address from Budapest, Hungary and
19   a Proton email address, which is an encrypted email service based in Switzerland.
20          378.   Avid allowed Virtual Telecom to enroll for its VoIP service without
21   executing a written agreement regarding the terms of services as Virtual Telecom agreed
22   to pay in advance for its services. Avid set up Virtual Telecom with its “Dialer Special”
23   service, a plan designed for short duration call traffic. This plan enabled Virtual Telecom
24   to utilize 5000 VoIP sessions with each of the sessions able to initiate 300 simultaneous
25   calls per session.
26          379.   Within one week, Defendant Lansky increased Virtual Telecom’s calling
27   capabilities by adjusting the account settings to triple the sessions to 15,000 with 1,000
28   simultaneous calls per session.


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 1          380.    By August 28, 2020, Lansky had increased the calling capabilities to allow
 2   40,000 sessions with each session able to initiate 3000 simultaneous calls per session.
 3          381.    Reeves took a position with Avid as the Vice President of Operations and
 4   Sales in October of 2020. According to account history records, Reeves first accessed and
 5   performed tasks related to Virtual Telecom’s account on October 27, 2020.
 6          382.    Following a temporary reduction in Virtual Telecom’s call capacity on
 7   September 21, 2020, to 30,000 sessions with 3,000 calls per session, Reeves increased the
 8   calling capabilities on the account to back 40,000 sessions with 3,200 calls per session on
 9   December 9, 2020.
10          383.    Defendants provided these astounding call capabilities while knowing or
11   consciously avoiding knowing that its customer was engaged in or facilitating illegal
12   robocalling.
13          384.    On August 25, 2020, Lansky changed the name and contact information in
14   Avid Telecom’s account management system for Virtual Telecom’s account to Mobi
15   Telecom, LLC (“Mobi”).
16          385.    Mobi was a newly formed company registered with the Wyoming Secretary
17   of State in June of 2020 and registered in the FCC’s 499 Filer database as an interconnected
18   VoIP provider on April 1, 2020.
19          386.    Avid received its first Traceback request from the ITG on August 18, 2020
20   related to robocalls from Virtual Telecom. The Traceback request showed that Virtual
21   Telecom was facilitating auto warranty robocalls. As is customary with Traceback
22   requests, the ITG provided a transcript of the robocall campaign at issue:
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27
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 1
 2          387.     The Traceback request provided Avid with notice and evidence of the

 3   abusive nature of the robocall campaign at issue. The Traceback stated that robocalls were

 4   being made to wireless numbers and via random autodialing, including calls to wireless

 5   numbers that had never been in service or were currently not in service.

 6          388.     Random dialing and playing a prerecorded message is a violation of the TSR

 7   and the TCPA, as prerecorded messages require express consent from the called party.

 8   There is no way a randomly dialed number consented to receive a prerecorded call.

 9   Defendants were on notice their customer was violating the TSR and the TCPA.

10          389.     The Traceback request also provided a transcript of the robocall message.

11   Contrary to the requirements of federal and state telemarketing laws, the transcript showed

12   the prerecorded messages were sent with no disclosure as to the entity responsible for the

13   solicitation.

14          390.     Avid Telecom reported to the ITG that the auto warranty traffic came from

15   Mobi Telecom, despite knowing that payments related to this account never came from

16   Mobi Telecom. Avid accepted over $2,426,000 in payments for services on this account

17   from at least four different Sumco entities including:

18                   a.    at least $277,000 from Virtual Telecom, with the first payment taking
19                         place on November 4, 2020, after the name change on the account,
20                         and the final payment occurring on March 17, 2021;
21                   b.    at least $678,000 from Davis Telecom, with the first payment
22                         occurring on August 11, 2020, and the final payment occurring on
23                         March 24, 2021;
24                   c.    at least $1,398,000 from Nadis Consulting, with the first payment
25                         occurring on April 2, 2021, and the final payment occurring on
26                         November 2, 2021; and
27
28


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 1                 d.     at least $76,000 from Hoba Consulting, with the first payment
 2                        occurring on March 4, 2022, and the final payment occurring July 7,
 3                        2022.
 4
 5          391.   Avid also supplied DID numbers used for caller ID to another Sumco entity,

 6   Geist Telecom, LLC (“Geist”), which were likely paid for by the same third-party entities

 7   as the Virtual Telecom/Mobi account. On January 19, 2021, the Wisconsin Department of

 8   Agriculture, Trade and Consumer Protection issued a subpoena to Avid Telecom. The

 9   subpoena stated that the office was investigating possible violations of its consumer

10   protection laws, including its telemarketing and direct solicitations statutes. The subpoena

11   demanded records related to a telephone number associated with an “auto warranty”

12   telephone solicitation. Avid Telecom produced records which indicated it “supplied” the

13   target telephone number plus an additional 9,784 DIDs with Wisconsin area codes to its

14   customer, Geist Telecom, LLC, 905 Broadway Street, Sheridan, Wyoming 82801. Avid

15   Telecom supplied the telephone numbers to Geist, despite the fact that Geist was not

16   obtaining VoIP services from Avid Telecom.

17          392.   The Ohio Attorney General’s Office issued a subpoena to Avid related to the

18   Virtual Telecom/Mobi Telecom account on February 10, 2021, referencing its

19   investigatory authority under the Ohio’s Consumer Sales Practices Act and Telephone

20   Solicitation Sales Act.

21          393.   Avid provided substantial assistance and support to Sumco and its related

22   entities while they initiated many of the auto warranty calls that plagued the United States

23   over the last few years.

24          394.   From June 2020 to February 2021, Avid facilitated over 5 billion calls for

25   Sumco through the Virtual Telecom/Mobi Telecom account. A review of call analytics for

26   the Virtual Telecom/Mobi Telecom traffic illustrates that the traffic is unwanted robocalls.

27   Of the 5 billion calls Avid facilitated, approximately 80% were less than 6 seconds in

28   duration, with approximately 96% of the calls having a duration of less than 30 seconds.


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 1   Of the 5 billion calls facilitated, calls were made to approximately 650 million unique
 2   telephone numbers throughout the United States.
 3          395.   Defendants knew or consciously avoided knowing that their customer was
 4   initiating massive volumes of robocalls to cellular and residential telephone numbers
 5   without having the requisite prior express written consent to deliver robocalls to 650
 6   million unique telephone numbers.
 7          396.   Many of Virtual Telecom’s/Mobi Telecom’s calls were to telephone numbers
 8   on the National DNC Registry and various state Do Not Call Lists. Of the 5 billion calls
 9   Avid facilitated, at least 100 million of them were placed to over 9 million telephone
10   numbers with Ohio area codes that were listed on the National DNC Registry for at least
11   31 days at the time of the call.
12          397.   Reeves knew from her employment at Modok that call center client, Sumco,
13   changed its name to Virtual Telecom and that Virtual Telecom subsequently became an
14   Avid customer. Despite knowing that different entities were paying Avid Telecom for the
15   VoIP service provided to the account in the name of Virtual Telecom and subsequently,
16   Mobi Telecom, Defendants reported to the ITG only that the robocall traffic came from
17   Mobi Telecom.
18          398.   Defendants knew the true identity of the upstream provider.
19          399.   Avid Telecom and Lansky have been on notice since as early as August 18,
20   2020, that Virtual Telecom and Mobi were using Avid’s services to send illegal robocalls.
21          400.   Reeves has been on notice since as early as October 2020 that Sumco and its
22   affiliated entities were using Avid’s services to send illegal robocalls.
23          401.   The illegal robocall traffic associated with the Virtual Telecom/Mobi account
24   was brought to Defendants’ attention on many occasions. Avid had the authority and the
25   responsibility to mitigate the robocall traffic and failed to do so. Instead, they chose to
26   accept millions of dollars in revenue while enabling Sumco, Virtual Telecom, and/or Mobi
27   Telecom in furthering their illegal robocalling schemes.
28


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 1              402.   Avid provided substantial assistance and support to the Sumco, Virtual
 2   Telecom, and/or Mobi Telecom and Geist Telecom by providing VoIP services necessary
 3   for the initiation of the robocalls and DIDs used for caller ID.
 4              403.   Defendants had direct knowledge that Sumco was sending them illegal call
 5   traffic.
 6
 7         INDIVIDUAL LIABILITY OF DEFENDANTS LANSKY AND REEVES
 8
 9              404.   Defendants Lansky and Reeves are also both individually liable for the
10   conduct alleged herein.
11              405.   Defendants Lansky and Reeves, as officers of Michael D. Lansky, LLC,
12   possessed and exercised the authority to control the policies and trade practices of Michael
13   D. Lansky, LLC; were responsible for creating and implementing the illegal policies and
14   trade practices of Michael D. Lansky, LLC that are described herein; participated in the
15   illegal trade practices that are described herein; directed or supervised those employees of
16   Michael D. Lansky, LLC who participated in the illegal trade practices that are described
17   herein; and knew or should have known of the illegality of the trade practices that are
18   described herein and had the power to stop them, but rather than stopping them, promoted
19   their use.
20              406.   The Court should also pierce the corporate veil between Defendants Michael
21   D. Lansky, LLC and Defendant Lansky.
22              407.   Michael D. Lansky, LLC and Lansky demonstrated a complete lack of
23   respect to the separate identities of each entity and comingled corporate and personal
24   assets.
25              408.   Lansky controlled Michael D. Lansky, LLC’s corporate bank account(s),
26   corporate credit card(s), corporate check book(s), and corporate PayPal account(s). These
27   accounts comingled money for Lansky’s personal business.
28


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 1          409.   Lansky's use of corporate funds for personal expenses not only illustrates the
 2   lack of respect for the separateness of the corporate entity, but it also diverted assets from
 3   the corporation to fund substantial personal expenses, limiting the corporation’s abilities
 4   to satisfy remedial obligations.
 5          410.   Lansky used the Michael D. Lansky, LLC corporate credit card, bank
 6   account, and/or PayPal account for non-corporate purchases.
 7          411.   For example, those purchases included:
 8                 a.      Ancestry.com DNA LLC;
 9                 b.      Bandcamp for the full digital discography (9 releases) by Clann An
10                         Drumma;
11                 c.      Payment for the SMHS reunion for Michael Lansky and another
12                         person;
13                 d.      Payment for a “Michael Lansky for Bicycle replacement;” and
14                 e.      Payment for “Bachelor Party lodging.”
15
16          412.   Defendant Lansky controlled the illegal conduct of Michael D. Lansky, LLC
17   and is vicariously liable for its conduct.
18          413.   Defendant Lansky operated through Michael D. Lansky, LLC and their
19   conduct was one and the same.
20          414.   Defendants Lansky’s conduct through Michael D. Lansky, LLC, has caused
21   harm to consumers.
22          415.   Treating Michael D. Lansky, LLC and Lansky as separate entities would
23   further sanction a fraud, promote injustice, and lead to an evasion of legal obligations.
24          416.   Defendants Lansky and Reeves are liable for the illegal conduct alleged
25   herein because they directly participated in the conduct, authorized and directed others who
26   committed the illegal conduct with knowledge of its illegality, and in the case of Lansky,
27   because he controlled the illegal conduct of Michael Lansky, LLC and acted through his
28   company to harm others.


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 1              INDIANA: CERTIFICATE OF TERRITORIAL AUTHORITY
 2
 3          417.   To be a communications service provider that offers services in Indiana, a

 4   VoIP provider must have a Certificate of Territorial Authority (“CTA”).

 5          418.   A VoIP provider applies for a CTA with the Indiana Utility Regulatory

 6   Commission.

 7          419.   The Indiana Utility Regulatory Commission then approves or disapproves

 8   the application.

 9          420.   Providers must receive a CTA to offer these services in Indiana: advanced

10   services, broadband service, information services, Internet Protocol-enabled services,

11   and/or telecommunications services.

12          421.   At the time of this filing, Avid Telecom has not applied for a CTA or been

13   granted a CTA.

14          422.   Further, Defendants transmitted or routed calls to the telephone numbers on

15   the Indiana Do Not Call List. On August 1, 2022, the Office of the Indiana Attorney

16   General issued a Civil Investigative Demand (“CID”) to Avid Telecom related to, among

17   other things, Avid Telecom assisting and facilitating persons or entities sending calls to

18   telephone numbers on the Indiana Do Not Call List in violation of Indiana law. The CID

19   made it clear Avid Telecom was the target of the investigation. On November 1, 2022, the

20   Office of the Indiana Attorney General petitioned an Indiana court to enforce the CID. In

21   the petition, the Office of the Indiana Attorney General highlighted that it was investigating

22   Avid Telecom for violating Indiana law regarding the Indiana Do Not Call List.

23          423.   Defendants have been on notice that their clients are sending calls to

24   Hoosiers who have telephone numbers on the Indiana Do Not Call List. Defendants have

25   substantially assisted and facilitated or supported these clients in violating Indiana law.

26   These clients were sellers and/or callers, and many of their calls were telephone sales calls.

27          424.   In an analysis of a sampling of Call48 CDRs related to Defendants’ traffic,

28   from September 2022 to December 2022, Defendants routed at least 11,369 phone calls to


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 1   Hoosiers on the Indiana Do Not Call List. During that time period, Defendants routed
 2   approximately 29,700 telephone calls to Indiana area codes.
 3          425.   Upon information and belief, Defendants helped sellers and/or callers make
 4   many more calls to Hoosiers on the Indiana Do Not Call List after Defendants were on
 5   notice their clients were making calls to Hoosiers on the Indiana Do Not Call List.
 6
 7                                            COUNT I

 8                            Violations of the Telemarketing Sales Rule

 9                                     16 C.F.R. §§ 310.3-310.4

10
            426.   Plaintiffs incorporate and reallege each of the preceding paragraphs as if fully
11
     set forth herein.
12
            427.   Pursuant to the Telemarketing Act, Congress directed the FTC to enact rules
13
     prohibiting abusive and deceptive telemarketing acts or practices. 15 U.S.C. § 6102(a)(1).
14
            428.   In response to this direction, the FTC adopted the TSR, 16 C.F.R. § 310 et
15
     seq.
16
            429.   The TSR prohibits abusive and deceptive acts or practices by “sellers”51 or
17
     “telemarketers”52 and, under 16 C.F.R. § 310.3(b), further prohibits persons from providing
18
     substantial assistance or support to any seller or telemarketer when that person knows or
19
     consciously avoids knowing that the seller or telemarketer is engaged in any act or practice
20
     that violates the TSR.
21
22
23   51
         16 C.F.R. § 310.2(dd) defines “seller” as “any person who, in connection with
24   a telemarketing transaction, provides, offers to provide, or arranges for others to provide
     goods or services to the customer in exchange for consideration.”
25   52
        16 C.F.R. § 310.2(gg) defines “telemarketing,” in relevant part, as “a plan, program, or
26   campaign which is conducted to induce the purchase of goods or services . . . by use of one
     or more telephones and which involves more than one interstate telephone call.” 16 C.F.R.
27
     § 310.2(ff) defines “telemarketer” as “any person who, in connection with telemarketing,
28   initiates or receives telephone calls to or from a customer or donor.”


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 1         430.   Many of the illegal robocalls that Defendants transmitted onto and across
 2   Avid Telecom’s network constitute telemarketing and were created and initiated by sellers
 3   and/or telemarketers within the scope of the TSR.
 4         431.   Defendants, on numerous occasions, provided substantial assistance or
 5   support to sellers and telemarketers that were violating the TSR in contravention of 16
 6   C.F.R. § 310.3(b) by providing services including but not limited to: retail or wholesale
 7   voice termination; dialing software, including the use of a predictive dialer; helping
 8   customers with DID rotation; DID assignment; providing leads for customers to call; and
 9   providing expertise, whether formal or informal directly or indirectly, to one or more,
10   “sellers” and/or “telemarketers” engaged in “telemarketing” as defined by the TSR, 16
11   C.F.R. § 310.2, that Defendants knew, or consciously avoided knowing:
12                a.     Misrepresented material aspects of goods or services, in violation of
13                       16 C.F.R. § 310.3(a)(2)(iii);
14                b.     Misrepresented the seller’s or telemarketer’s affiliation with
15                       corporations or government entities, in violation of 16 C.F.R. §
16                       310.3(a)(2)(vii);
17                c.     Made false or misleading statements to induce any person to pay for
18                       goods or services, in violation of 16 C.F.R. § 310.3(a)(4);
19                d.     Failed to transmit or cause to be transmitted the real telephone number
20                       and the name of the telemarketer to caller identification services used
21                       by call recipients in violation of 16 C.F.R. § 310.4(a)(8);
22                e.     Initiated or caused the initiation of outbound calls to telephone
23                       numbers on the National DNC Registry, in violation of 16 C.F.R. §
24                       310.4(b)(1)(iii)(B);
25                f.     Initiated or caused the initiation of outbound telephone calls that
26                       delivered prerecorded messages, in violation of 16 C.F.R. §
27                       310.4(b)(1)(v); and/or
28


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 1                     g.    Failed to disclose the identity of the seller of the goods or services
 2                           truthfully, promptly, and in a clear and conspicuous manner to the
 3                           person receiving the call, in violation of 16 C.F.R. § 310.4(d)(1).
 4
 5                                              COUNT II

 6              Violations of the TCPA – 47 U.S.C. § 227 and 47 C.F.R. § 64.1200(n)(3)

 7                              (Failure to Exercise Due Diligence/KYC)

 8
                432.   Plaintiffs incorporate and reallege each of the paragraphs preceding Count I
 9
     as if fully set forth herein.
10
                433.   To target and eliminate unlawful robocalls, the FCC requires that all
11
     originating voice service providers know their customers and exercise due diligence in
12
     ensuring that their services are not used to originate illegal traffic and further recommends
13
     that voice service providers exercise caution in granting access to high-volume origination
14
     services, to ensure that bad actors do not abuse such services.53
15
                434.   The FCC has authorized and encouraged voice service providers to block
16
     calls in specific circumstances.54 TCPA rule 47 C.F.R. § 64.1200(k) provides that voice
17
     service providers may block calls so that they do not reach a called party when the calls
18
     purport to originate from:
19
                       a.    Numbers where the subscriber of the originating number has
20
                             requested that calls purporting to originate from that number be
21
                             blocked because the number is used for inbound calls only (Do Not
22
                             Originate list numbers);
23
                       b.    Numbers that are not valid under the North American Numbering Plan
24
                             (“NANP”);
25
26   53
       Advanced Methods to Target and Eliminate Unlawful Robocalls, CG Docket No. 17-59,
27   Fourth Report and Order (2020).
     54
28        Id.


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 1                  c.      Valid NANP numbers that are not allocated to a provider by the
 2                          NANP Administrator or Pooling Administrator; and
 3                  d.      Valid NANP numbers that are allocated to a provider by NANP or the
 4                          Pooling Administrator but are unused, so long as the provider
 5                          blocking the calls is allocatee of the number and confirms that the
 6                          number is unused or has obtained verification from the allocatee that
 7                          the number is unused at the time of the blocking.
 8
 9          435.    TCPA rule 47 C.F.R. § 64.1200(n)(3) provides that a voice service provider

10   must take affirmative, effective measures to prevent new and renewing customers from

11   using its network to originate illegal calls, including knowing its customers and exercising

12   due diligence in ensuring that its services are not used to originate illegal traffic.

13          436.    Defendants did not choose to regularly, if at all, block calls made from

14   telephone numbers that the FCC has authorized could be blocked so that those calls do not

15   reach a called party pursuant to 47 C.F.R. § 64.1200(k).

16          437.    Defendants violated 47 C.F.R. § 64.1200(n)(3) by failing to take affirmative,

17   effective measures to prevent new and renewing customers from using its network to

18   originate illegal calls, including knowing its customers and exercising due diligence in

19   ensuring that its services are not used to originate illegal traffic.

20
                                              COUNT III
21
              Violations of the TCPA – 47 U.S.C. §§ 227(b)(1)(A)(iii) and (b)(1)(B)
22
                     (Robocalls to Cellular and Residential Telephone Lines)
23
24
            438.    Plaintiffs incorporate and reallege each of the paragraphs preceding Count I
25
     as if fully set forth herein.
26
27
28


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 1          439.   In enacting the TCPA, Congress determined that unwanted prerecorded
 2   voice message calls were a greater nuisance and invasion of privacy than live calls and that
 3   such calls delivered to wireless phones can be costly.55
 4          440.   The TCPA, 47 U.S.C. § 227(b)(1)(A)(iii), prohibits any person within the
 5   United States, or any person outside the United States if the recipient is within the United
 6   States, from making any call using an automatic telephone dialing system or an artificial
 7   or prerecorded voice to any cellular telephone, with exceptions for certain emergency calls
 8   or calls placed with the prior express consent of the called party.
 9          441.   The TCPA, 47 U.S.C. § 227(b)(1)(B), prohibits any person within the United
10   States, or any person outside the United States if the recipient is within the country, from
11   initiating any telephone call to any residential telephone line using an artificial or
12   prerecorded voice to deliver a message without the prior express consent of the called party,
13   unless the call is initiated for emergency purposes, or is exempted by rule or order of the
14   FCC under 47 U.S.C. § 227(b)(2)(B).
15          442.   Defendants violated 47 U.S.C. §§ 227(b)(1)(A)(iii) and (b)(1)(B) by
16   engaging in a pattern or practice of initiating telephone calls to residential and cellular
17   telephone lines using artificial or prerecorded voices to deliver messages without the prior
18   express consent of the called parties.
19          443.   Defendants violated 47 C.F.R. § 64.1200(a)(2) by engaging in a pattern or
20   practice of initiating or causing telephone calls to be initiated that include or introduce
21   advertisements or constitute telemarketing to cellular telephone lines using artificial or
22   prerecorded voices to deliver messages without the prior express written consent of the
23   called parties.
24
25
     55
26     Rules and Regulations Implementing the Telephone Consumer Protection Act of 1991,
     CG Docket No. 02-278, Report and Order, 18 FCC Rcd 14014, 14115, para 165 (2003)
27   (2003 TCPA Order).
28


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 1          444.    Defendants violated 47 C.F.R. § 64.1200(a)(3) by engaging in a pattern or
 2   practice of initiating telephone calls to residential telephone lines using artificial or
 3   prerecorded voices to deliver messages without the prior express written consent of the
 4   called parties.
 5          445.    Defendants transmitted calls delivering prerecorded or artificially voiced
 6   messages to cellular and residential telephone lines to consumers in each of the Plaintiffs’
 7   respective jurisdictions.
 8          446.    Defendants initiated calls that terminated within Plaintiffs’ jurisdictions
 9   because the calls would not have connected, but for Defendants’ decision to allow them to
10   transit their network despite having actual knowledge that many of the calls were scam
11   robocalls delivering prerecorded or artificially voiced messages.
12          447.    Defendants knew or should have known that many of these calls violated 47
13   U.S.C. § 227(b)(1)(A)(iii) and (b)(1)(B).
14
15                                           COUNT IV
16        Violations of the TCPA – 47 U.S.C. §§ 227(c) and 47 C.F.R. § 64.1200(c)(2)
17                 (Calls to Telephone Numbers on the National DNC Registry)
18
19          448.    Plaintiffs incorporate and reallege each of the paragraphs preceding Count I
20   as if fully set forth herein.
21          449.    The TCPA, under 47 U.S.C. § 227(c)(1), recognized that there is a need to
22   protect residential telephone subscribers’ privacy rights to avoid receiving telephone
23   solicitations to which they object. In order to meet this directive, a single national database
24   of telephone numbers was compiled of residential subscribers who objected to receiving
25   telephone solicitations. See 47 U.S.C. § 227(c)(3).
26          450.    Pursuant to 47 C.F.R. § 64.1200(c)(2), all persons and entities are prohibited
27   from initiating any telephone solicitation to a residential telephone subscriber who has
28


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 1   registered his or her telephone number on the National DNC Registry, which registrations
 2   must be honored indefinitely, or until the registration is cancelled by the consumer.
 3          451.      Defendants violated 47 C.F.R. § 64.1200(c)(2) by engaging in a pattern or
 4   practice of initiating telephone solicitations to residential telephone subscribers in the
 5   Plaintiffs’ respective jurisdictions who have registered their telephone numbers on the
 6   National DNC Registry.
 7          452.      Defendants knew or should have known that many, if not most, of these calls
 8   were made in violation of 47 C.F.R. § 64.1200(c)(2).
 9
10                                             COUNT V
11                    Violations of the Truth in Caller ID Act – 47 U.S.C. § 227(e)
12                                   (Prohibition Against Spoofing)
13
14          453.      Plaintiffs incorporate and reallege each of the paragraphs preceding Count I
15   as if fully set forth herein.
16          454.      The TCPA, 47 U.S.C. § 227(e)(1) and 47 C.F.R. § 64.1604(a), prohibit any
17   person or entity within the United States, or any person or entity outside the United States
18   if the recipient is within the United States, with the intent to defraud, cause harm, or
19   wrongfully obtain anything of value, from knowingly causing, directly or indirectly, any
20   caller identification service to transmit misleading or inaccurate caller identification
21   information in connection with any voice service or text messaging service.
22          455.      In enforcement actions, the FCC has found that when an entity spoofs a large
23   number of calls in a robocall campaign, it causes harms to the subscribers of the numbers
24   that are spoofed, the consumers who receive the spoofed calls and the terminating providers
25   forced to deliver calls to consumers and the handle the “consumers’ ire,” thereby increasing
26   their costs.56
27   56
       John C. Spiller et al., File No.: EB-TCD-XX-XXXXXXX, Notice of Apparent Liability for
28   Forfeiture, 35 FCC Rcd 5948, 5957-61, paras 23-33 (2020).


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 1            456.   The FCC has further held when spoofing is done in conjunction with an
 2   illegal robocalling campaign—itself a harmful practice—it indicates an intent to cause
 3   harm.57
 4            457.   Defendants violated 47 U.S.C. § 227(e)(1) and 47 C.F.R. § 64.1604(a) by
 5   knowingly causing the caller identification services of the recipients of their call traffic
 6   with spoofed phone numbers to transmit misleading or inaccurate caller identification
 7   information.
 8            458.   Defendants knew or should have known that they accepted and profited from
 9   illegal robocalls with misleading or inaccurate spoofed phone numbers, which sought to
10   defraud, cause harm, or wrongfully obtain things of value from the call recipients.
11
12                                            COUNT VI

13   By State of California for Violations of Business and Professions Code Section 17200

14                                       (Unfair Competition)

15
              459.   Plaintiff State of California incorporates and realleges each of the paragraphs
16
     preceding Count I as if fully set forth herein.
17
              460.   Defendants have engaged in and continue to engage in unfair competition as
18
     defined in California Business & Professions Code section 17200. Defendants’ acts of
19
     unfair competition include, but are not limited to, the following:
20
                     a.     Defendants, either directly or indirectly as a result of a third party
21
                            acting on their behalf, have violated 16 CFR §§ 310.3-310.4 by
22
                            providing substantial assistance or support, through provision of Avid
23
                            Telecom’s services as set forth in Count I, to one or more sellers or
24
                            telemarketers who Defendants knew or should have known were
25
26
27   57
          Roesel Notice of Apparent Liability. 33 FCC Rcd at 9218-19, para. 40.
28


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 1                        engaged in the deceptive or abusive telemarketing acts or practices set
 2                        forth in Count I, above.
 3                 b.     Defendants, either directly or indirectly as a result of a third party
 4                        acting on its behalf, have violated 47 C.F.R. § 64.1200(n)(3) and 47
 5                        U.S.C. § 227 by failing to take affirmative, effective measures to
 6                        prevent new and renewing customers from using their network to
 7                        originate illegal calls as set forth in Count II, above.
 8                 c.     Defendants, either directly or indirectly as a result of a third party
 9                        acting on its behalf, have violated 47 C.F.R. §§ 64.1200(a)(2), and
10                        64.1200(a)(3) and 47 U.S.C. §§ 227 (b)(1)(A)(iii) and (b)(1)(B) by
11                        engaging in a pattern or practice of initiating telephone solicitations
12                        to cellular and residential telephone lines, including lines in
13                        California, using artificial or prerecorded voices to deliver a message
14                        without the prior express consent of the called party and where the
15                        call was not initiated for emergency purposes or exempted by rule or
16                        order of the Federal Communications Commission under 47 U.S.C. §
17                        227(b)(2)(B), as set forth in Count III, above.
18
19          461.   Plaintiff, the People of the State of California, by and through its attorney,

20   Rob Bonta, Attorney General of the State of California, is authorized by 47 U.S.C. §

21   227(f)(1) to file actions in federal district court to enjoin violations and enforce compliance

22   with the Telephone Consumer Protection Act (“TCPA”) on behalf of residents of the State

23   of California and to obtain actual damages or damages of $500 for each violation and up

24   to treble that amount for each violation committed willfully or knowingly. Plaintiff, the

25   People of the State of California, by and through its attorney, Rob Bonta, Attorney General

26   of the State of California, is authorized by California Business & Professions Code sections

27   17204 and 17206 to obtain injunctive relief to halt acts of unfair competition and enforce

28


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 1   compliance with California Business & Professions Code section 17200 and for civil
 2   penalties of up to $2,500 for each violation of Business & Professions Code section 17200.
 3
 4                                             COUNT VII

 5                       Violations of Chapter 501, Part II, Florida Statutes

 6
            462.   Plaintiff State of Florida incorporates and realleges each of the paragraphs
 7
     preceding Count I as if fully set forth herein.
 8
            463.   FDUTPA states that “[u]nfair methods of competition, unconscionable acts
 9
     or practices, and unfair or deceptive acts or practices in the conduct of any trade or
10
     commerce are hereby declared unlawful.” § 501.204, Florida Statutes.
11
            464.   The provisions of FDUTPA are to be construed liberally to promote the
12
     protection of the consuming public and legitimate business enterprises from those who
13
     engage in unfair methods of competition, or unconscionable, deceptive, or unfair acts or
14
     practices. § 501.202, Florida Statutes.
15
            465.   FDUTPA defines a “violation of this part” to include violations of the Act
16
     based on “[a]ny rules promulgated pursuant to the Federal Trade Commission Act” or
17
     “[a]ny law, statute, rule, regulation, or ordinance which proscribes unfair methods of
18
     competition, or unfair, deceptive, or unconscionable acts or practices.” § 501.203(3),
19
     Florida Statutes.
20
            466.   “A violation of the TSR constitutes an unfair and deceptive act or practice in
21
     violation of § 5(a) of the FTC Act.” United States v. Dish Network, L.L.C., 75 F. Supp. 3d
22
     942, 1004 (C.D. Ill. 2014).
23
            467.   The TSR’s enabling statute is the Telemarketing and Consumer Fraud and
24
     Abuse Prevention Act (15 USC §§ 6101-08).
25
            468.   Under 15 U.S.C. § 6102(c)(1) violations of the TSR are treated as violations
26
     of rules passed under the Federal Trade Commission Act (15 U.S.C. § 57a).
27
28


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 1          469.   Violations of rules passed under the FTC Act are unfair and deceptive within
 2   the scope of 15 U.S.C. § 45, as set forth in 15 U.S.C. § 57a(d)(3).
 3          470.   Defendants’ violations of the TSR constitute violations of FDUTPA.
 4          471.   Defendants’ conduct also violates FDUTPA because knowingly transmitting
 5   fraudulent robocalls to consumers in Florida is an unfair and deceptive trade practice.
 6          472.   Defendants routinely transmit calls to consumers in Florida which
 7   misrepresent the identity of the caller and the nature of goods and services offered through
 8   the calls.
 9          473.   Records of calls transmitted by the Defendants indicate that at least
10   1,184,200,778 calls were directed to phone numbers with area codes assigned to Florida
11   during the period relevant to this Complaint.
12          474.   At least 387,321,375, or 32.7%, of these calls were directed to phone
13   numbers on the National DNC Registry.
14          475.   The average duration of the calls Defendants routed to Florida are only 16.7
15   seconds, indicating that the vast majority of such calls were unwanted - likely because they
16   are fraudulent, pre-recorded or artificially voiced messages - and the recipient almost
17   immediately hung up the phone.
18          476.   For example, one campaign of calls which harassed thousands of Florida
19   residents for at least 113 days stated: “Hi, this is Vanessa and I’m giving you a call from
20   the dealer service center. We recently noticed your car’s extended warranty was going to
21   expire and wanted to give you one final courtesy call before your warranty expires and
22   your coverage is voided. This would make you financially responsible for all services
23   [unintelligible]. Press one now if you wish to extend or reinstate your car’s warranty. Once
24   again press one now, or press two to be placed on the DNC, or call 833-304-1447.”58
25
26
     58
             A       recording    of      this     robocall  is    available  at:
27
     https://media.youmail.com/mcs/glb/audio/s6diZGlyX3dsemRmYTp0b21jYXQ3NzgyOj
28   E2MTk3OTI2OTI1ODlmlnUiR4.gen.wav


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 1          477.   Particularly when the caller’s phone number has been spoofed, consumers
 2   acting reasonably in the circumstances would be deceived to their detriment when
 3   receiving many of the calls transmitted by Defendants.
 4          478.   Furthermore, the call traffic Defendants transmit causes injury, or the risk of
 5   injury, to consumers which is substantial, which consumers cannot reasonably avoid, and
 6   which is without offsetting benefits to consumers or competition.
 7          479.   Defendants’ practices complained of herein are unfair or deceptive or both
 8   and constitute violations of § 501.204, Florida Statutes; therefore, Defendants are liable for
 9   injunctive, and other equitable, legal, or statutory relief.
10          480.   Defendants are also liable for civil penalties, as prescribed by §§ 501.2075
11   and 501.2077, Florida Statutes, for each unfair act or practice they willfully engaged in, as
12   set forth above, found to be in violation of FDUTPA.
13          481.   Finally, Defendants are also liable for attorney’s fees and costs pursuant to §
14   501.2075, Florida Statutes.
15
16                                           COUNT VIII

17         Violations of the Telephone Solicitation of Consumers Act (the “TSCA”)

18                                      Indiana Code 24-4.7-4

19
            482.   Plaintiff State of Indiana incorporates and realleges each of the paragraphs
20
     preceding Count I as if fully set forth herein.
21
            483.   Pursuant to Ind. Code § 24-4.7-3-1, the Office of the Attorney General
22
     quarterly publishes a no telephone sales solicitation listing (“Indiana’s Do Not Call list”).
23
     Consumers place their telephone numbers on Indiana’s Do Not Call list when they do not
24
     want to receive telephone calls soliciting the sale of a consumer good or service, as defined
25
     in Ind. Code § 24-4.7-2-3. The telephone calls described above were “telephone sales calls”
26
     because they were made to solicit the sale of a consumer good or service or to obtain
27
28


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 1   information to be used to solicit the sale of a consumer good or service including, without
 2   limitation, computer support packages.
 3          484.   By making or causing to be made telephone sales calls to consumers residing
 4   in Indiana, the callers are “doing business in Indiana,” as defined by Ind. Code § 24-4.7-2-
 5   5(a), regardless of where the telephone calls originate or where are located. By controlling,
 6   directly or indirectly, one or more persons who made or caused others to make telephone
 7   calls to consumers located in Indiana, the persons are “doing business in Indiana,” as
 8   defined by Ind. Code § 24-4.7-2-5(b), regardless of where the persons are located.
 9          485.   By contacting or attempting to contact subscribers in Indiana by telephone,
10   the callers are “callers,” as defined by Ind. Code § 24-4.7-2-1.7 and § 24-5-14-2. By “doing
11   business in Indiana,” the callers are “telephone solicitors,” as defined by Ind. Code § 24-
12   4.7-2-10.
13          486.   By regularly engaging in or soliciting consumer transactions, whether or not
14   the callers deal directly with consumers, the callers are “suppliers” as defined by Ind. Code
15   § 24-4.7-2-7.7 and § 24-5-0.5-2.
16          487.   Telephone sales calls were made to telephone numbers included on Indiana’s
17   Do Not Call List at the time of the calls. By making or causing others to make telephone
18   sales calls to telephone numbers on Indiana’s Do Not Call List at the time of the calls, the
19   callers committed many violations of the TSCA, Ind. Code § 24-4.7-4-1.
20          488.   As telephone solicitors, suppliers, and callers, the callers may not transfer a
21   live call to one or more persons if the call has been placed to a consumer in violation of the
22   TSCA, Ind. Code 24-4.7 or the Auto-Dialer Act, Ind. Code 24-5-14. Ind. Code § 24-4.7-4-
23   7(c). Upon information and belief, the callers may have transferred live calls to people
24   where the calls had been placed in violation of the TSCA. .
25          489.   Avid Telecom, Lansky, and Reeves violated Ind. Code § 24-4.7-4-7(e) by
26   providing substantial assistance to a telephone solicitor, supplier, or caller.
27
28


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 1          490.   Avid Telecom, Lansky, and Reeves knew or consciously avoided knowing
 2   that the telephone solicitor, supplier, or caller was engaged in a practice that violated Ind.
 3   Code 24-4.7-4.
 4          491.   Avid Telecom’s equipment or services were used for more than the
 5   transportation, handling, or retransmitting of a call.
 6          492.   Each telephone call made to telephone numbers on Indiana’s Do Not Call list
 7   is a violation of Ind. Code § 24-4.7-4-1 and constitutes a deceptive act, as defined by Ind.
 8   Code § 24-4.7-5-1.
 9
10                                           COUNT IX

11    Violations of the Maryland Telephone Consumer Protection Act (the “MTCPA”)

12                           Md. Code Ann., Com. Law § 14-3201, et seq.

13
            493.   Plaintiff, Office of the Maryland Attorney General, incorporates and
14
     realleges each of the paragraphs preceding Count I as if fully set forth herein.
15
            494.   Pursuant to § 14-3201(1) of the MTCPA, no person may violate the
16
     Telemarketing and Consumer Fraud and Abuse Prevention Act, 15 U.S.C. §§ 6101 through
17
     6108, as implemented by the Federal Trade Commission in the Telemarketing Sales Rule
18
     (16 C.F.R. Part 310).
19
            495.   Pursuant to § 14-3201(2) of the MTCPA, no person may violate the
20
     Telephone Consumer Protection Act, 47 U.S.C. § 227, as implemented by the Federal
21
     Communications Commission in the Restrictions on Telemarketing and Telephone
22
     Solicitations Rule (47 C.F.R. Part 64, Subpart L).
23
            496.   As set out in the preceding paragraphs, Defendants have provided substantial
24
     assistance or support, through the provision of Avid Telecom’s services, to one or more
25
     sellers or telemarketers who Defendants knew or should have known were engaged in the
26
     deceptive or abusive telemarketing acts or practices set out in Count I above.
27
28


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 1          497.   As set out in the preceding paragraphs, Defendants originated and/or
 2   transmitted calls from telephone solicitors who Defendants knew or consciously avoided
 3   knowing were violating the Telephone Consumer Protection Act by (1) making telephone
 4   solicitations to numbers on the National Do Not Call Registry; (2) using automatic dialing
 5   and prerecorded messages; and (3) causing misleading information to be transmitted to
 6   users of caller identification technologies or otherwise block or misrepresent the original
 7   source of the call.
 8          498.   As alleged herein, Defendants also violated the TCPA by failing to take
 9   affirmative measures to prevent new and renewing customers from using their network to
10   originate illegal calls, in violation of 47 CFR § 64.1200(n)(3).
11          499.   As alleged herein, Defendants have devised and carried out the above-
12   described business practices knowingly and deliberately.
13          500.   Defendants failed to comply with the requirements of the Telemarketing
14   Sales Rule, as set out in Count I above, in violation of § 14-3201(1) of the MTCPA.
15          501.   Defendants failed to comply with the requirements of the Telephone
16   Consumer Protection Act, as set out in Counts II and III above, in violation of § 14-3201(2)
17   of the MTCPA.
18          502.   Proof of actual harm is not required in an action brought under the MTCPA
19   by the Attorney General.
20          503.   Defendants have originated, facilitated and/or transmitted millions of illegal
21   robocalls in Maryland and are liable for millions of dollars in damages.
22          504.   Each prohibited telephone solicitation and each prohibited practice during a
23   telephone solicitation constitutes a separate violation. See MTCPA, § 14-3202(c),
24          505.   A violation of the MTCPA is an unfair or deceptive trade practice and is
25   subject to the enforcement and penalty provisions contained in Md. Code Ann., Com. Law
26   § 13-401 through § 13-411. See MTCPA, § 14-3202.
27
28


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 1           506.    Pursuant to Md. Code Ann., Com. Law § 13-403(b(1)(i), the Attorney
 2   General may require Defendants to take affirmative action to protect consumers, including
 3   the restitution of money or property.
 4           507.    Pursuant to Md. Code Ann., Com. Law § 13-406, the Attorney General may
 5   seek an injunction to prohibit a person who has engaged or is engaging in a violation of
 6   this title from continuing or engaging in the violation.
 7           508.    Pursuant to Md. Code Ann., Com. Law § 13-409, the Attorney General is
 8   entitled to recover the costs of this action.
 9           509.    Pursuant to Md. Code Ann., Com. Law § 13-410, the Attorney General may
10   seek civil penalties of up to $10,000 for each violation.
11
12                                             COUNT X

13                  Violations of the Nevada Telecommunication Solicitation Act

14                                   Chapter 228.500 to 228.590

15
             510.    Plaintiff State of Nevada incorporates and realleges each of the paragraphs
16
     preceding Count I as if fully set forth herein.
17
             511.    At all times relevant to this complaint, Defendants transmitted 159,576,512
18
     fraudulent robocalls to consumers in Nevada or to consumers with a Nevada based area
19
     code.
20
             512.    The Nevada Telecommunication Solicitation Act (“Act”), Nevada Revised
21
     Statutes (“NRS”) Chapter 228.500 to 228.590, also known as Nevada’s Do Not Call Law,
22
     prohibits telephone solicitors (“telemarketers”) from making unsolicited telephone calls
23
     for the sale of goods or services to a telephone number on Nevada's registry.
24
             513.    Pursuant to NRS 228.620, a violation of Nevada’s Do Not Call Law
25
     constitutes a deceptive trade practice for the purposes of NRS 598.0903 to 598.0999,
26
     inclusive, in violation of the Nevada Deceptive Trade Practices Act (“NDTPA”), NRS
27
     chapter 598.
28


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 1           514.   Under the NDTPA, NRS chapter 598, and in Nevada’s causes of action
 2   herein, the term “knowingly” means the person is aware that the facts exist that constitute
 3   the act or omission.
 4           515.   Defendants’ conduct in transmitting calls, and attendant acts regarding those
 5   calls, violated provisions of the NDTPA, by violating Nevada’s Do Not Call Law.
 6
 7                                           COUNT XI
 8      Violations of the Nevada Law – Devices for Automatic Dialing and Announcing
 9                                       Chapter 597 et seq.
10
11           516.   Plaintiff State of Nevada incorporates and realleges each of the paragraphs
12   preceding Count I as if fully set forth herein.
13           517.   Pursuant to NRS 597.814, a person is prohibited from using a device for
14   automatic dialing and announcing to disseminate a prerecorded message in a telephone
15   call.
16           518.   Pursuant to NRS 597.814, a person is further prohibited from operating a
17   device for automatic dialing and announcing to place a call-back or second call to the same
18   telephone number if the person at the telephone number terminated the original call.
19           519.   NRS 597.818 contains the penalties for violation of NRS 597.814, and in
20   addition to those penalties, constitutes a deceptive trade practice for the purposes of NRS
21   598.0903 to 598.0999, inclusive, in violation of the NDTPA, NRS chapter 598.
22           520.   Under the NDTPA, NRS chapter 598, and in Nevada’s causes of action
23   herein, the term “knowingly” means the person is aware that the facts exist that constitute
24   the act or omission.
25           521.   Defendants’ conduct in transmitting calls, and attendant acts regarding those
26   calls, violated provisions of the NDTPA, by violating the provisions of NRS 597.814 and
27   597.818.
28


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 1                                           COUNT XII
 2       Violations of the Nevada Deceptive Trade Practices Act, Chapter 598 et seq.
 3
 4          522.   Plaintiff State of Nevada incorporates and realleges each of the paragraphs

 5   preceding Count I as if fully set forth herein.

 6          523.   Pursuant to NRS 598.0916, a person engages in a deceptive trade practice

 7   when, in the course of his or her business or occupation, he or she disseminates an

 8   unsolicited prerecorded message to solicit a person to purchase goods or services by

 9   telephone and he or she does not have a preexisting business relationship with the person

10   being called unless a recorded or unrecorded natural voice informs the person who answers

11   the telephone call of the nature of the call, and provides to the person who answers the

12   telephone call the name, address and telephone number of the business or organization, if

13   any, represented by the caller.

14          524.   Defendants’ conduct in transmitting calls, and attendant acts regarding those

15   calls, including, without limitation, disseminating unsolicited prerecorded messages to

16   solicit a person to purchase goods or services by telephone when Defendants did not have

17   a preexisting business relationship with the person being called and/or failed to provide the

18   person with statutory required information at the time the person answered the telephone,

19   violated provisions of the NDTPA, by violating NRS 598.0916.

20          525.   Pursuant to NRS 598.0198(2), a person engages in a deceptive trade practice

21   when, in the course of his or her business or occupation, he or she repeatedly or

22   continuously conducts the solicitation or presentation in a manner that is considered by a

23   reasonable person to be annoying, abusive, or harassing.

24          526.   Defendants’ conduct in transmitting calls, and attendant acts regarding those

25   calls, including, without limitation, repeatedly or continuously conducting the solicitation

26   or presentation in a manner that is considered by a reasonable person to be annoying,

27   abusive, or harassing, violated provisions of the NDTPA, by violating NRS 598.0918(2).

28


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 1          527.   Pursuant to NRS 598.0923(1)(c), a person engages in a deceptive trade
 2   practice when in the course of his or her business or occupation, he or she knowingly
 3   violates a state or federal statute or regulation related to the sale or lease of goods or
 4   services.
 5          528.   Defendants’ conduct in transmitting fraudulent robocalls to consumers in
 6   Nevada is in violation of provisions of federal law, including without limitation, the
 7   Telemarketing Sales Rule, 16 C.F.R. Part 310 via 15 U.S.C. § 6103(a) and provisions of
 8   federal law identified herein.
 9          529.   Defendants knowingly violated the laws set forth in the preceding paragraph
10   because Defendants knew or should have known that the robocalls were in violation of
11   those laws.
12          530.   By transmitting 159,576,512 fraudulent robocalls to consumers in Nevada or
13   to consumers with a Nevada based area code, Defendants knew or should have known that
14   they were violating federal law.
15          531.   Defendants’ conduct in transmitting fraudulent robocalls to consumers in
16   Nevada is in violation of provisions of Nevada State law including, without limitation, the
17   Do Not Call Law, the NDTPA, and other related statutory provisions.
18          532.   Defendants’ conduct in transmitting calls, and attendant acts regarding those
19   calls, violated provisions of the NDTPA, and/or other statutory provisions as alleged
20   herein, by violating provisions of federal law, including without limitation, the
21   Telemarketing Sales Rule, 16 C.F.R. Part 310 via 15 U.S.C. § 6103(a), and/or provisions
22   of Nevada State law including, without limitation, the Do Not Call Law and the NDTPA.
23          533.   Pursuant to NRS 598.0923(1)(e), a person engages in a deceptive trade
24   practice when in the course of his or her business or occupation, he or she knowingly uses
25   an unconscionable practice in a transaction.
26          534.   Defendants took advantage of the lack of knowledge, ability, experience or
27   capacity of Nevada consumers to a grossly unfair degree by transmitting calls, and carrying
28


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 1   out attendant acts regarding those calls as alleged herein, thereby committing an
 2   unconscionable practice in a transaction in violation of NRS 598.0923(1)(e).
 3          535.   Under the NDTPA, NRS chapter 598, and in Nevada’s causes of action
 4   herein, the term “knowingly” means the person is aware that the facts exist that constitute
 5   the act or omission.
 6          536.   Defendants’ violations of the Nevada Do Not Call Law, and/or the NDTPA,
 7   and/or other statutory provisions as alleged herein, are subject to injunctions and/or
 8   restitution and/or civil penalties and/or damages and/or its costs and attorney’s fees
 9   pursuant to NRS 597.818, 598.0963, and 598.0999.
10          537.   Defendants’ violations of the NDTPA are further subject to additional
11   penalties for acts committed against consumers in Nevada over the age of 60 or disabled
12   consumers pursuant to NRS 598.0973.
13
14                                          COUNT XIII

15                    Violations of New York General Business Law § 399-z

16                          Pursuant to New York Executive Law § 63(12)

17
            538.   Plaintiff, the NYAG, incorporates and realleges each of the paragraphs
18
     preceding Count I as if fully set forth herein.
19
            539.   NY Executive Law § 63(12) authorizes the NYAG to obtain an injunction
20
     and other equitable relief whenever any person or entity engages in “repeated fraudulent
21
     or illegal acts or … persistent fraud or illegality in the carrying on, conducting or
22
     transaction of business.”
23
            540.   At all relevant times, Defendants have engaged in the carrying on,
24
     conducting or transaction of business in New York within the meaning of Executive Law
25
     § 63(12).
26
            541.   Defendants have engaged in repeated and persistent illegality by facilitating
27
     illegal calls in violation of GBL § 399-z, specifically:
28


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 1          542.   GBL section 399-z(5), which states that “[n]o telemarketer or seller may
 2   make or cause to be made any unsolicited telemarketing sales call to any customer when
 3   that customer's telephone number has been on the national ‘do-not-call’ registry,
 4   established by the federal trade commission, for a period of thirty-one days prior to the date
 5   the call is made, pursuant to 16 C.F.R. Section 310.4(b)(1)(iii)(B).”
 6          543.   GBL section 399-z(6), which bars telemarketers and sellers from “initiat[ing]
 7   any telemarketing sales call by means of a technology that delivers a pre-recorded message,
 8   unless the telemarketer or seller has obtained from the customer” prior express written
 9   consent.
10          544.   As set out in the preceding paragraphs, Defendants have repeatedly
11   facilitated unsolicited telemarketing sales calls to customers whose telephone numbers
12   were on the national do-not-call registry, and had been for at least 31 days prior to the call
13   being made.
14          545.   As set out in the preceding paragraphs, Defendants have repeatedly provided
15   facilitated the initiation of telemarketing sales calls by means of a technology that delivered
16   pre-recorded messages, without the customers’ prior express written consent.
17          546.   Defendants have therefore engaged in repeated illegal conduct in violation
18   of Executive Law § 63(12).
19
20                                            COUNT XIV

21                   Violations of New York General Business Law § 399-p

22
            547.   Plaintiff, the NYAG, incorporates and realleges each of the paragraphs
23
     preceding Count I as if fully set forth herein.
24
            548.   GBL § 399-p(8) authorizes the NYAG to seek injunctive relief and penalties
25
     whenever there is a violation of GBL § 399-p.
26
27
28


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 1          549.   GBL § 399-p(4) prohibits “operat[ing] an automatic dialing-announcing
 2   device which uses a random or sequential number generator to produce a number to be
 3   called.”
 4          550.   As set out in the preceding paragraphs, Defendants have facilitated sellers or
 5   telemarketers who were operating automatic dialing-announcing devices which used
 6   random or sequential number generators to produce numbers to be called.
 7
                                             COUNT XV
 8
                   Violations of the North Carolina Telephone Solicitations Act
 9
                                N.C. Gen. Stat. §§ 75-100 to 75-105
10
11
            551.   Plaintiff State of North Carolina incorporates and realleges each of the
12
     paragraphs preceding Count I as if fully set forth herein.
13
            552.   The North Carolina Telephone Solicitations Act was enacted to increase
14
     protections for telephone subscribers who wish to stop unwanted telephone solicitations.
15
     S.L. 2003-411, 2003 N.C. Sess. Laws 1190, 1190–91. Such protections include restrictions
16
     regarding: telephone solicitations to telephone subscribers’ numbers on the “Do Not Call”
17
     Registry, see N.C. Gen. Stat. § 75-102(a), (d); unsolicited robocalls, see N.C. Gen. Stat.
18
     § 75-104; and compliance with the requirements of the FTC’s Telemarketing Sales Rule,
19
     see N.C. Gen. Stat. § 75-102(e).
20
            553.   With respect to telephone solicitations to telephone subscribers’ numbers on
21
     the “Do Not Call” Registry, N.C. Gen. Stat. § 75-102(a) provides that, subject to some
22
     exceptions, no telephone solicitor, as the term is defined in N.C. Gen. Stat. § 75-101(10)
23
     and 16 C.F.R. § 310.2(ff), shall make a telephone solicitation to a North Carolina telephone
24
     subscriber’s telephone number if the subscriber’s telephone number appears in the latest
25
     edition of the National DNC Registry.
26
            554.   With respect to unsolicited robocalls, N.C. Gen. Stat. § 75-104 provides that,
27
     subject to some exceptions, no person may use an automatic dialing and recorded message
28


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 1   player—defined in relevant part in N.C. Gen. Stat. § 75-101(2) as any automatic equipment
 2   that incorporates a storage capability of telephone numbers to be called that, working alone
 3   or in conjunction with other equipment, disseminates a prerecorded message to the
 4   telephone number called—to make an unsolicited telephone call. One of those exceptions
 5   allows a person to make such calls if prior to the playing of the recorded message a live
 6   operator, among other things, states the nature and length in minutes of the recorded
 7   message, and asks for and receives prior approval to play the recorded message from the
 8   person receiving the call.
 9          555.   With respect to compliance with the requirements of the FTC’s
10   Telemarketing Sales Rule, N.C. Gen. Stat. § 75-102(e) provides that no telephone solicitor
11   shall violate any requirement of section 310.3 of the Telemarketing Sales Rule (Deceptive
12   telemarketing acts or practices), section 310.4 of the Telemarketing Sales Rule (Abusive
13   telemarketing acts or practices), and section 310.5 of the Telemarketing Sales Rule (Record
14   keeping requirements), 16 C.F.R. §§ 310.3 through 310.5.
15          556.   Defendants Avid Telecom, Lansky, and Reeves made, initiated, and/or
16   transmitted calls from telephone solicitors who Defendants knew or consciously avoided
17   knowing were violating the North Carolina Telephone Solicitations Act by:
18                 a.     making telephone solicitations in violation of N.C. Gen. Stat. § 75-
19                        102(a) to the telephone numbers of North Carolina telephone
20                        subscribers when those numbers were in the pertinent edition of the
21                        National DNC Registry;
22                 b.     using automatic dialing and recorded message players defined in N.C.
23                        Gen. Stat. § 75-101(2) in violation of N.C. Gen. Stat. § 75-104 to
24                        make unsolicited telephone calls to North Carolina telephone
25                        subscribers without, among other things, first having live operators
26                        inform the telephone subscribers of the nature and length of the
27                        recorded message and asking for and obtaining permission to play the
28                        message from the person receiving the call, and otherwise not


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 1                        complying with any of the exceptions set forth in N.C. Gen. Stat. §
 2                        75-104; and
 3                 c.     failing to comply with the requirements of the Telemarketing Sales
 4                        Rule, as set out in the TSR Counts above, in violation of N.C. Gen.
 5                        Stat. § 75-102(e).
 6
 7          557.   Defendants willfully engaged in the actions and practices described above.

 8
                                            COUNT XVI
 9
            Violations of North Carolina’s Unfair or Deceptive Trade Practices Act
10
                                 N.C. Gen. Stat. §§ 75-1.1, et seq.
11
12          558.   Plaintiff State of North Carolina incorporates and realleges each of the
13   paragraphs preceding Count I as if fully set forth herein.
14          559.   N.C. Gen. Stat. § 75-1.1 prohibits “unfair or deceptive acts or practices in or
15   affecting commerce.”
16          560.   Under N.C. Gen. Stat. § 75-1.1, a practice or act is deceptive if it has the
17   capacity or tendency to deceive; proof of actual deception is not required.
18          561.   Acts or practices are unfair under N.C. Gen. Stat. § 75-1.1 when they offend
19   established public policy, as well as when the practice is immoral, unethical, oppressive,
20   unscrupulous, or substantially injurious to consumers.
21          562.   Proof of actual harm is not required in an action brought under N.C. Gen.
22   Stat. § 75-1.1 by the North Carolina Attorney General.
23          563.   Defendants’ acts or practices enumerated in the foregoing paragraphs have
24   been in or affecting commerce.
25          564.   As alleged herein, the calls that Defendants made, initiated, and/or
26   transmitted across the U.S. telephone network possessed the tendency or capacity to
27   mislead or created the likelihood of deception.
28


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 1          565.   Defendants’ acts or practices enumerated in the foregoing paragraphs are
 2   offensive to established North Carolina public policy, as well as immoral, unethical,
 3   oppressive, unscrupulous, and substantially injurious to North Carolina consumers across
 4   the State.
 5          566.   As alleged herein, Defendants have devised and carried out the above
 6   described business practices knowingly and deliberately.
 7          567.   As set out in preceding paragraphs, in numerous instances, Defendants have
 8   provided substantial assistance or support, through the provision of Avid Telecom’s
 9   services, to one or more sellers or telemarketers who Defendants knew or should have
10   known were engaged in the deceptive or abusive telemarketing acts or practices set out in
11   the TSR Counts above.
12          568.   Defendants’ acts or practices enumerated in the paragraphs above were
13   deceptive telemarketing acts or practices in violation of the TSR. 16 C.F.R. § 310.3(b).
14          569.   Pursuant to Section 3(c) of the Telemarketing Act, 15 U.S.C. § 6102(c), and
15   Section 18(d)(3) of the FTC Act, 15 U.S.C. § 57a(d)(3), a violation of the TSR constitutes
16   an unfair or deceptive act or practice in or affecting commerce, in violation of Section 5(a)
17   of the FTC Act, 15 U.S.C. § 45(a).
18          570.   Defendants’ acts or practices that are unfair or deceptive trade practices
19   under the TSR are also deceptive or misleading and constitute unfair or deceptive trade
20   practices prohibited by N.C. Gen. Stat. § 75-1.1 and are violations of North Carolina’s
21   Unfair or Deceptive Trade Practices Act.
22          571.   Plaintiff alleges that the acts, practices, representations and omissions of
23   Defendants described herein violate the prohibition against unfair or deceptive business
24   practices found in Section 75-1.1 of the North Carolina General Statutes.
25
26
27
28


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 1                                          COUNT XVII
 2       North Dakota – Violations of the Unlawful Sales or Advertising Practices law
 3                         N.D.C.C. ch. 51-15 – Facilitating and Assisting
 4
 5          572.   Plaintiff State of North Dakota incorporates and realleges each of the

 6   paragraphs preceding Count I as if fully set forth herein.

 7          573.   With respect to telephone solicitations to telephone subscribers’ numbers on

 8   the “Do Not Call” Registry, the North Dakota Telephone Solicitations Act, N.D.C.C. § 51-

 9   28-06, provides that “[a] caller may not make or cause to be made any telephone solicitation

10   to the telephone line of any subscriber in this state who, for at least thirty-one days before

11   the date the call is made, has been on the … national do-not-call registry… .”

12          574.   With respect to unsolicited robocalls using prerecorded messages, North

13   Dakota Telephone Solicitations Act, N.D.C.C. § 51-28-02, provides that “[a] caller may

14   not use or connect to a telephone line an automatic dialing-announcing device or deliver a

15   prerecorded or synthesized voice message to a subscriber unless the subscriber has

16   knowingly requested, consented to, permitted, or authorized receipt of the message or the

17   message is immediately preceded by a live operator who obtains the subscriber's consent

18   before the message is delivered.”

19          575.   Pursuant to N.D.C.C. § 51-28-17, a violation of N.D.C.C. ch. 51-28

20   constitutes a violation of North Dakota’s Unlawful Sales or Advertising Practices law,

21   N.D.C.C. ch. 51-15.

22          576.   N.D.C.C. § 51-15-02, prohibits the “act, use, or employment by any person

23   of any deceptive act or practice, fraud, false pretense, false promise, or misrepresentation,

24   with the intent that others rely thereon in connection with the sale or advertisement of any

25   merchandise,” regardless of whether a person has been misled, damaged, or deceived by

26   the deceptive conduct.

27          577.   Pursuant to N.D.C.C. § 51-15-02.3 it is a deceptive act or practice “for any

28   person to provide assistance or support to any person engaged in any act or practice in


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 1   violation of … [N.D.C.C. ch. 51-15] when the person providing assistance or support
 2   knows or consciously avoids knowing that the other person is engaged in an act or practice
 3   in violation of … [N.D.C.C. ch. 51-15].”
 4         578.   Defendants Avid Telecom, Lansky, and Reeves engaged in violations of
 5   N.D.C.C. § 51-15-02.3 by providing assistance or support, through the provision of
 6   merchandise or services, to one or more callers who Defendants knew or consciously
 7   avoided knowing were engaged in violations of the North Dakota Telephone Solicitations
 8   Act, N.D.C.C. chapter 51-28, and Unlawful Sales or Advertising Practices law, N.D.C.C.
 9   chapter 51-15.
10         579.   Defendants Avid Telecom, Lansky, and Reeves engaged in violations of
11   N.D.C.C. § 51-15-02.3 by originating and/or transmitting calls from one or more callers
12   who Defendants knew or consciously avoided knowing were engaged in violations of the
13   North Dakota Telephone Solicitations Act, N.D.C.C. chapter 51-28, and Unlawful Sales or
14   Advertising Practices law, N.D.C.C. chapter 51-15.
15         580.   Defendants assisted or supported unlawful robocalls to North Dakota
16   subscribers, which robocalls violated N.D.C.C. chs. 51-28 and 51-15 by:
17                a.     making telephone solicitations to the telephone line of any subscriber
18                       in the state of North Dakota who, for at least thirty-one days before
19                       the date the call is made, has been on the national do-not-call registry;
20                b.     making misrepresentations regarding merchandise offered with the
21                       intent that others rely on the misrepresentations made;
22                c.     making misrepresentations regarding the seller or caller’s affiliation
23                       with corporations or government entities; and
24                d.     using or connecting an automatic dialing-announcing device or
25                       delivering a prerecorded or synthetic voice message to make
26                       unsolicited calls to subscribers in the state of North Dakota without
27                       first having live operators obtain the subscriber's consent before the
28


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 1                        message is delivered, and otherwise not complying with any of the
 2                        exceptions set forth in N.D.C.C. § 51-28-02.
 3
 4          581.    Under N.D.C.C. § 51-28-19, each telephone solicitation or message

 5   constitutes a separate violation and, pursuant to N.D.C.C. §§ 51-28-13 and 51-28-17, North

 6   Dakota is entitled to relief under N.D.C.C. § 51-15-02.3 for each violation of N.D.C.C. §§

 7   51-15-02, 51-28-02, or 51-28-06 that Defendants assisted or supported.

 8
 9                                         COUNT XVIII
10       North Dakota – Violations of the Unlawful Sales or Advertising Practices law
11                  N.D.C.C. ch. 51-15 – Deceptive or Unconscionable practices
12
13          582.    Plaintiff State of North Dakota incorporates and realleges each of the

14   paragraphs preceding Count I as if fully set forth herein.

15          583.    N.D.C.C. § 51-15-02, prohibits the “act, use, or employment by any person

16   of any deceptive act or practice, fraud, false pretense, false promise, or misrepresentation,

17   with the intent that others rely thereon in connection with the sale or advertisement of any

18   merchandise,” regardless of whether a person has been misled, damaged, or deceived by

19   the deceptive conduct.

20          584.    N.D.C.C. § 51-15-02 prohibits the “act, use, or employment by any person

21   of any act or practice, in connection with the sale or advertisement of any merchandise,

22   which is unconscionable or which causes or is likely to cause substantial injury to a person

23   which is not reasonably avoidable by the injured person and not outweighed by

24   countervailing benefits to consumers or to competition.”

25          585.    Defendants Avid Telecom, Lansky, and Reeves originated, routed, or

26   transmitted illegal robocalls across the U.S. telephone network to millions of telephone

27   subscribers.

28


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 1          586.    Defendants Avid Telecom, Lansky, and Reeves provided support and
 2   services to Avid Telecom’s customers engaged in unlawful conduct, including retail or
 3   wholesale voice termination, dialing software, including a predictive dialer, help with DID
 4   rotation, DID assignment, call leads, and expertise, or directly participated in Avid
 5   Telecom’s customers’ unlawful acts or practices.
 6          587.    Defendants Avid Telecom, Lansky, and Reeves assisted and facilitated Avid
 7   Telecom’s customers’ attempts to circumvent legal and regulatory protections for
 8   consumers.
 9          588.    Defendants’ conduct, as described herein, offends public policy, as embodied
10   in federal and state law, and is immoral, unethical, oppressive, unscrupulous, or
11   substantially injurious to consumers.
12          589.    The robocall traffic Defendants transmit and support causes injury, or is
13   likely to cause substantial injury, to persons, which injury is not reasonably avoidable by
14   the injured person and not outweighed by countervailing benefits to consumers or to
15   competition.
16          590.    Defendants Avid Telecom, Lansky, and Reeves’ acts or practices, as
17   described herein, are deceptive, unconscionable, or causes or is likely to cause substantial
18   injury to a person which is not reasonably avoidable by the injured person and not
19   outweighed by countervailing benefits to consumers or to competition, in violation of
20   North Dakota’s Unlawful Sales or Advertising Practices law, N.D.C.C., § 51-15-02.
21
                                             COUNT XIX
22
               Rhode Island – Violations of the Telephone Sales Solicitation Act
23
                                   R I Gen. Laws § 5-61-1, et seq.
24
25
            591.    Plaintiff State of Rhode Island incorporates and realleges each of the
26
     paragraphs preceding Count I as if fully set forth herein.
27
28


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 1          592.     The Rhode Island Telephone Sales Solicitation Act (“TSSA”), § 5-61-1, et
 2   seq., regulates telephone solicitations and prohibits the use of prerecorded or synthesized
 3   messages in almost every instance.
 4          593.     The Rhode Island Office of the Attorney General has the authority to institute
 5   legal proceedings to prevent and restrain violations of the TSSA and the statute allows
 6   courts to grant injunctive relief sufficient to prevent and restrain violations of the TSSA.
 7   R.I. Gen Law § 5-61-5.1. Any person, firm, or corporation who violates the TSSA is also
 8   liable for a civil penalty up to $10,000 for each violation. Id. at 5.1(g).
 9          594.     Prior to doing business in Rhode Island, every telephonic seller must register
10   with the Attorney General and file a surety bond, irrevocable letter of credit, or certificate
11   of deposit (collectively, a “security”) worth at least $30,000.
12          595.     Additionally, telephonic sellers shall not use prerecorded or synthesized
13   voice messages to make calls into or within the state (except for messages from school
14   districts or from employers advising their employees of work schedules). R.I. Gen. Laws
15   § 5-61-3.4.
16          596.     Lastly, no salesperson or telephonic seller shall make, or cause to be made,
17   any unsolicited telephonic sales calls unless the salesperson or telephonic seller has
18   instituted procedures for maintaining a list of persons who do not wish to receive telephonic
19   sales calls, in compliance with federal law. R.I. Gen. Laws § 5-61-3.5.
20          597.     Avid Telekom, Lansky, and Reeves repeatedly facilitated and caused
21   violations of the TSSA in support of their telephonic seller customers when they, among
22   other things:
23                   a.     Routed telephone solicitations from unregistered telephonic sellers to
24                          Rhode Islanders;
25                   b.     Routed telephone solicitations with pre-recorded messages to Rhode
26                          Islanders;
27                   c.     Provided telephonic seller customers with Rhode Islanders’ telephone
28                          numbers who were then targeted for pre-recorded calls;


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 1                   d.    Routed telephone solicitations from telephonic seller customers to
 2                         Rhode Islanders whose numbers they knew were targeted on the
 3                         National DNC Registry.
 4
 5          598.     Therefore, the Court may impose appropriate equitable relief preventing

 6   Avid Telekom, Lansky, and Reeves from engaged in these acts and practices.

 7
                                             COUNT XX
 8
                   Rhode Island – Violations of the Deceptive Trade Practices Act
 9
                                  R. I. Gen. Laws § 6-13.1-1, et seq.
10
11
            599.     Plaintiff State of Rhode Island incorporates and realleges each of the
12
     paragraphs preceding Count I as if fully set forth herein.
13
            600.     The Rhode Island Deceptive Trade Practices Act (“RI DTPA”) makes the
14
     employment of unfair methods of competition and unfair and deceptive acts or practices in
15
     the conduct of any trade or commerce unlawful. R.I. Gen. Laws § 6-13.1-2.
16
            601.     Unfair methods of competition and unfair and deceptive acts or practices
17
     include, among other things, “conduct that [] creates a likelihood of confusion or of
18
     misunderstanding,” “any act or practice that is unfair or deceptive to the consumer,” and
19
     “any other methods, acts, or practices that mislead or deceive members of the public in a
20
     material respect.” R.I. Gen. Laws § 6-13.1-1(6)(xii), (xiii), and (xiv).
21
            602.     Any person, firm, or corporation who violates the RI DTPA is also liable for
22
     a civil penalty up to $10,000 for each violation. R.I. Gen. Laws § 6-13.1-8.
23
            603.     Defendants’ acts or practices enumerated in the foregoing paragraphs have
24
     been in the conduct of any trade or commerce in Rhode Island.
25
            604.     As alleged herein, the calls that Defendants originated and/or transmitted
26
     across the U.S. telephone network violated the TSSA and possessed the tendency or
27
     capacity to mislead, deceive, and/or create a likelihood of confusion or misunderstanding.
28


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 1   Similarly, as described above, Defendants directly participated in these misleading,
 2   deceptive, and/or confusing acts and practices by supporting and servicing Avid Telecom’s
 3   customers by, for example, providing them with DIDs, providing them with Rhode
 4   Islanders to target, and assisting them as they attempt to circumvent legal and regulatory
 5   protections for consumers.
 6          605.   Defendants’ acts or practices enumerated above were likewise a violation of
 7   public policy, embodied in federal and state law and regulation including the TSR, 16
 8   C.F.R. § 310.3(b). These practices are also immoral, unethical, oppressive, unscrupulous,
 9   and substantially injurious to Rhode Island consumers.
10          606.   Plaintiff alleges that the acts, practices, representations, and omissions of
11   Defendants described herein, pursuant to R.I. Gen. Laws § 6-13.1-2 and § 6-13.1-5, violate
12   the prohibition against unfair or deceptive trade practices found in RI DTPA.
13
14                                          COUNT XXI

15       Violation of the Washington State Consumer Protection Act, RCW 19.86.020

16
            607.   Plaintiff State of Washington incorporates and realleges each of the
17
     paragraphs preceding Count I as if fully set forth herein.
18
            608.   Pursuant to the Consumer Protection Act (CPA), RCW 19.86.020, “[u]nfair
19
     or deceptive acts or practices in the conduct of any trade or commerce are hereby declared
20
     unlawful.”
21
            609.   At all relevant times while directing calls to Washington State that included
22
     alleged offers to sell goods or services, Defendants engaged in “trade” or “commerce”
23
     within the meaning of the Consumer Protection Act, RCW 19.86.010(2).
24
            610.   As alleged herein, the calls that Defendants originated and/or transmitted
25
     across the U.S. telephone network possessed the tendency or capacity to mislead or created
26
     the likelihood of deception.
27
28


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 1             611.   Pursuant to Section 3(c) of the Telemarketing Act, 15 U.S.C. § 6102(c), and
 2   Section 18(d)(3) of the FTC Act, 15 U.S.C. § 57a(d)(3), a violation of the TSR constitutes
 3   an unfair or deceptive act or practice in or affecting commerce, in violation of Section 5(a)
 4   of the FTC Act, 15 U.S.C. § 45(a).
 5             612.   Defendants’ acts or practices that are unfair or deceptive under the TSR and
 6   FTC Act are also unfair or deceptive practices prohibited by RCW 19.86.020 and are
 7   violations of Washington CPA.
 8             613.   As set out in preceding paragraphs, in numerous instances, Defendants have
 9   provided substantial assistance or support, through the provision of Avid Telecom’s
10   services, to one or more sellers or telemarketers who Defendants knew or should have
11   known were engaged in the deceptive or abusive telemarketing acts or practices set out in
12   in the TSR Counts above.
13             614.   As alleged herein, Defendants directed, controlled, had the authority to
14   control, with knowledge approved of, and participated in the business practices described
15   herein.
16             615.   Defendants’ unfair practices have impacted the public interest and is likely
17   to continue without relief from this Court.
18             616.   Based on the above unfair acts and practices, Plaintiff State of Washington
19   is entitled to relief under the CPA including injunctive relief and restitution pursuant to
20   RCW 19.86.080, civil penalties pursuant to RCW 19.86.140 for each and every violation
21   of RCW 19.86.020, and reimbursement of the costs of this action, including reasonable
22   attorneys’ fees, pursuant to RCW 19.86.080.
23
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26
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28


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 1                                          COUNT XXII
 2              Knowingly Assisting Violations of Telephone Solicitations Rules
 3                               Wis. Admin. Code § ATCP 127.20
 4
 5          617.   Plaintiff State of Wisconsin incorporates and realleges each of the paragraphs

 6   preceding Count I as if fully set forth herein.

 7          618.   Many of the robocalls that were transited through Avid Telecom’s network

 8   were “telephone solicitations” under Wis. Admin. Code § ATCP 127.02(3) and were

 9   created and initiated by “sellers” within the scope of Wis. Admin. Code § ATCP

10   127.01(21).

11          619.   Pursuant to Wis. Admin. Code § ATCP 127.20, no person may knowingly

12   assist any seller to engage in any activity or practice in violation of Subchapter II -

13   Telephone Solicitations, Wis. Admin. Code § ATCP ch.127 (“Subchapter II”).

14          620.   Defendants violated Wis. Admin. Code § ATCP 127.20 by knowingly

15   assisting, through its VoIP provider services, sellers who Defendants knew were engaged

16   in activities or practices which violated Subchapter II.

17          621.   Defendants knowingly assisted sellers who made telephone solicitations that

18   violated Wis. Admin. Code § ATCP 127.04 when the sellers failed to disclose in a

19   telephone solicitation:

20                 a.      the name of the principal seller, Wis. Admin. Code § ATCP
21                         127.04(1)(a); and/or
22                 b.      the nature of the goods or services which the seller was offering or
23                         promoting. Wis. Admin. Code § ATCP 127.04(1)(d).
24
25          622.   Defendants knowingly assisted sellers who made telephone solicitations that

26   violated Wis. Admin. Code § ATCP 127.14 when, in the course of a telephone transaction,

27   the seller directly or impliedly:

28


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 1                 a.     misrepresented the seller’s identity, affiliation, location, or
 2                        characteristics, Wis. Admin. Code § ATCP 127.14(1);
 3                 b.     misrepresented the nature, quantity, material characteristics,
 4                        performance, or efficacy of the goods or services offered or promoted
 5                        by the seller, Wis. Admin. Code § ATCP 127.14(5);
 6                 c.     misrepresented that the seller is affiliated with, or endorsed by, any
 7                        government or 3rd party organization, Wis. Admin. Code § ATCP
 8                        127.14(9); and/or
 9                 d.     made false, deceptive, or misleading representations to a consumer,
10                        Wis. Admin. Code § ATCP 127.14(15).
11
12          623.   Defendants knowingly assisted sellers who initiated telephone solicitations

13   to consumers before 8:00 AM or after 9:00 PM without the prior consent of the consumers

14   in violation of Wis. Admin. Code § ATCP 127.16(3).

15          624.   Defendants violated Wis. Admin. Code § ATCP 127.20 each time a seller,

16   knowingly assisted by Defendants, violated Wis. Admin. Code §§ ATCP 127.04, 127.14,

17   and/or 127.16(3).

18
                                           COUNT XXIII
19
                   Knowingly Facilitating Violations of Telephone Solicitations
20
                   Do-Not-Call Rules. Wis. Admin. Code § ATCP 127.83(2)(d)
21
22
            625.   Plaintiff State of Wisconsin incorporates and realleges each of the paragraphs
23
     preceding Count I as if fully set forth herein.
24
            626.   Pursuant to Wis. Admin. Code § ATCP 127.83(2)(d), no person may require,
25
     instruct, or authorize any person to violate Subchapter V - Telephone Solicitations; State
26
     Do-Not-Call Registry, Wis. Admin. Code § ATCP ch.127 (“Subchapter V”), or knowingly
27
     facilitate any person’s violation of this subchapter.
28


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 1          627.   Defendants violated Wis. Admin. Code § ATCP 127.83(2)(d) by knowingly
 2   facilitating, through its VoIP provider services, persons who Defendants knew were
 3   engaged in violations of Subchapter V.
 4          628.   Defendants knowingly facilitated persons who violated Wis. Admin. Code §
 5   ATCP 127.82(2) when the persons made telephone solicitations, either directly or through
 6   an employee or agent, to covered telephone customers whose telephone numbers then
 7   appeared on the state do-not-call registry.
 8          629.   Defendants knowingly facilitated persons who violated Wis. Admin. Code §
 9   ATCP 127.83(2)(b) when the persons used electronically prerecorded messages in
10   telephone calls for the purpose of encouraging a covered or noncovered telephone customer
11   to purchase property, goods, or services, without first obtaining a written agreement that
12   contains the telephone number and signature of the customer to be called, where the
13   agreement discloses in writing that the customer is not required to sign the agreement as a
14   condition of making a purchase and, by signing the agreement, the customer authorizes
15   telemarketing calls from that person, and where the provisions of Wis. Admin. Code §§
16   ATCP 127.80(10)(a) or (b) do not apply.
17          630.   Defendants violated Wis. Admin. Code § ATCP 127.83(2)(d) each time a
18   person, knowingly facilitated by Defendants, violated Wis. Admin. Code § ATCP
19   127.82(2) and/or 127.83(2)(b).
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 1                                    PRAYER FOR RELIEF
 2          WHEREFORE, Plaintiffs request that this Honorable Court:
 3          1.     Enter judgment in favor of Plaintiffs and against Defendants for the
 4   violations as alleged herein pursuant to federal and state laws;
 5          2.     Enter a permanent injunction pursuant to federal and state laws to prevent
 6   Defendants from making, initiating, and/or transmitting illegal robocalls to consumers in
 7   the United States;
 8          3.     Temporarily and permanently enjoin Defendants from transmitting calls
 9   which violate the TSR as described herein;
10          4.     Award damages, restitution or other compensation on behalf of residents of
11   the respective Plaintiffs’ respective jurisdictions for telephone calls transmitted by
12   Defendants which violate the TSR as described herein;
13          5.     Award civil penalties, attorney’s fees, and costs against Defendants as
14   authorized by law;
15          6.     Award Plaintiffs damages of not more than $1,500 per violation of 47 C.F.R.
16   § 64.1200(n)(3);
17          7.     Award Plaintiffs damages of not more than $1,500 per violation of 47 U.S.C.
18   § 227(b)(1)(A)(iii);
19          8.     Award Plaintiffs damages of not more than $1,500 per violation of 47 U.S.C.
20   § 227(b)(1)(B);
21          9.     Award Plaintiffs damages of not more than $1,500 per violation of 47 C.F.R.
22   § 64.1200(c)(2);
23          10.    Award Plaintiffs civil penalties not to exceed $10,000 for each violation of
24   47 U.S.C. § 227(e)(1), or 3 times that amount for each day of a continuing violation;
25          11.    Grant such other legal or equitable relief as this Honorable Court deems just
26   and proper, including, but not limited to, a forfeiture of the right to conduct business.
27          12.    With respect to the state law claims set forth by the following Plaintiffs:
28   People of the State of California; Office of the Attorney General, State of Florida,


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 1   Department of Legal Affairs; State of Indiana; Office of the Maryland Attorney General;
 2   State of Nevada; People of the State of New York, by Letitia James, Attorney General of
 3   the State of New York; State of North Carolina; State of North Dakota, ex rel. Drew H.
 4   Wrigley, Attorney General; State of Rhode Island; State of Washington; and State of
 5   Wisconsin:
 6                a.     Enter judgment against the Defendants and in favor of each of the
 7                       Plaintiff States and/or Offices of Attorney General, for each violation
 8                       alleged in this Complaint, or which may be shown through discovery
 9                       and proven at trial in this matter;
10                b.     Find, adjudge, and/or decree that Defendants have engaged in and/or
11                       are engaging in trade or commerce within the meaning of the
12                       applicable laws generally set forth in paragraph 9 of this Complaint;
13                c.     Find, adjudge, and/or decree that Defendants have violated applicable
14                       state law, as generally set forth in paragraph 9 of this Complaint, by
15                       engaging in the unlawful acts or practices alleged herein;
16                d.     Consistent with subparagraph (c) above, preliminarily and
17                       permanently enjoin the Defendants from engaging in the unfair,
18                       unconscionable, or deceptive acts or practices alleged herein and
19                       made unlawful by each State’s law as generally set forth in paragraph
20                       9 above, including, but not limited to, transmitting calls to consumers
21                       or persons that violate the TCPA, TSR, the applicable state laws
22                       generally set forth in paragraph 9 of this Complaint, and/or are
23                       otherwise unfair, unconscionable, or deceptive;
24                e.     In accordance with each State’s law, where applicable, as generally
25                       set forth in paragraph 9 of this Complaint and/or as established by
26                       each State’s common law, order Defendants to pay full restitution to
27                       affected consumers or persons who have been harmed by Defendants’
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 1                       violations of those applicable laws generally set forth in paragraph 9
 2                       of this Complaint59;
 3                f.     In accordance with each State’s law, as generally set forth in
 4                       paragraph 9 of this Complaint and/or as established by each State’s
 5                       common law, order Defendants to disgorge and pay to Plaintiff States
 6                       and/or Offices of Attorney General, all monies obtained through the
 7                       violation of the applicable laws alleged herein, and generally set forth
 8                       in paragraph 9 of this Complaint60;
 9                g.     In accordance with each State’s law, as generally set forth in
10                       paragraph 9 of this Complaint and/or as established by each State’s
11                       common law, order Defendants to pay Plaintiff States and/or Offices
12                       of Attorney General reasonable attorneys’ fees and costs incurred in
13                       connection with the investigation and litigation of this matter61;
14                h.     Grant any other relief that may be appropriate under 15 U.S.C. §
15                       6103(a); and
16                i.     Grant such other legal or equitable relief as this Honorable Court
17                       deems just and proper.
18
19   59
       California Business & Professions Code § 17203; Florida Statutes § 501.207; Md. Code
     Ann., Com. Law §§ 13-403 and 13-406; Nevada Revised Statutes § 598.0975; N.C. Gen.
20
     Stat. §§ 75-14, 75-15.1; North Dakota Century Code § 51-15-07; R.I. Gen. Laws § 5-6-61-
21   5.1, et seq.; R.I. Gen. Laws § 6-13.1-5.2, et seq.; Revised Code Washington § 19.86.080;
     Wis. Stat. § 100.20(6).
22
     60
       California Business & Professions Code § 17203; Florida Statutes § 501.207; Indiana
23   Code § 24-4.7-5-2(a)(3); Md. Code Ann., Com. Law §§ 13-403 and 13-406; N.C. Gen.
24   Stat. §§ 75-14, 75-15.1; North Dakota Century Code § 51-15-07; R.I. Gen. Laws § 5-6-61-
     5.1, et seq.; R.I. Gen. Laws § 6-13.1-5.2, et seq.
25   61
       Florida Statutes §§ 501.2075 and 501.2077; Ind. Code § 24-4.7-5-2(a)(4-6); Md. Code
26   Ann., Com. Law § 13-409; Nevada Rules of Civil Procedure 54 and Nevada Revised
     Statutes § 598.0999(2); N.C. Gen. Stat. § 75-16.1; North Dakota Century Code § 51-15-
27
     10; R.I. Gen. Laws § 5-6-61-5.1, et seq.; R.I. Gen. Laws § 6-13.1-5.2, et seq.; Revised
28   Code Washington § 19.86.080; Wis. Stat. §§ 93.20(2) and 100.263.


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 1          13.    For the Plaintiff the People of the State of California:
 2                 a.     Access civil penalties of $2,500 against each Defendant for each
 3                        violation of California Business and Professions Code section 17200,
 4                        under the authority of California Business and Professions Code
 5                        section 17206; and
 6                 b.     Assess additional civil penalties of $2,500 against each Defendant for
 7                        each violation of Business and Professions Code section 17200
 8                        perpetrated against a senior citizen or disabled person, under the
 9                        authority of Business and Professions Code section 17206.1.
10          14.    For the Plaintiff Office of the Attorney General, State of Florida, Department
11   of Legal Affairs:
12                 a.     Award civil penalties of not more than $10,000 per willful violation
13                        of §501.204, Florida Statutes, and reasonable attorney’s fees and costs
14                        as permitted by §501.2075, Florida Statutes; and
15                 b.     Award civil penalties of not more than $15,000 for each willful
16                        violation of Chapter 501, Part II, Florida Statutes which victimizes or
17                        attempts to victimize a senior citizen or a person who has a disability
18                        as permitted by §501.2077, Florida Statutes.
19          15.    For the Plaintiff State of Indiana:
20                 a.     Order the Defendants to pay civil penalties up to $10,000 for the first
21                        violation, and up to $25,000 for each violation after the first violation
22                        of Ind. Code § 24-4.7-4. Ind. Code § 24-4.7-5-2(a)(2).
23                 b.     For purposes of Ind. Code § 24-4.7-5-2(a)(2), each telephone call in
24                        violation of Ind. Code § 24-4.7-4 is a separate violation.
25          16.    For the Plaintiff the Maryland Office of the Attorney General:
26                 a.     Enter an order pursuant to Md. Code Ann., Com. Law §§ 13-410 and
27                        14-3202 requiring Defendants to pay Plaintiff, Maryland Office of the
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 1                       Attorney General, civil penalties of $10,000 for each violation in this
 2                       matter.
 3         17.    For the Plaintiff State of Nevada:
 4                a.     Pursuant to the Nevada Rules of Civil Procedure (NRCP) 8, order
 5                       Defendants to pay damages in excess of $15,000;
 6                b.     Pursuant to NRS 598.0999(2), order Defendants to pay civil penalties
 7                       in the amount of $5,000 for each and every violation of the Nevada
 8                       Deceptive Trade Practices Act as alleged herein;
 9                c.     Pursuant to NRS 597.818, order Defendants to pay civil penalties in
10                       the amount of $10,000 for each and every violation of NRS 597.814,
11                       and pursuant to NRS 598.0999(2), pay civil penalties in the amount
12                       of $5,000 for each and every violation of NRS 597.814.; and
13                d.     Pursuant to NRS 598.0973, order Defendants to pay civil penalties in
14                       the amount of $12,500 for each violation committed against an elderly
15                       person or a person with a disability.
16         18.    For the Plaintiff People of the State of New York, by Letitia James, Attorney
17   General of the State of New York:
18                a.     Direct Defendants to pay a civil penalty of $2,000 to the State of New
19                       York for each violation of GBL § 399-p(4), pursuant to GBL § 399-
20                       p(8);
21                b.     Direct Defendants to pay a civil penalty of $11,000 to the State of
22                       New York for each violation of GBL § 399-z, pursuant to GBL § 399-
23                       z(14)(a); and,
24                c.     Award Plaintiff, the State of New York, costs plus an additional
25                       allowance of $2,000.
26         19.    For the Plaintiff State of North Carolina:
27                a.     Enter an order imposing civil penalties pursuant to N.C. Gen. Stat. §
28                       75-105(a)(1) for violations of N.C. Gen. Stat. §§ 75-102 and/or 75-


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 1                      104, in the amounts of five hundred dollars ($500) for each
 2                      Defendant’s first violation, one thousand dollars ($1,000) for a
 3                      Defendant’s second violation, and five thousand dollars ($5,000) for
 4                      each Defendant’s third and subsequent violations occurring within
 5                      two years of its first violation;
 6               b.     Enter an order pursuant to N.C. Gen. Stat. § 75-105(d) finding
 7                      Defendants willfully engaged in violations of N.C. Gen. Stat. §§ 75-
 8                      102 and/or 75-104 and awarding the State of North Carolina
 9                      reasonable attorneys’ fees; and
10               c.     Enter an order imposing civil penalties of up to $5,000.00 for each of
11                      Defendants’ acts or practices that were knowingly violative of North
12                      Carolina’s Unfair or Deceptive Trade Practices Act, pursuant to N.C.
13                      Gen. Stat. § 75-15.2.
14         20.   For the Plaintiff State of North Dakota, ex rel. Drew H. Wrigley, Attorney
15   General
16               a.     Order Defendants to pay civil penalties of up to $5,000.00 for each
17                      violation of N.D.C.C. ch. 51-15, pursuant to N.D.C.C. § 51-15-11.
18         21.   For the Plaintiff State of Rhode Island:
19               a.     Order Defendants to pay civil penalties of up to $10,000.00 per
20                      violation of the RI Deceptive Trade Practices Act, RI Gen Laws § 6-
21                      13.1-1 et seq.
22         22.   For the Plaintiff State of Washington:
23               a.     That the Court assess civil penalties, pursuant to RCW 19.86.140,
24                      against Defendants for each violation of RCW 19.86.020 caused by
25                      the conduct complained of herein.
26         23.   For the Plaintiff State of Wisconsin:
27               a.     Pursuant to Wis. Stat. § 100.26(6), impose civil forfeitures against
28                      Defendants of not less than $100 nor more than $10,000, plus related


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 1                        mandatory surcharges and assessments, for each violation of Wis.
 2                        Admin. Code § ATCP chapter 127;
 3                 b.     Pursuant to Wis. Stat. § 100.264, impose a supplemental forfeiture
 4                        against Defendants for each violation of Wis. Stat. § 100.20 that was
 5                        perpetrated against a person at least 62 years of age or disabled; and
 6                 c.     Pursuant to Wis. Stats. §§ 93.20(2) and 100.263, award the Wisconsin
 7                        Department of Agriculture, Trade and Consumer Protection and the
 8                        Wisconsin Department of Justice the reasonable and necessary
 9                        expenses incurred in their investigation and prosecution of this matter,
10                        including attorney fees.
11         24.     Grant such other legal or equitable relief as this Honorable Court deems just
12   and proper.
13
14                                        JURY DEMAND
           25.     Please take notice that Plaintiffs demand a trial by jury of all issues so triable
15
16   pursuant to Rule 38 of the Federal Rules of Civil Procedure.

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 1   RESPECTFULLY SUBMITTED this the 23rd day of May, 2023.
 2
     KRISTIN K. MAYES                                 JOSHUA H. STEIN
 3   Attorney General of Arizona                      Attorney General of North Carolina
 4
     /s/ Laura Dilweg                                 /s/ Tracy Nayer
 5   Laura Dilweg (AZ Bar No. 036066)                 Tracy Nayer (NC Bar No. 36964)
     Dylan Jones (AZ Bar No. 034185)                  (Pro Hac Vice motion forthcoming)
 6   Joseph Hubble (AZ No. 037113)                    Special Deputy Attorney General
 7   Assistant Attorneys General                      Danielle Wilburn Allen (NC Bar
     Arizona Attorney General’s Office                No. 58141)
 8   2005 North Central Avenue                        (Pro Hac Vice motion forthcoming)
 9   Phoenix, AZ 85004                                Assistant Attorney General
     Phone: (602) 542-3725                            North Carolina Department of Justice
10   Fax: (602) 542-4377                              Consumer Protection Division
11   consumer@azag.gov                                P.O. Box 629
     laura.dilweg@azag.gov                            Raleigh, North Carolina 27602
12   Attorneys for Plaintiff State of Arizona         Phone: (919) 716-6000
13                                                    Fax: (919) 716-6050
     TODD ROKITA                                      tnayer@ncdoj.gov
14   Attorney General of Indiana                      dwilburnallen@ncdoj.gov
15                                                    Attorneys for Plaintiff State of North
     /s/ Douglas S. Swetnam                           Carolina
16   Douglas S. Swetnam (IN Bar No. 15860-
     49)                                              DAVE YOST
17
     (Pro Hac Vice motion forthcoming)                Attorney General of Ohio
18   Joseph D. Yeoman (IN Bar No. 35668-
     29)                                              /s/ Erin B. Leahy
19   (Pro Hac Vice motion forthcoming)                Erin B. Leahy (OH Bar No. 0069509)
20   Deputy Attorneys General                         (Pro Hac Vice motion forthcoming)
     Office of the Indiana Attorney General           Senior Assistant Attorney General
21   Todd Rokita                                      Office of Attorney General Dave Yost
22   Indiana Govt. Center South, 5th Fl.              30 East Broad Street, 14th Fl.
     302 W. Washington St.                            Columbus, OH 43215
23   Indianapolis, IN 46204-2770                      Phone: (614) 752-4730
24   Phone: (317) 232-6294 (Swetnam)                  Fax: (866) 768-2648
             (317) 234-1912 (Yeoman)                  Erin.Leahy@OhioAGO.gov
25   Fax: (317) 232-7979                              Attorney for Plaintiff State of Ohio
26   douglas.swetnam@atg.in.gov
     joseph.yeoman@atg.in.gov
27   Attorneys for Plaintiff State of Indiana
28                                  Lead Counsel for Plaintiffs

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 1
     STEVE MARSHALL                                   ROB BONTA
 2   Attorney General of Alabama                      Attorney General of California
 3
     /s/ Lindsay S. Dawson                            /s/ Nicklas A. Akers
 4   Lindsay S. Dawson (AL Bar No. 1165-              Nicklas A. Akers (CA Bar No. 211222)
     G00N)                                            (Pro Hac Vice motion forthcoming)
 5   (Pro Hac Vice motion forthcoming)                Senior Assistant Attorney General
 6   Robert D. Tambling (AL Bar No. 6026-             Bernard A. Eskandari (CA Bar No.
     N67R)                                            244395)
 7   (Pro Hac Vice motion forthcoming)                (Pro Hac Vice motion forthcoming)
 8   Assistant Attorneys General                      Supervising Deputy Attorney General
     Office of the Alabama Attorney General           Timothy D. Lundgren (CA Bar No.
 9   501 Washington Avenue                            254596)
10   Montgomery, Alabama 36130                        (Pro Hac Vice motion forthcoming)
     Phone: (334) 353-2609 (Dawson)                   Rosailda Perez (CA Bar No. 284646)
11           (334) 242-7445 (Tambling)                (Pro Hac Vice motion forthcoming)
12   Fax: (334) 353-8400                              Deputy Attorneys General
     Lindsay.Dawson@AlabamaAG.gov                     Office of the California Attorney
13   Robert.Tambling@AlabamaAG.gov                    General
14   Attorneys for Plaintiff State of Alabama         300 S. Spring St., Suite 1702
                                                      Los Angeles, CA 90013
15   TIM GRIFFIN                                      Phone: (415) 510-3364 (Akers)
     Attorney General of Arkansas                             (213) 269-6348 (Eskandari)
16
                                                              (213) 269-6355 (Lundgren)
17   /s/ Amanda Wentz                                         (213) 269-6612 (Perez)
     Amanda Wentz (AR Bar No. 2021066)                Fax: (916) 731-2146
18   (Pro Hac Vice motion forthcoming)                nicklas.akers@doj.ca.gov
19   Assistant Attorney General                       bernard.eskandari@doj.ca.gov
     Office of Attorney General Tim Griffin           timothy.lundgren@doj.ca.gov
20   323 Center St., Ste. 200                         rosailda.perez@doj.ca.gov
21   Little Rock, AR 72201                            Attorneys for Plaintiff People of the State
     Phone: (501) 682-1178                            of California
22   Fax: (501) 682-8118
23   Amanda.wentz@arkansasag.gov
     Attorney for Plaintiff State of Arkansas
24
25
26
27
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 1   PHILIP J. WEISER                                   KATHY JENNINGS
     Attorney General of Colorado                       Attorney General of Delaware
 2
     /s/ Michel Singer Nelson                           /s/ Ryan Costa
 3
     Michel Singer Nelson (CO Bar No.                   Ryan Costa (DE Bar No. 5325)
 4   19779)                                             (Pro Hac Vice motion forthcoming)
     (Pro Hac Vice motion forthcoming)                  Dashiell Radosti (DE Bar No. 7100)
 5   Assistant Attorney General II                      (Pro Hac Vice motion forthcoming)
 6   Bianca Feierstein (CO Bar No. 56653)               Deputy Attorneys General
     (Pro Hac Vice motion forthcoming)                  Delaware Department of Justice
 7   Assistant Attorney General                         820 N. French Street, 5th Floor
 8   Colorado Office of the Attorney General            Wilmington, DE 19801
     Ralph L. Carr Judicial Building                    Phone: (302) 683-8811 (Costa)
 9   1300 Broadway, 10th Floor                                 (302) 683-8812 (Radosti)
10   Denver, CO 80203                                   Fax: (302) 577-6499
     Phone: (720) 508-6220 (Singer Nelson)              Ryan.costa@delaware.gov
11           (720) 508-6246 (Feierstein)                Dashiell.radosti@delware.gov
12   michel.singernelson@coag.gov                       Attorneys for Plaintiff State of Delaware
     bianca.feierstein@coag.gov
13   Attorneys for Plaintiff State of Colorado,         BRIAN C. SCHWALB
14   ex rel. Philip J. Weiser, Attorney                 Attorney General of District of
     General                                            Columbia
15
     WILLIAM TONG                                       /s/ Adam Teitelbaum
16
     Attorney General of Connecticut                    Adam Teitelbaum (DC Bar No.
17                                                      1015715)
     /s/ Kim Carlson McGee                              (Pro Hac Vice motion forthcoming)
18   Kim Carlson McGee (CT Bar No.                      Director, Office of Consumer Protection
19   440655)                                            Emily Barth (DC Bar No. 1004825)
     (Pro Hac Vice motion forthcoming)                  (Pro Hac Vice motion forthcoming)
20   Assistant Attorney General                         Assistant Attorney General
21   Office of the Connecticut Attorney                 D.C. Office of the Attorney General
     General William Tong                               Office of Consumer Protection
22   165 Capitol Avenue, Suite 4000                     400 6th Street NW, 10th Floor
23   Hartford, CT 06106                                 Washington, DC 20001
     Phone: (860) 808-5400                              Phone: (202) 741-0764
24   Fax: (860) 808-5593                                Adam.Teitelbaum@dc.gov
25   kim.mcgee@ct.gov                                   Emily.Barth@dc.gov
     Attorney for Plaintiff State of                    Attorneys for Plaintiff District of
26   Connecticut                                        Columbia
27
28


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 1   ASHLEY MOODY                                     ANNE E. LOPEZ
     Attorney General of Florida                      Attorney General of Hawaii
 2
     /s/ Patrick Crotty                               /s/ Christopher J.I. Leong
 3
     Patrick Crotty (FL Bar No. 108541)               Christopher J.I. Leong (HI Bar No.
 4   (Pro Hac Vice motion forthcoming)                9662)
     Senior Assistant Attorney General                (Pro Hac Vice motion forthcoming)
 5   Miles Vaughn (FL Bar No. 1032235)                Deputy Attorney General
 6   (Pro Hac Vice motion forthcoming)                Hawaii Department of the Attorney
     Assistant Attorney General                       General
 7   Office of the Florida Attorney General           425 Queen Street
 8   Consumer Protection Division                     Honolulu, HI 96813
     3507 E. Frontage Rd, Suite 325                   Phone: (808) 586-1180
 9   Tampa, FL 33607                                  Fax: (808) 586-1205
10   Phone: (813) 287-7950                            christopher.ji.leong@hawaii.gov
     Fax: (813) 281-5515                              Attorney for Plaintiff State of Hawaii
11   patrick.crotty@myfloridalegal.com
12   miles.vaughn@myfloridalegal.com                  RAÚL R. LABRADOR
     Attorneys for Plaintiff Ashley Moody,            Attorney General of Idaho
13   Attorney General of the State of Florida
14                                                    /s/ Stephanie N. Guyon
     CHRISTOPHER M. CARR                              Stephanie N. Guyon (ID Bar No. 5989)
15   Attorney General for Georgia                     (Pro Hac Vice motion forthcoming)
                                                      Deputy Attorney General
16
     /s/ David A. Zisook                              Idaho Attorney General’s Office
17   David A. Zisook (GA Bar No. 310104)              P.O. Box 83720
     (Pro Hac Vice motion forthcoming)                Boise, ID 83720-0010
18   Senior Assistant Attorney General                Phone: (208) 334-4135
19   Office of the Attorney General of the            Fax: (208) 334-4151
     State of Georgia                                 stephanie.guyon@ag.idaho.gov
20   2 Martin Luther King Jr. Drive, SE, Ste.         Attorney for Plaintiff State of Idaho
21   356
     Atlanta, GA 30334
22   Phone: (404) 458-4294
23   Fax: (404) 464-8212
     dzisook@law.ga.gov
24   Attorney for Plaintiff State of Georgia
25
26
27
28


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 1   KWAME RAOUL                                         KRIS KOBACH
     Attorney General of Illinois                        Attorney General of Kansas
 2
     /s/ Philip Heimlich                                 /s/ Sarah M. Dietz
 3
     Philip Heimlich (IL Bar No. 6286375)                Sarah M. Dietz (KS Bar No. 27457)
 4   (Pro Hac Vice motion forthcoming)                   (Pro Hac Vice motion forthcoming)
     Assistant Attorney General                          Assistant Attorney General
 5   Elizabeth Blackston (IL Bar No.                     Office of the Kansas Attorney General
 6   6228859)                                            120 SW 10th Avenue
     (Pro Hac Vice motion forthcoming)                   Topeka, KS 66612
 7   Consumer Fraud Bureau Chief                         Phone: (785) 296-3751
 8   Office of the Illinois Attorney General             Fax: (785) 291-3699
     500 S. Second Street                                sarah.dietz@ag.ks.gov
 9   Springfield, IL 62791                               Attorney for Plaintiff State of Kansas
10   Phone: (217) 782-4436
     philip.heimlich@ilag.gov                            DANIEL CAMERON
11   elizabeth.blackston@ilag.gov                        Attorney General of Kentucky
12   Attorneys for Plaintiff People of the State
     of Illinois                                         /s/ Donald J. Haas
13                                                       Donald J. Haas (KY Bar No. 94090)
14   BRENNA BIRD                                         (Pro Hac Vice motion forthcoming)
     Attorney General of Iowa                            Assistant Attorney General
15                                                       Office of the Attorney General,
     /s/ Benjamin Bellus                                 Commonwealth of Kentucky
16
     Benjamin Bellus (IA Bar No.                         1024 Capital Center Drive, Ste. 200
17   AT0000688)                                          Frankfort, KY 40601
     (Pro Hac Vice motion forthcoming)                   Phone: (502) 696-5612
18   William Pearson (IA Bar No.                         Fax: (502) 573-8317
19   AT0012070)                                          donald.haas@ky.gov
     (Pro Hac Vice motion forthcoming)                   Attorney for Plaintiff Commonwealth of
20   Assistant Attorneys General                         Kentucky
21   Office of the Iowa Attorney General
     1305 E. Walnut St.
22   Des Moines, IA 50319
23   Phone: (515) 242-6536 (Bellus)
             (515) 242-6773 (Pearson)
24   Fax: (515) 281-6771
25   Benjamin.Bellus@ag.iowa.gov
     William.Pearson@ag.iowa.gov
26   Attorneys for Plaintiff State of Iowa
27
28


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 1   JEFF LANDRY                                       ANTHONY G. BROWN
     Attorney General of Louisiana                     Attorney General of Maryland
 2
     /s/ Cathryn E. Gits                               /s/ Philip Ziperman
 3
     Cathryn E. Gits (LA Bar No. 35144)                Philip Ziperman (Fed. Bar No. 12430)
 4   (Pro Hac Vice motion forthcoming)                 (Pro Hac Vice motion forthcoming)
     Assistant Attorney General                        Deputy Counsel
 5   Office of the Attorney General Jeff               Kathleen P. Hyland (Fed. Bar No.
 6   Landry                                            30075)
     1885 North Third St.                              (Pro Hac Vice motion forthcoming)
 7   Baton Rouge, LA 70802                             Assistant Attorney General
 8   Phone: (225) 326-6414                             Office of the Attorney General
     Fax: (225) 326-6499                               200 St. Paul Place
 9   gitsc@ag.louisiana.gov                            Baltimore, MD 21202
10   Attorney for Plaintiff State of Louisiana         Phone: (410) 576-6417 (Ziperman)
                                                                (410) 576-7057 (Hyland)
11   AARON M. FREY                                     Fax: (410) 576-6566
12   Attorney General of Maine                         pziperman@oag.state.md.us
                                                       khyland@oag.state.md.us
13   /s/ Laura Lee Barry Womack                        Attorneys for Plaintiff Maryland Office
14   Laura Lee Barry Womack (ME Bar No.                of the Attorney General
     010110)
15   (Pro Hac Vice motion forthcoming)                 ANDREA JOY CAMPBELL
     Assistant Attorney General                        Attorney General of Massachusetts
16
     Office of the Maine Attorney General
17   6 State House Station                             /s/ Elizabeth Cho
     Augusta, ME 04333                                 Elizabeth Cho (MA Bar No. 672556)
18   Phone: (207) 626-8800                             (Pro Hac Vice motion forthcoming)
19   Lauralee.barrywommack@maine.gov                   Assistant Attorney General
     Attorney for Plaintiff Aaron M. Frey,             Massachusetts Office of the Attorney
20   Attorney General                                  General
21                                                     One Ashburton Place, 18th Floor
                                                       Boston, MA 02108
22                                                     Phone: (617) 963-2608
23                                                     Fax: 617-727-5765
                                                       Elizabeth.Cho@mass.gov
24                                                     Attorney for Plaintiff Commonwealth of
25                                                     Massachusetts

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 1   DANA NESSEL                                         LYNN FITCH
     Attorney General of Michigan                        Attorney General of Mississippi
 2
     /s/ Kathy P. Fitzgerald                             /s/ James M. Rankin
 3
     Kathy P. Fitzgerald (MI Bar No.                     James M. Rankin (MS Bar No. 102332)
 4   P31454)                                             (Pro Hac Vice motion forthcoming)
     (Pro Hac Vice motion forthcoming)                   Special Assistant Attorney General
 5   Michael S. Hill (MI Bar No. P73084)                 Mississippi Attorney General’s Office
 6   (Pro Hac Vice motion forthcoming)                   P.O. Box 220
     Assistant Attorneys General                         Jackson, MS 39205
 7   Michigan Department of Attorney                     Phone: (602) 359-4258
 8   General                                             james.rankin@ago.ms.gov
     Corporate Oversight Division                        Attorney for Plaintiff Lynn Fitch,
 9   P.O. Box 30736                                      Attorney General State of Mississippi
10   Lansing, MI 48909
     Phone: (517) 335-7632                               ANDREW BAILEY
11   Fax: (517) 335-6755                                 Attorney General of Missouri
12   fitzgeraldk@michigan.gov
     Hillm19@michigan.gov                                /s/ Michael Schwalbert
13   Attorneys for Plaintiff People of the State         Michael Schwalbert (MO Bar No.
14   of Michigan                                         63299)
                                                         (Pro Hac Vice motion forthcoming)
15   KEITH ELLISON                                       Assistant Attorney General
     Attorney General of Minnesota                       Office of the Missouri Attorney General
16
                                                         815 Olive Street, Suite 200
17   /s/ Bennett Hartz                                   St. Louis, MO 63101
     Bennett Hartz (MN Bar No. 0393136)                  Phone: (314) 340-6816
18   (Pro Hac Vice motion forthcoming)                   Fax: (314) 340-7891
19   Assistant Attorney General                          michael.schwalbert@ago.mo.gov
     Office of the Minnesota Attorney                    Attorney for Plaintiff State of Missouri,
20   General                                             ex. rel. Andrew Bailey, Attorney General
21   445 Minnesota Street, Suite 1200
     Saint Paul, MN 55404
22   Phone: (651) 757-1235
23   bennett.hartz@ag.state.mn.us
     Attorney for Plaintiff State of Minnesota,
24   by its Attorney General, Keith Ellison
25
26
27
28


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 1   AUSTIN KNUDSEN                                   AARON D. FORD
     Attorney General of Montana                      Attorney General of Nevada
 2
     /s/ Anna Schneider                               /s/ Michelle C. Newman
 3
     Anna Schneider (MT Bar No. 13963)                Michelle C. Newman (NV Bar No.
 4   (Pro Hac Vice motion forthcoming)                13206)
     Bureau Chief                                     (Pro Hac Vice motion forthcoming)
 5   Andrew Butler (MT Bar No. 53936812)              Senior Deputy Attorney General
 6   (Pro Hac Vice motion forthcoming)                Office of the Nevada Attorney General
     Assistant Attorney General                       Bureau of Consumer Protection
 7   Montana Attorney General’s Office                100 North Carson Street
 8   Office of Consumer Protection                    Carson City, NV 89701-4717
     555 Fuller Avenue                                Phone: (775) 684-1164
 9   Helena, MT 59601                                 Fax: (775) 684-1299
10   Phone: (406)444-4500                             MNewman@ag.nv.gov
     Anna.schneider@mt.gov                            Attorney for Plaintiff State of Nevada
11   Andrew.butler@mt.gov
12   Attorneys for Plaintiff State of Montana         JOHN M. FORMELLA
                                                      Attorney General of New Hampshire
13   MICHAEL T. HILGERS
14   Attorney General of Nebraska                     /s/ Mary F. Stewart
                                                      Mary F. Stewart (NH Bar No. 10067)
15   /s/ Michaela J. Hohwieler                        (Pro Hac Vice motion forthcoming)
     Michaela J. Hohwieler (NE Bar No.                Assistant Attorney General
16
     26826)                                           New Hampshire Department of Justice
17   (Pro Hac Vice motion forthcoming)                Office of the Attorney General
     Assistant Attorney General                       Consumer Protection and Antitrust
18   Office of the Attorney General Michael           Bureau
19   T. Hilgers                                       33 Capitol St.
     2115 State Capitol Building                      Concord, NH 03301-6397
20   Consumer Protection Division                     Phone: (603) 271-1139
21   Lincoln, NE 68509                                Fax: (603) 271-2110
     Phone: (402) 471-1928                            Mary.F.Stewart@doj.nh.gov
22   Fax: (402) 471-4725                              Attorney for Plaintiff State of New
23   Michaela.hohwieler@nebraska.gov                  Hampshire
     Attorney for Plaintiff State of Nebraska
24
25
26
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 1   MATTHEW J. PLATKIN                              LETITIA JAMES
     Attorney General of New Jersey                  Attorney General of New York
 2
     /s/ Deepta Janardhan                            /s/ Glenna Goldis
 3
     Deepta Janardhan (NJ Bar No.                    Glenna Goldis (NY Bar No. 4868600)
 4   309022020)                                      (Pro Hac Vice motion forthcoming)
     (Pro Hac Vice motion forthcoming)               Assistant Attorney General
 5   Jeffrey Koziar (NJ Bar No. 015131999)           Office of the New York State Attorney
 6   (Pro Hac Vice motion forthcoming)               General
     Deputy Attorneys General                        28 Liberty Street
 7   New Jersey Office of the Attorney               New York, NY 10005
 8   General                                         Phone: (646)856-3697
     Division of Law                                 Glenna.goldis@ag.ny.gov
 9   124 Halsey Street                               Attorney for Plaintiff Office of the
10   Newark, NJ 07101                                Attorney General of the State of New
     Phone: (973) 648-7819                           York
11   Fax: (973) 648-4887
12   deepta.janardhan@law.noag.gov                   DREW H. WRIGLEY
     Jeff.koziar@law.njoag.gov                       Attorney General of North Dakota
13   Attorneys for Plaintiff State of New
14   Jersey                                          /s/ Parrell D. Grossman
                                                     Parrell D. Grossman (ND Bar
15   RAÚL TORREZ                                     No. 04684)
     Attorney General of New Mexico                  (Pro Hac Vice motion forthcoming)
16
                                                     Director, Consumer Protection &
17   /s/ Jacqueline Ortiz                            Antitrust Div.
     Jacqueline Ortiz (NM Bar No. 146309)            Elin S. Alm (ND Bar No. 05924)
18   (Pro Hac Vice motion forthcoming)               (Pro Hac Vice motion forthcoming)
19   Assistant Attorney General                      Assistant Attorney General
     State of New Mexico Office of the               Office of North Dakota Attorney General
20   Attorney General                                Consumer Protection & Antitrust
21   408 Galisteo St.                                Division
     Santa Fe, New Mexico 87501                      1720 Burlington Drive, Suite C
22   Phone: (505)490-4060                            Bismarck, ND 58504-7736
23   Fax: (505) 490-4883                             Phone: (701) 328-5570
     Jortiz@nmag.gov                                 Fax: (701) 328-5568
24   Attorney for Plaintiff Raúl Torrez, New         pgrossman@nd.gov
25   Mexico Attorney General                         ealm@nd.gov
                                                     Attorneys for Plaintiff State of North
26                                                   Dakota
27
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 1   GENTNER DRUMMOND                                 MICHELLE A. HENRY
     Attorney General of Oklahoma                     Attorney General of Pennsylvania
 2
     /s/ Matthew E. Willoughby                        /s/ Brandon J. Bingle
 3
     Matthew E. Willoughby (OK Bar No.                Brandon J. Bingle (PA Bar No. 209133)
 4   33305)                                           (Pro Hac Vice motion forthcoming)
     (Pro Hac Vice motion forthcoming)                Senior Deputy Attorney General
 5   Assistant Attorney General                       Office of Attorney General Michelle A.
 6   Office of the Oklahoma Attorney                  Henry
     General                                          Strawberry Square, 15th Floor
 7   313 N.E. 21st St.                                Harrisburg, PA 17120-0001
 8   Oklahoma City, OK 73105                          Phone: (814) 878-5858
     Phone: (405) 522-2966                            Fax: (717) 705-3795
 9   Fax: (405) 522-0085                              bbingle@attorneygeneral.gov
10   Matthew.Willoughby@oag.ok.gov                    Attorney for Plaintiff Commonwealth of
     Attorney for Plaintiff State of Oklahoma         Pennsylvania by Attorney General
11   ex rel. Attorney General Gentner                 Michelle A. Henry
12   Drummond
                                                      PETER F. NERONHA
13   ELLEN F. ROSENBLUM                               Attorney General of Rhode Island
14   Attorney General of Oregon
                                                      /s/ Stephen N. Provazza
15   /s/ Jordan M. Roberts                            Stephen N. Provazza (RI Bar No. 10435)
     Jordan M. Roberts (OR Bar No. 115010)            (Pro Hac Vice motion forthcoming)
16
     (Pro Hac Vice motion forthcoming)                Special Assistant Attorney General
17   Senior Assistant Attorney General                Rhode Island Office of the Attorney
     Oregon Department of Justice                     General
18   Consumer Protection Division                     150 S. Main Street
19   100 SW Market St.                                Providence, RI 02903
     Portland, OR 97201                               Phone: (401) 274-4400, ext. 2476
20   Phone: (971) 673-1880                            Fax: (401) 222-1766
21   Fax: (971) 673-1884                              sprovazza@riag.ri.gov
     jordan.m.roberts@doj.state.or.us                 Attorney for Plaintiff State of Rhode
22   Attorney for Plaintiff State of Oregon           Island, by Attorney General Peter
23                                                    Neronha

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 1   ALAN WILSON                                        KEN PAXTON
     Attorney General of South Carolina                 Attorney General of Texas
 2
     /s/ Kristin Simons                                 /s/ Wade A. Johnson
 3
     Kristin Simons (SC Bar No. 74004)                  Wade A. Johnson (Fed. Bar No. 105556;
 4   (Pro Hac Vice motion forthcoming)                  TX Bar No. 24062197)
     Senior Assistant Attorney General                  (Pro Hac Vice motion forthcoming)
 5   Danielle Robertson (SC Bar No. 105846)             David Shatto (Fed. Bar No. 3725697; TX
 6   (Pro Hac Vice motion forthcoming)                  Bar No. 24104114)
     Assistant Attorney General                         (Pro Hac Vice motion forthcoming)
 7   South Carolina Attorney General’s                  Assistant Attorneys General
 8   Office                                             Attorney General for the State of Texas
     P.O. Box 11549                                     Office of the Attorney General
 9   Columbia, SC 29211-1549                            P.O. Box 12548 (MC-010)
10   Phone: (803) 734-6134 (Simons)                     Austin, TX 78711
             (803) 734-8044 (Robertson)                 Phone: (512) 463-2100
11   ksimmons@scag.gov                                  Fax: (512) 473-8301
12   danirobertson@scag.gov                             Wade.johnson@oag.texas.gov
     Attorneys for Plaintiff State of South             David.Shatto@oag.texas.gov
13   Carolina                                           Attorneys for Plaintiff State of Texas
14
     JONATHAN SKRMETTI                                  SEAN D. REYES
15   Attorney General of Tennessee                      Attorney General of Utah
16
     /s/ Austin C. Ostiguy                              /s/ Kevin McLean
17   Austin C. Ostiguy (TN Bar No. 040301)              Kevin McLean (UT Bar No. 16101)
     (Pro Hac Vice motion forthcoming)                  (Pro Hac Vice motion forthcoming)
18   Tyler T. Corcoran (TN Bar No. 038887)              Assistant Attorney General
19   (Pro Hac Vice motion forthcoming)                  Utah Attorney General’s Office
     Assistant Attorneys General                        160 East 300 South, 5th Floor
20   Office of the Tennessee Attorney                   P.O. Box 140872
21   General                                            Salt Lake City, UT 84114-0872
     P.O. Box 20207                                     Phone: (801) 366-0310
22   Nashville, TN 37202                                Fax: (801) 366-0315
23   Phone: (615) 532-7271 (Ostiguy)                    kmclean@agutah.gov
             (615) 770-1714 (Corcoran)                  Attorney for Plaintiff Utah Division of
24   Fax: (615) 532-2910                                Consumer Protection
25   austin.ostiguy@ag.tn.gov
     tyler.corcoran@ag.tn.gov
26   Attorneys for Plaintiff State of Tennessee
27
28


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 1   CHARITY R. CLARK                                ROBERT W. FERGUSON
     Attorney General of Vermont                     Attorney General of Washington
 2
     /s/ Edwin L. Hobson                             /s/ Mina Shahin
 3
     Edwin L. Hobson (VT Bar No. 637)                Mina Shahin (WA Bar No. 46661)
 4   (Pro Hac Vice motion forthcoming)               (Pro Hac Vice motion forthcoming)
     Senior Assistant Attorney General               Alexandra Kory (WA Bar No. 49889)
 5   Office of the Attorney General                  (Pro Hac Vice motion forthcoming)
 6   Consumer Assistance Program                     Assistant Attorneys General
     109 State Street                                Washington State Attorney General’s
 7   Montpelier, VT 05609-1001                       Office
 8   Phone: (802) 863-2000 (Hobson)                  800 Fifth Avenue, Suite 2000
            (802) 828-3171 (Main office)             Seattle, WA 98104
 9   Fax: (802) 304-1014                             Phone: (206) 326-5485 (Shahin)
10   ted.hobson@vermont.gov                                  (206) 516-2997 (Kory)
     Attorney for Plaintiff State of Vermont         Fax: (206) 464-6451
11                                                   Mina.Shahin@atg.wa.gov
12   JASON S. MIYARES                                Alexandra.Kory@atg.wa.gov
     Attorney General of Virginia                    Attorneys for Plaintiff State of
13                                                   Washington
14   /s/ Geoffrey L. Ward
     Geoffrey L. Ward (VA Bar No. 89818)             PATRICK MORRISEY
15   (Pro Hac Vice motion forthcoming)               Attorney General of West Virginia
     Senior Assistant Attorney General
16
     Office of the Attorney General of               /s/ Ashley T. Wentz
17   Virginia                                        Ashley T. Wentz (WV Bar No. 13486)
     202 N. Ninth St.                                (Pro Hac Vice motion forthcoming)
18   Richmond, VA 23219                              Assistant Attorney General
19   Phone: (804) 371-0871                           West Virginia Attorney General’s Office
     Fax: (804) 786-0122                             Consumer Protection/Antitrust Division
20   gward@oag.state.va.us                           P.O. Box 1789
21   Attorney for Plaintiff Commonwealth of          Charleston, WV 25326
     Virginia, ex rel. Jason S. Miyares,             Phone: (304) 558-8986
22   Attorney General                                Fax: (304) 558-0184
23                                                   Ashley.T.Wentz@wvago.gov
                                                     Attorney for Plaintiff State of West
24                                                   Virginia ex rel. Patrick Morrisey,
25                                                   Attorney General

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     Case 4:23-cv-00233-EJM Document 1 Filed 05/23/23 Page 141 of 141




 1   JOSHUA L. KAUL
     Attorney General of Wisconsin
 2
     /s/ Gregory A. Myszkowski
 3
     Gregory A. Myszkowski (WI Bar No.
 4   1050022)
     (Pro Hac Vice motion forthcoming)
 5   Assistant Attorney General
 6   Wisconsin Department of Justice
     P.O. Box 7857
 7   Madison, WI 53707-7857
 8   Phone: (608) 266-7656
     Fax: (608) 294-2907
 9   myszkowskiga@doj.state.wi.us
10   Attorney for Plaintiff State of Wisconsin

11   BRIDGET HILL
12   Attorney General of Wyoming

13   /s/ Benjamin M. Peterson
14   Benjamin M. Peterson (WY Bar No. 8-
     6513)
15   (Pro Hac Vice motion forthcoming)
     Assistant Attorney General
16
     Wyoming Office of the Attorney General
17   Kendrick Building
     2320 Capitol Avenue
18   Cheyenne, Wyoming 82002
19   Phone: (307) 777-8240
     Fax: (307) 777-3435
20   benjamin.peterson2@wyo.gov
21   Attorney for Plaintiff State of Wyoming
22
23
24
25
26
27
28


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